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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


STEVEN HILL, Derivatively On Behalf Of                  Case No.:20-774
JOHNSON & JOHNSON,

               Plaintiff,                              SHAREHOLDER DERIVATIVE
                                                       COMPLAINT
v.


ALEX GORSKY, ANNE M. MULCAHY,
CHARLES PRINCE, WILLIAM D. PEREZ, IAN
E. L. DAVIS, RONALD A. WILLIAMS, A.
EUGENE WASHINGTON, MARK B.
MCCLELLAN, D. SCOTT DAVIS, MARY C.
BECKERLE, CAROL GOODRICH, MICHAEL
E. SNEED, JOAN CASALVIERI, and TARA
GLASGOW,

               Defendants,

and,

JOHNSON & JOHNSON,

                Nominal Defendant.



       Plaintiff Steven Hill (“Plaintiff”), by and through his undersigned counsel, derivatively on

behalf of Nominal Defendant Johnson & Johnson (“J&J” or the “Company”), submits this Verified

Shareholder Derivative Complaint (the “Complaint”). Plaintiff’s allegations are based upon his

personal knowledge as to himself and his own acts, and upon information and belief, developed from

the investigation and analysis by Plaintiff’s counsel, including a review of publicly available

information, including filings by the Company with the U.S. Securities and Exchange Commission

(“SEC”), press releases, news reports, analyst reports, investor conference transcripts, publicly

available filings in lawsuits, and matters of public record.

                                  NATURE OF THE ACTION
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       1.      This is a shareholder derivative action brought in the right, and for the benefit, of the

Company against certain of its officers and directors seeking to remedy Defendants’ (as defined

below) breach of fiduciary duties from February 22, 2013 to the present (”Relevant Period”).

       2.      Prior to and during the Relevant Period, Defendants (defined below) engaged in a

scheme to defraud investors and issued false and misleading statements in order to conceal the truth

regarding the Company’s talc and Baby Powder. Specifically, Defendants intentionally concealed

that: (i) the Company’s talc and talcum powder products were contaminated with asbestos, as the

Company had been repeatedly informed; (ii) the Company had attempted to find ways to remove

asbestos minerals from its talc; (iii) the Company purposely avoided the use of testing methods that

could detect the asbestos present in the Company’s talc, and (iv) the Company had influenced and

manipulated regulators and scientists in order to protect the Company’s flagship product and

reputation.

       3.      During the Relevant Period, the Company was facing product liability litigation over

its Baby Powder and the product’s alleged association with ovarian cancer. As Defendants knew,

Johnson’s Baby Powder was crucial to “the positive J&J name in the public mind” and critical to the

Company’s reputation as a trustworthy company. With the Company’s flagship product and very

identity at stake, Defendants made material misstatements and omissions regarding the Company’s

talc and talcum powder products, its true litigation and reputational exposure, and its management

and decision-making processes.

       4.      During the Relevant Period, Defendants repeatedly claimed that the Company’s talc

products had “a long history of safe use” and promised that the products are, and always had been,

free of asbestos. But while Defendants claimed that the Company’s cosmetic powder products have

been safe “[f]or over 100 years,” and that “regular testing conducted since the 1970s” had confirmed



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the absence of asbestos, Defendants knew that the Company’s talc and talcum powders had long

been contaminated with asbestos. In fact, from at least 1971 to the 2000s, the Company’s raw talc

and finished powders repeatedly tested positive for asbestos, and Company executives, mine

managers, scientists, doctors and lawyers discussed the asbestos contamination, but failed to disclose

it to regulators or the public.

        5.      Defendants also concealed what they recognized internally, that talc had not been

used safely for over 100 years, that some scientific sources “could be interpreted as suggesting a

causal effect” between ovarian cancer and talc, and that “[e]ven some of the studies [J&J] cite[d]

send mixed messages.” And while Defendants assured investors that the Company’s “talc products

are, and always have been, free of asbestos,” internally the Company admitted that “we cannot say

‘always.’”

        6.      Defendants’ assurances regarding the Company’s asbestos testing were also false and

misleading, as the Company’s asbestos testing “since the 1970s” had not “confirmed” that the talc or

powders were “asbestos free.” While Defendants represented during the Relevant Period that the

Company used “a sophisticated battery of tests designed to ensure . . . safety,” the truth was that the

Company intentionally avoided sophisticated “concentration techniques” for testing, which the

Company knew were necessary for finding asbestos in talc. In fact, the Company’s own consultant

had informed the Company that “larger amounts of sample” must be tested to find asbestos, and that

“preconcentrat[ing] the impurities prior to examination” “was considered essential to the success of

any suggested procedure.” But because the Company knew that a concentration method would show

asbestos in the Company’s talc, the Company determined that the method “may be too sensitive,”

leading the Company to “avoid promotion of this approach,” as the Company “really want[ed] to

exclude concentration techniques.” Indeed, when the U.S. Food and Drug Administration (“FDA”)



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later requested proposals for “‘sophisticated’” testing techniques that would lead to “concentration

procedures,” the Company found it to be “‘disturbing,’” as the techniques would make “many talcs

on all markets . . . hard pressed in supporting purity claims.”

       7.      Throughout the Relevant Period, Defendants also misrepresented the Company’s

internal policies and concealed the Company’s long history of infiltrating and undermining

regulatory processes. According to Defendants, the Company “has always taken questions about

the safety” of Johnson’s Baby Powder “extremely seriously,” particularly because it is a product

“that families have trusted for generations.” In truth, the Company had lied to the FDA about its talc

and undermined the activities of certain public health officials and doctors it branded as

“‘Antagonistic Personalities.’”

       8.      Rather than being “guided by the medical facts and science when it comes to [its]

products,” or “always put[ting] . . . safety first in everything that [it does],” the Company has long

been driven by the objective of protecting the (false) image of safety of Johnson’s Baby Powder.

Indeed, the Company strove “to neutralize [and] hold in check data . . . generated by investigators

who question the safety of talc.” And while a December 1977 – January 1978 report illustrates the

Company’s knowledge that both its Baby Powder and talc contained asbestos, that same report also

shows that the Company had set out “[t]o monitor and defend against consumerist, scientific and

regulatory attitudes/trends which could impact adversely on the safety image and marketability of

cosmetic talcs.” Even while the Company knew that its talc and Baby Powder contained unsafe

asbestos, it had nonetheless set forth on a mission “[t]o generate or provide . . . data to support and

reinforce the safety of our baby powder.”

       9.      In September 2017, the Company faced its first trial alleging the presence of asbestos

in Johnson’s Baby Powder, brought by a plaintiff-consumer with mesothelioma. On September 21,



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2017, Bloomberg reported on documents from the 1970s that had been unsealed in the talc litigation,

reporting that “J&J was alerted to [the] risk of asbestos in talc in [the] ‘70s.” At the same time,

however, the article reported that the Company documents showed “tests of its talc stretching back

to at least 1972 found no trace of asbestos,” and reiterated defendants’ promise that the Company’s

“talc products are, and always have been, free of asbestos.” The Bloomberg article also quoted

defendants as claiming that “‘[h]istorical testing of samples by the FDA’” as well as “‘numerous

independent’” laboratories and scientists “‘have all confirmed the absence of asbestos in our talc

products.’” Defendants’ vigorous denials in the Bloomberg article (and throughout the Relevant

Period) prevented investors from learning the truth and maintained inflation in the Company’s stock

price. But through a series of partial disclosures the relevant truth would leak out and cause the

stock price to decline.

       10.     For example, on February 5, 2018, investors were informed that “experts [were]

anticipating the release of numerous damaging internal company documents” from the Company

relating to asbestos in its Baby Powder. The Company’s stock declined over 5% in response, and

numerous financial analysts and commentators attributed the decline to the news. But Defendants

continued to defend the Company’s talc products, falsely reassuring consumers and investors once

again that the products “are, and always have been, free of asbestos” and that this was shown by

“‘decades of monitoring, testing and regulation dating back to the 1970s.’”

       11.     Then, on July 12, 2018, investors were stunned when a jury awarded a $4.69 billion

verdict to 22 plaintiffs alleging that asbestos in the Company’s products caused their ovarian cancer.

As numerous news outlets reported, the Company’s stock price dropped in response to the verdict.

In order to continue their fraudulent scheme, and stem the decline in the Company’s stock price,

Defendants claimed that the verdict “was the product of a fundamentally unfair process” in which



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“the evidence in the case was simply overwhelmed by the prejudice” the Company purportedly

suffered.

       12.     Finally, on December 14, 2018, Reuters published a bombshell report entitled

“Powder Keg: Johnson & Johnson knew for decades that asbestos lurked in its Baby Powder” (the

“Reuters report”). The Reuters report disclosed new information and new analysis, including

internal J&J documents “reported to the public for the first time.” In addition to revealing the

Company’s knowledge of asbestos contamination, Reuters disclosed the Company’s “successful

efforts to influence U.S. regulators’ plans to limit asbestos in cosmetic talc products and scientific

research on the health effects of talc.” The report also detailed how the Company had purposely

avoided concentration techniques and how the Company knew that such methods could find asbestos

in its talc products. In response to the Reuters report, the Company’s stock plunged 10%, wiping

away nearly $40 billion in market value in a single day.

       13.     In response to the Reuters report’s revelations, the U.S. government has taken action.

For example, on December 14, 2018, U.S. Senator Ed Markey requested that the FDA “immediately

investigate these allegations and determine whether Johnson & Johnson’s actions have placed at risk

the public’s health and safety.” On January 28, 2019, U.S. Senator Patty Murray sent the Company

a letter requesting documents related to the “alleged decades-long effort by Johnson & Johnson to

potentially mislead regulators and consumers about the safety” of Johnson’s Baby Powder. And, on

February 20, 2019, the Company disclosed that it had received “preliminary inquiries and

subpoenas” from the U.S. Department of Justice (“DOJ”) and the U.S. Securities and Exchange

Commission (“SEC”) to produce documents and the safety of its talc-containing products.

                                 JURISDICTION AND VENUE




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           14.   Pursuant to 28 U.S.C. § 1331 and section 27 of the Securities Exchange Act of 1934

(the “Exchange Act”), this Court has jurisdiction over the claims asserted herein for violations of

sections 10(b) of the Exchange Act. This Court has supplemental jurisdiction over the remaining

claims under 28 U.S.C. § 1367.

           15.   This Court has jurisdiction over each defendant named herein because each defendant

is either a corporation that conducts business in and maintains operations in this District or is an

individual who has sufficient minimum contacts with this District to render the exercise of

jurisdiction by the District courts permissible under traditional notions of fair play and substantial

justice.

           16.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Nominal

Defendant J&J is a New Jersey corporation with principal executive offices located at One Johnson

& Johnson Plaza, New Brunswick, New Jersey.

                                          THE PARTIES

Plaintiff

           17.   Plaintiff Steven Hill (“Hill) is, and was at relevant times, a shareholder of J&J.

Plaintiff Hill purchased his J&J stock in 2008 and still holds his J&J shares today. Plaintiff will

fairly and adequately represent the interests of the shareholders in enforcing the rights of the

corporation.

Nominal Defendant

           18.   Nominal Defendant J&J is a New Jersey corporation with principal executive offices

located at One Johnson & Johnson Plaza, New Brunswick, New Jersey.

Director Defendants




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       19.     Defendant Alex Gorsky (“Gorsky”) is the Company’s Chairman of the Board, Chief

Executive Officer (“CEO”), Chairman of the Executive Committee, and a director. Defendant

Gorsky was also the Company’s Vice Chairman of the Executive Committee from January 2011 to

April 2012; a Member of the Executive Committee from January 2009 to January 2011; Worldwide

Chairman, Medical Devices and Diagnostics Group from September 2009 to January 2011;

Worldwide Chairman, Surgical Care Group from January 2009 to September 2009; Company Group

Chairman and Worldwide Franchise Chairman for Ethicon, Inc., a subsidiary of the Company, from

2008 to January 2009; and held other various positions of increasing responsibility at the Company

and its subsidiaries from 1988 to 2004. Defendant Gorsky is a named defendant in the Securities

Class Action complaint entitled Hall v. Johnson & Johnson, et. al., No. 3:18-cv-01833-FLW-TJB

(D. N.J.) (“Securities Class Action”).

       20.     Defendant Anne M. Mulcahy (“Mulcahy”) is the Company’s Lead Director and has

been since December 2012 and a director since October 2009. Defendant Mulcahy is a member of

the Company’s Audit Committee since at least March 2013.

       21.     Defendant Charles Prince (“Prince”) is a Company director since February 2006.

Defendant Prince is the Chairman and a member of the Company’s Regulatory Compliance

Committee and has been since at least March 2017.

       22.     Defendant William D. Perez (“Perez”) is a Company director since June 2007.

Defendant Perez is a member of the Company’s Audit Committee since at least March 2017.

       23.     Defendant Ian E. L. Davis (“I. Davis”) is a Company director since July 2010.

Defendant I. Davis is a member of the Company’s Audit Committee since at least March 2012, and a

member of the Regulatory Compliance Committee since at least March 2017. Defendant I. Davis




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was previously a member of the Company’s Public Policy Advisory Committee in at least March

2012.

        24.    Defendant Ronald A. Williams (“Williams”) is a Company director since June 2011.

Defendant Williams was previously the Chair of the Company’s Regulatory Compliance Committee

in at least March 2016, a member of that committee from at least March 2013 to at least March 2016,

and a member of the Public Policy Advisory Committee in at least March 2012.

        25.    Defendant A. Eugene Washington (“Washington”) is a Company director since

November 2012. Defendant Washington was previously a member of the Company’s Regulatory

Compliance Committee from at least March 2013 to at least March 2014. Upon information and

belief, Defendant Washington is a citizen of North Carolina.

        26.    Defendant Mark B. McClellan (“McClellan”) is a Company director since October

2013. Defendant McClellan is a member of the Company’s Regulatory Compliance Committee and

has been since at least March 2014.

        27.    Defendant D. Scott Davis (“S. Davis”) is a Company director and has been since

June 2014. Defendant S. Davis is the Chair of the Company’s Audit Committee since at least March

2016, and a member of that committee and has been since at least March 2015. Defendant S. Davis

was previously a member of the Company’s Regulatory Compliance Committee from at least March

2015 to at least March 2016.

        28.    Defendant Mary C. Beckerle (“Beckerle”) is a Company director since June 2015.

Defendant Beckerle is a member of the Company’s Regulatory Compliance Committee since at least

March 2017.

Officer Defendants




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          29.   Defendant Carol Goodrich (“Goodrich”) is the Company’s Director of Corporate

Media Relations since 2009. Defendant Goodrich is named as a defendant in the Securities Class

Action.

          30.   Defendant Michael E. Sneed (“Sneed”) is the Company’s Chief Communications

Officer since 2012; Executive Vice President of Global Corporate Affairs since January 2018; and a

member of the Executive Committee since July 2018. Defendant Sneed was also Vice President of

Global Corporate Affairs from 2012 to January 2018; Company Group Chairman, Vision Care

Franchise from 2007 to 2012; Company Group Chairman, Consumer North America from 2004 to

2007; and held various positions of increasing responsibility across the global enterprise from 1986

to 2004. Defendant Sneed is named as a defendant in the Securities Class Action.

          31.   Defendant Joan Casalvieri (“Casalvieri”) was Director of Toxicology and Skincare

at Johnson & Johnson Consumer Inc. (“JJCI”). Defendant Casalvieri is named as a defendant in the

Securities Class Action.

          32.   Defendant Tara Glasgow (“Glasgow”) was JJCI’s Vice President of Baby R&D and

Scientific Engagement from March 2014 to at least September 2016; and Vice President of Wound

Closure and Repair at Ethicon, Inc., a subsidiary of the Company, from April 2017 to at least

September 2018. Defendant Glasgow was also JJCI’s Senior Director of Oral Care Product

Development and Innovation from October 2011 to March 2014 and held various positions of

increasing responsibility at JJCI from 1995 to 2008. Defendant Glasgow is named as a defendant in

the Securities Class Action.

          33.   Defendants Gorsky, Mulcahy, Prince, Perez, I. Davis, Williams, Washington,

McClellan, S. Davis, and Beckerle shall be collectively referred to as the “Director Defendants.”




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       34.     Defendants Mulcahy, Perez, I. Davis, and S. Davis shall be collectively referred to as

the “Audit Committee Defendants.”

       35.     Defendants Gorsky, Goodrich, Sneed, Casalvieri, and Glasgow shall be collectively

referred to as the “Officer Defendants.”

       36.     The Officer Defendants and Director Defendants are collectively referred to as the

“Individual Defendants.”

                     THE COMPANY’S CORPORATE GOVERNANCE
                         AND CODE OF BUSINESS CONDUCT

       37.     The Individual Defendants were required to comply with the Company’s Principles of

Corporate Governance (the “Corporate Governance Principles”) and Code of Business Conduct (the

“Code of Conduct”). The Individual Defendants were also required to comply with the Company’s

Code of Business Conduct & Ethics for Members of the Board and Executive Officers (the “D&O

Code of Conduct”). The Corporate Governance Principles state the following with respect to the

responsibilities of the Board:

       Responsibilities of the Board. All Directors are elected annually by the shareholders
       as their representatives in providing oversight of the operation of the Company. The
       Directors select, oversee and monitor the performance of the senior management
       team, which is charged with the day-to-day conduct of the Company's business. The
       fundamental responsibility of the Directors is to exercise their business judgment on
       matters of critical and long-term significance to the Company in furtherance of what
       they reasonably believe to be in the best interest of the Company, and therefore its
       shareholders.

       38.     The Company also claimed to conduct its business in accordance with applicable laws

and regulations. To that effect, both the Code of Conduct and the D&O Code of Conduct required

the Company’s officers and directors to comply with all laws, rules, and regulations, and the D&O

Code of Conduct further required the Individual Defendants to “use all reasonable efforts to oversee

compliance by employees, other Directors and other Executive Officers with all applicable laws,



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rules and regulations.” The Code of Conduct provided the following with respect to legal and

regulatory compliance:

       We aspire to bring the highest standards and level of integrity to each of these
       business activities by:

       •     Complying with the laws, standards and regulations that apply to our products
             and processes (such as quality regulations and standards);

       •     Upholding ethical, scientific and clinical standards and complying with all laws
             and regulations in all research and development activities worldwide;

       •     Ensuring the safety of patients and volunteers who take part in clinical trials,
             protecting their confidentiality and complying with data protection laws;

       •     Complying with the laws and regulations that cover gaining marketing
             authorization to sell our products and interacting with regulators and other
             government officials;

       •     Adhering to the applicable manufacturing, packaging, distribution and export
             laws and regulations for our industry and in the countries where we do business;

       •     Following all laws and regulations regarding the promotion, marketing and sales
             of our products, including ensuring that what we say is truthful, not misleading,
             and is consistent with regulatory approvals for our products;

       •     Complying with all laws relating to product quality and safety, consistently
             monitoring the safety, quality and performance of our products and complying
             with all requirements for reporting adverse events and product quality
             complaints.
                                   DUTIES OF DEFENDANTS

       39.      By reason of their positions as officers and/or directors of the Company, and because

of their ability to control the business and corporate affairs of J&J, Defendants owed J&J and its

investors the fiduciary obligations of trust, loyalty, and good faith. The obligations required

Defendants to use their utmost abilities to control and manage J&J in an honest and lawful manner.

Defendants were and are required to act in furtherance of the best interests of J&J and its investors.




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       40.     Each director of the Company owes to J&J and its investors the fiduciary duty to

exercise loyalty, good faith, and diligence in the administration of the affairs of the Company and in

the use and preservation of its property and assets. In addition, as officers and/or directors of a

publicly held company, Defendants had a duty to promptly disseminate accurate and truthful

information with regard to the Company’s operations, finances, and financial condition, as well as

present and future business prospects, so that the market price of the Company’s stock would be

based on truthful and accurate information.

       41.     To discharge their duties, the officers and directors of J&J were required to exercise

reasonable and prudent supervision over the management, policies, practices, and controls of the

affairs of the Company. By virtue of such duties, the officers and directors of J&J were required to,

among other things:

               (a)     ensure that the Company complied with its legal obligations and

       requirements, including acting only within the scope of its legal authority and disseminating

       truthful and accurate statements to the SEC and the investing public;

               (b)     conduct the affairs of the Company in an efficient, businesslike manner so as

       to make it possible to provide the highest quality performance of its business, to avoid

       wasting the Company’s assets, and to maximize the value of the Company’s stock;

               (c)     remain informed as to how J&J conducted its operations, and, upon receipt of

       notice or information of imprudent or unsound conditions or practices, make reasonable

       inquiries in connection therewith, take steps to correct such conditions or practices, and

       make such disclosures as necessary to comply with federal and state securities laws;

               (d)     ensure that the Company was operated in a diligent, honest, and prudent

       manner in compliance with all applicable federal, state and local laws, and rules and



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       regulations; and

               (e)     ensure that all decisions were the product of independent business judgment

       and not the result of outside influences or entrenchment motives.

       42.     Each defendant, by virtue of his position as a director and/or officer, owed to the

Company and to its shareholders the fiduciary duties of loyalty, good faith, and the exercise of due

care and diligence in the management and administration of the affairs of the Company, as well as in

the use and preservation of its property and assets. The conduct of Defendants complained of herein

involves a knowing and culpable violation of their obligations as directors and officers of J&J, the

absence of good faith on their part, and a reckless disregard for their duties to the Company and its

shareholders that the Defendants were aware, or should have been aware, posed a risk of serious

injury to the Company.

                                    COMPANY OVERVIEW

Background

       43.     The Company is a healthcare conglomerate with three core businesses: (i)

Pharmaceutical, (ii) Medical Devices, and (iii) Consumer. Incorporated in 1887, the Company has

grown exponentially over the years and considers itself to be “the world’s largest and most broadly

based healthcare company.” The Company has credited its longevity and success to its “Credo.”

First written over 75 years ago, shortly before the Company became a publicly traded company,

“Our Credo” delineates the Company’s responsibilities to medical professionals, patients, and

parents, as well as to its employees, communities, and shareholders. Engraved in an eight-foot

sandstone slab weighing some 30,000 pounds that is proudly displayed in the lobby of the

Company’s corporate headquarters, “Our Credo” is “ubiquitous” within the Company offices,

appearing on desktops, bookshelves, walls, and hallways. It states in part that the Company’s “first



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responsibility is to the doctors, nurses and patients, to mothers and fathers and all others who use our

products and services. In meeting their needs everything we do must be of high quality.”

       44.     Along with the Company’s “Credo,” Johnson’s Baby Powder stands out as a symbol

of the Company’s history and legacy. Recognized by the Company as a “‘flagship product’” and

“‘sacred cow’” amongst its other offerings, Johnson’s Baby Powder is easily among “the top one or

two products that people think of when they think of J&J.” Not only does each bottle prominently

display the Company’s name, but according to the Company’s own internal documents, the

fragrance of Johnson’s Baby Powder is “the most widely recognized fragrance in the United

States.”1

       45.     The storied past of Johnson’s Baby Powder helps to further explain why the

Company has considered the product to be its “‘sacred cow.’”2 “[T]he Company’s baby products

business was born” when Johnson’s Baby Powder “made its debut in 1893, [and] went on the market

in 1894.” A 2007 Company blog post explains:

       Johnson’s Baby Powder was a success, and the Company began expanding its line of
       baby products to include creams, soaps, and more. Over time, Johnson’s Baby
       Powder, with its instantly recognizable scent, became one of the most familiar and
       trusted products in the world. [Emphasis added].




1
        In an August 15, 2017 deposition, the Company corporate representative Hopkins admitted
that Johnson’s Baby Powder was a flagship product and that “the baby powder is easily the top one
or two products that people think of when they think of J&J.” He also admitted that “[i]n so far as
Johnson’s Baby Powder was a sacred cow, an institution, a franchise, a flagship, a cornerstone of
Johnson & Johnson’s business, it would be very, very bad for business if it ever came out that the
baby powder or any of Johnson & Johnson’s talc products ever contained asbestos.”
2
        Merriam-Webster defines “sacred cow” as “one that is often unreasonably immune from
criticism or opposition.” Further, Dictionary.com defines “sacred cow” as “an individual,
organization, institution, etc., considered to be exempt from criticism or questioning.”



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       46.     After World War I, the Company conducted “the largest ad campaign in its history”

in order to promote the Company’s Baby Powder, which then became “trusted” by parents and

associated “with the parent-infant bond”:

       With the rapid growth of advertising in the Nineteen-teens after World War I,
       Johnson & Johnson advertised Baby Powder with the largest ad campaign in its
       history, with the result that the powder – and the Company’s other baby products –
       really took off and became trusted components of the way families across the world
       cared for their children. The products, by their very use, promoted close interaction
       between parents and their babies, and became associated in people’s minds with the
       parent-infant bond. [Emphasis added].

       47.     As a result, the Company has long been known as “the Baby Company,” even as it

has acquired other brands and products:

       Generations of families have used these products to care for their children, and
       consumer identification with them has been so strong that, despite the depth and
       breadth of its product lines, the Company has enjoyed a longstanding reputation as
       “the Baby Company.” [Emphasis added].

       48.     And as an internal memorandum from 1966 emphasized, “Baby Powder represents

the cornerstone of [the Company’s] baby products franchise.” [Emphasis added].

       49.     The Company has worked hard over the years to preserve the wholesome image of its

flagship product. At least as far back as the 1970s, the Company told doctors and nurses how J&J’s

Baby Powder was an “institution,” passed down in daily rituals from parent to child:

       JOHNSON’S Baby Powder is an institution. For many years it has been a familiar
       sight in millions of homes, used by millions of parents in caring for young children.
       Its sweet-smelling fragrance has become associated with freshness, comfort, and
       cleanliness. [Emphasis added].

       50.     Exploiting these memories and associations, the Company has historically urged

people of all ages to “[t]hink of us as a lifetime friend of the family” and to continue to use

Johnson’s baby products after childhood – promising that “[a]ll those good comfortable feelings you

felt when you were young stay with you as an adult.” Even today, the Company regularly reminds



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the public of the legacy and supposed benefits of Johnson’s Baby Powder. For example, on a 2016

webpage entitled “The Facts on talcum powder safety,” the Company boasted:

       If you’ve ever cared for a baby, you’ve probably had JOHNSON’S Baby Powder in
       your home. Baby powder made from cosmetic talc is one of the JOHNSON’S
       brand’s oldest products and a longtime part of baby care rituals. It is
       hypoallergenic, helps eliminate friction and is clinically proven to be gentle and mild
       for your baby’s skin. The clean, classic scent is comforting and familiar for
       parents and children alike. [Emphasis added].

       51.     Despite all of the Company-promoted associations with sentimental rituals and

memories, Johnson’s Baby Powder is essentially just ground up minerals with a bit of “fragrance.”

The principle ingredient of the Company’s Baby Powder and talcum powder products is talc, a

naturally occurring mineral that is first mined and then ground into powder form.3

       52.     Talc can be naturally contaminated with asbestos, as the two can develop together

within the same ore bodies. Asbestos is the commercial term used to describe minerals developing

naturally as bundles of long, thin fibers that are flexible and easily separable, rather than as solid

rock. These “asbestiform” minerals include chrysotile, tremolite asbestos, actinolite asbestos,

anthophyllite asbestos, amosite, and crocidolite. Asbestos fibers can cause fatal cancers and wreak

absolute havoc on human tissue, even when present in such small quantities that they are invisible

without sophisticated detection methods and equipment. The U.S. federal government has made




3
        The Company has sold two principal talcum powder products over the years: Johnson’s Baby
Powder and Shower to Shower. Valeant Pharmaceuticals International Inc. bought Shower to
Shower from the Company in 2012. From the mid-1960s until 1989, the Company’s talc was
largely supplied by its own subsidiary, Windsor Minerals, and came from its Vermont mining
operation. As a 1966 the Company memorandum illustrates, the Company historically had “a large
investment in a talc mine.” Currently, Johnson’s Baby Powder sold in the U.S. contains talc that is
imported from mines in China and supplied by Imerys.



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clear that there is no known safe level of exposure to asbestos. Even trace amounts are considered

dangerous.4

              THE EARLY YEARS – AMIDST HEALTH CONCERNS
              REGARDING ASBESTOS AND TALC, THE COMPANY
         BEGINS ITS DECADES-LONG SCHEME TO CONCEAL THE TRUTH

       53.     Concerns about asbestos and its potential effects on human health grew during the

1960s, and as a result of this heightened awareness, questions about the safety of talc-based products

and their potential asbestos contamination began to be raised in earnest in the early 1970s. Despite

being repeatedly informed of the presence of asbestos in the Company’s talc and talcum powder, the

Company lied to the public, influenced regulators, and purposely avoided testing methods that could

detect the trace amounts of asbestos that the Company knew were present.

          THE COMPANY RECOGNIZES INTERNALLY THAT ITS TALC IS
               CONTAMINATED AND THAT IT COULD LEAD TO
                   A PUBLIC “FUROR” AND LITIGATION

       54.     By 1969, the Company had already recognized that asbestos contamination posed a

direct threat to its iconic brand and raised the specter of litigation exposure. In a 1969 memorandum,

Dr. T.M. Thompson (“Thompson”) of the Company noted the general concerns that had previously

been raised about the safety of Johnson’s Baby Powder, including by Robert Wood “General”

Johnson II (“General Johnson”), son of the Company’s co-founder Robert Wood Johnson.5


4
         Tremolite, actinolite, and anthophyllite minerals can also develop naturally as larger rocks,
i.e., “non-asbestiform.” However, these rock formations can be broken down by industrial processes
such as grinding, leading to “cleavage fragments.” These fragments can have substantially similar
characteristics as naturally occurring asbestos, with the potential to pose the same health risks as
“asbestiform” minerals. According to Richard Zazenski (“Zazenski”), long-time employee of the
Company’s talc supplier, “if a deposit contains ‘non-asbestiform’ tremolite, there is also asbestiform
tremolite naturally present as well.” Where there is tremolite there is asbestos present.
5
        General Johnson, who served as chairman of the Company from 1932-1963, has been
credited with turning the Company into the largest health-care company in the world. He also wrote
the Company’s celebrated Credo.



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Thompson indicated that General Johnson and numerous pediatricians had “express[ed] concern”

about potential “adverse effects on the lungs of babies or mothers.” Thompson then went on to

admit that the Company’s talc contained “unavoidable trace amounts” of tremolite, and that these

structures could penetrate deep inside the lungs:

       [W]e have occasionally received inquiries from various individuals, including
       General Johnson and several pediatricians, expressing concern over the possibility
       of the adverse effects on the lungs of babies or mothers who might inhale any
       substantial amounts of our talc formulations. In the past, we have replied to the
       effect that since our talc is essentially all of the platelet-type of crystalline structure,
       and is of a size which would not be likely to enter the pulmonary alveoli, we would
       not regard the usage of our powders as presenting any hazard. Obviously, if we do
       include Tremolite in more than unavoidable trace amounts, this sort of negation of
       such inquiries could no longer pertain. [Emphasis added].

       55.     Thompson also acknowledged to other Company personnel, including Ashton, that “if

it became known that [its] talc formulations contained any significant amount of Tremolite,” the

Company could face “such a furor” that it could be “more or less compelled to remove [tremolite]

from the formulation”:

       Some years ago, we were faced with a more or less serious problem resulting from
       what we consider to have been an unjust accusation of danger due to the presence of
       a small amount of boric acid in our talc. This created such a furor that we were
       more or less compelled to remove boric acid from the formulation. It is conceivable
       that a similar situation might eventually arise if it became known that our talc
       formulations contained any significant amount of Tremolite. [Emphasis added].

       56.     Thompson further warned that the Company could face litigation over tremolite in its

talc, and he suggested that the Company’s law department be involved:

       Since the usage of these products is so widespread, and the existence of pulmonary
       disease is increasing, it is not inconceivable that we could become involved in
       litigation in which pulmonary fibrosis or other changes might be rightfully or
       wrongfully attributed to inhalation of our powder formulations. It might be that
       someone in the Law Department should be consulted with regard to the
       defensibility of our position in the event that such a situation could ever arise.
       [Emphasis added].




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  THE COMPAMNY TELLS THE PUBLIC THAT ITS BABY POWDER CONTAINS
NO ASBESTOS, BUT NUMEROUS INTERNAL DOCUMENTS AND THE COMPANY’S
      OWN EFFORTS TO REMOVE THE ASBESTOS SHOW OTHERWISE

       57.     In June 1971, the Company attempted to put concerns about its talc to rest by issuing

a statement to the New York Daily News and New York Post:

       Johnson & Johnson takes great care to assure the purity of its products, even to the
       extent of mining and processing our own talc for use in baby powder. Our fifty years
       of research knowledge in this area indicates that there is no asbestos contained in
       the powder manufactured by Johnson & Johnson. [Emphasis added].

       58.     Contrary to the Company’s public assurance, however, the Company already knew

that its talc contained asbestos. Indeed, a little over a month after the Company’s June 1971 press

release assuring based on “fifty years of research knowledge” that the powder contained “no

asbestos,” a July 1971 memorandum by the Company’s Wilson Nashed noted that “[t]he talc used in

JOHNSON’S Baby Powder” came from a Vermont mine containing “trace amounts of fibrous

minerals (tremolite/actinolite).”   While the talc went through a “washing process,” “three

independent consulting laboratories” showed that the resulting talc still had “traces of fibrous

minerals”:

       The talc used in JOHNSON’S Baby Powder is obtained from a selected mine in
       Vermont where the ore consists mainly of platy talc with only trace amounts of
       fibrous minerals (tremolite/actinolite). It is free of chrysotile fibers which may be
       called “pure asbestos” by the layman.

       The ore undergoes a careful purifying process which includes a 36-step washing
       process to maximize its content of high lubricity platy talc and to remove or
       substantially reduce any traces of fibrous minerals which may be present in the
       unrefined ore. The resulting talc has been shown by three independent consulting
       laboratories[] to contain negligible traces of fibrous minerals and no chrysotile
       fibers. [Emphasis added].

       59.     Then, in 1972, University of Minnesota professor Thomas E. Hutchinson (“Professor

Hutchinson”) tested talcum powder samples received from the Company and an outside laboratory,

and he found chrysotile in a Shower to Shower sample – or what he described as “incontrovertible


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asbestos” in a lab note. While the Company submitted testing results to the FDA and claimed that

they “clearly show[ed]” “no chrysotile asbestos,” the Company withheld the findings of Professor

Hutchinson.

       60.     In August 1972, the Company was informed by Dr. Weissler, Director of the Division

of Cosmetics at the FDA, that a sample of the Company’s Shower to Shower talcum powder product

had been sent to Sperry Rand, an outside laboratory facility, and that the report “was that asbestos

fibers could be detected.” The Company attempted to discredit the results, asking Dr. Weissler

about the facility’s experience and potential for lab contamination, but internally admitted the

potential presence of tremolite fibers in its products:

       The report from Sperry Rand was that asbestos fibers could be detected in the
       sample. Dr. Weissler said that he has in front of him photographs of 6 fields at
       12,000X magnification showing fibers with length to width ratios of 10-to-1 to 50-to-
       1 . . . . I asked Dr. Weissler if the Sperry Rand facility handles minerals.

       He said yes, they do a lot of work with chrysotile. I asked him, “Have they reported
       to you the normal background contamination in their samples. As you recall, this
       was the problem in Mt. Sinai’s laboratories.” He said no; however, he feels that the
       man who did the work is conservative and would not have reported chrysotile unless
       he was sure. I asked him if he has assured himself that the fibers were not
       tremolite which could be present in trace amounts. He said the fibers are
       characteristic of chrysotile and not tremolite. [Emphasis added].

       61.     Other internal documents from the 1970s also demonstrate the Company’s awareness

of its asbestos contamination problem. For example, a February 1973 Company memorandum

illustrates that the Company consultant Fred Pooley was working on a process to remove tremolite

from talc, which Tom Shelley (“Shelley”), Director of the Company’s Central Research

Laboratories, considered to be potentially a “valuable patent” for the Company. But after a little

over a month of contemplation, Shelley determined that it could be in the Company’s best interest to

“keep the whole thing confidential” rather than “let the whole world know” that the Company was

trying to remove asbestos from its talc:


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       [W]e will want to carefully consider the Pooley patents re asbestos in talc. It’s quite
       possible that we may wish to keep the whole thing confidential rather than allow it to
       be published in patent form and thus let the whole world know.

       62.     Then, in August 1973, the Company was informed that the Dutch Consumer

Organization had found asbestos in Johnson’s Baby Powder. The Company asked the organization

to not make its findings public. A December 13, 1973 letter from the Company’s operation in the

Netherlands, with “asbestos in baby powder” as the subject, stated:

       During the month August the Dutch Consumer Organization has informed us that
       they have determined asbestos in JOHNSON’s Baby Powder.

       According to their first test the content was 1.59%. On our request they have tested
       another sample and the result of this second test was 0.3%.

       During the period August/November we have had continuous contacts with them and
       we have supplied them with all the data and comments we received from Johnson &
       Johnson U.S.A. and Johnson & Johnson U.K.

       We also asked them clearly not to make any publications about asbestos in baby
       powder, before we agreed with their findings.

       Because they did not accept our arguments against their method of testing we have
       proposed a discussion between our experts and theirs.

       We have tried this several times. [Emphasis added].

       63.     By 1974, the Company was also authorizing asbestos-destruction experiments in

Colorado. An April 1974 memorandum containing notes on a visit with the Colorado School of

Mines details the Company’s authorization of experiments to establish the destruction of tremolite

and chrysotile in the presence of Vermont talc, and to “[d]etermine whether or not fibrous structure

is retained or destroyed in above.” Once again, the Company was considering turning a profit on the

asbestos contamination, as the experiments were “to be run on [the] low key,” “up to [the] point

where we can file patent protection.”

      THE COMPANY SETS OUT TO INFLUENCE REGULATORS AND
    PURPOSELY AVOIDS “ESSENTIAL” ASBESTOS TESTING METHODS


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       64.     Knowing that there were “unavoidable trace amounts” of tremolite (asbestos) in its

talc, the Company also knew that it would likely fail in finding a way to completely eliminate

asbestos from its talc. This made it even more critical that the Company prevent the asbestos

contamination from becoming public knowledge. The Company embarked on a campaign to

undermine scrutiny by public health officials and doctors, branded internally in November 1972 as

“Antagonistic Personalities.” These individuals included the Director of the Environmental

Protection Agency (“EPA”) of New York City, an FDA official “who [was] seeking recognition

within the FDA” and “seem[ed] particularly anxious to condemn talc,” and a doctor at the Mt. Sinai

Hospital and others in his department with “the same mental attitude,” including Dr. Arthur Langer

(“Langer”), who had told the Company of his finding of asbestos in the Company’s “baby talc” the

year prior in a November 1971 letter.6

       65.     In defending its flagship product, the Company paid particular attention to the FDA

and directly sought to influence it. For example, in October 1973, the Company analyzed a proposed

FDA regulation regarding the method for determining the presence of asbestos in food and drugs,

determining that while the method of analysis would “show that our talc is acceptable,” “if they

change the method, we may have problems.” The Company then contributed to a December 1973

letter from the CTFA to the FDA arguing that it was “premature for FDA to impose its proposed

optical method and place a limit on asbestos in talc for food use.”

       66.     Meanwhile, the Company purposely avoided essential testing methods. As the

Company’s own consultant, Colorado School of Mines, confirmed in December 1973, looking for


6
       Reuters would report in December 2018 that “Langer said he told J&J lawyers who visited
him last year that he stood by all of his findings,” which included “trace amounts of chrysotile
asbestos” in the Company’s talc.



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trace amounts of asbestos in talc is like trying to find a “‘needle in a haystack,’” and so requires

looking at an increasing amount of talc. In order to do this, a method of preconcentrating any

asbestos content is “essential”:

         As the impurity level becomes very low (≪1%), it is necessary to examine
         increasingly larger amounts of sample in order to detect the impurity. As a result of
         the requirement to detect the proverbial “needle in a haystack,” we have evolved a
         procedure which preconcentrates the impurities prior to examination.

                                                 ***

         The objective of this work was to develop a procedure to screen talc for the presence
         of chrysotile and tremolite-actinolite asbestos minerals. Based on past experiences
         with detecting and identifying minerals when present at low levels, a concentration
         of the phases to be detected was considered essential to the success of any
         suggested procedure. Once concentrated the impurities could be detected by
         conventional methods of examination. [Emphasis added].

         67.    A May 1973, the Company report entitled “Proposed Specs for Analyzing Talc for

Asbestos” illustrates that the Company knew that asbestos was in its talc and that concentration

methods would allow laboratories to find it, making such methods “too sensitive” for the Company’s

taste:

         England is considering method of preconcentrating the asbestos so as to be able to
         analyze by X-ray. They find no “asbestos” by doing this with Italian talc. They
         find (Pooley) 0.05% of a tremolite-type in Vermont.

                                                 ***

         Preconcentration of Asbestos followed by X-Ray Diffraction Analysis (Pooley
         Method)

         Dr. Pooley has developed two techniques for preconcentration of chrysotile and
         tremolite in talc followed by X-ray diffraction analysis. . . . The second technique
         developed also by Dr. Pooley involves preconcentration of tremolite in talc (different
         procedure) followed by X-ray diffraction analysis. This technique has not been
         written up yet, but evidently when applied to Vermont talc, 0.05% of tremolite-type
         is found. The limitation of this method is that it may be too sensitive. [Emphasis
         added].




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       68.     The Company’s purposeful avoidance of sophisticated testing methods is further

evidenced in a February 1975 internal Company memo to its British operation, attaching “minutes of

the CTFA task force on methodology for the detection of asbestos in talc” and stating that it was

looking at these methods “very quietly” “to avoid promotion of this approach”:

       We are presently practicing and evaluating the Pooley flotation method so we are not
       in the position to recommend it at this time. Besides, we feel that a detectability limit
       with our two present methods of 0.5% to 1% is reasonable . . . . Our major problem
       with the Pooley procedure is that since one can continually recycle the tailings
       (concentrate) given enough time, it is possible to arrive at levels of detectability of
       asbestos in talc in the ppm range – at what stage of recycling do you stop? We
       really want to exclude concentration techniques in any proposed analytical
       procedure and are really looking at this method very quietly so that we will be
       informed and up-to-date with this area of technology. We want to avoid promotion
       of this approach. [Emphasis added].

       69.     A November 1976, the Company memorandum from Ashton declared that separation

and concentration techniques were “disturbing,” as their implementation would make the talc

industry “hard pressed in supporting purity claims” and could “open up new problem areas with

asbestos and talc minerals”:

       Attached is a copy of a disturbing proposal request which the FDA has currently
       made available to qualified bidders. The scope of the work is the Separation of
       Asbestos in Foods, Drugs and Talc for Identification and Determination.

       I find this proposal more disturbing than other proposals up to now because it aims
       at separation and isolation of asbestos from a wide scope of products and animal
       tissues. Up to now, our main problems have had to do with identification, whereas,
       now it looks like the FDA is getting into separation and isolation methodology
       which will mean concentration procedures. As I have pointed out many times,
       there are
       many talcs on all markets which will be hard pressed in supporting purity claims,
       when ultra sophisticated assay separation and isolation techniques are applied.
       Chances are that this FDA proposal will open up new problem areas with asbestos
       and talc minerals. [Emphasis added].




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       70.     To this day, the Company has not adopted a concentration method for testing its talc

despite the Company’s knowledge that this would allow detection of asbestos in its talc and talcum

powders when present in trace amounts.

                        THE COMPANY MONITORS AND DEFENDS
                         AGAINST SCIENCE AND REGULATIONS

       71.     During the 1970s, while the Company worked to avoid the use of sophisticated and

“essential” testing methods on its products, the Company also set out to defend its Baby Powder’s

image by undermining scientific studies and research. An internal memorandum from March 1975

(“March 1975 memorandum”) illustrates that the Company’s initial approach “with respect to

sponsorship of talc safety studies” had been defensive, with the Company “initiat[ing] studies only

as dictated by confrontation.” The March 1975 memorandum recognized that this approach “has

allowed us to neutralize or hold in check data already generated by investigators who question the

safety of talc.” Much like an ostrich with its head in the sand, the Company’s “principal advantage”

with this approach was that it “minimize[d] the risk” of the Company itself inadvertently generating

“scientific data which may be politically or scientifically embarrassing.” Activities proposed under

this approach included (i) involvement in a study “directed towards demonstrating that pulmonary

function is not impaired by exposure to cosmetic grade talc,” and (ii) funding “Johnson & Johnson’s

monitoring of the NIOSH Harvard Study of Vermont Talc Workers” and the Company’s “analytical

and statistical verification of the data to be gathered.”

       72.     But the March 1975 memorandum also acknowledged the weaknesses of this

defensive strategy:

       [T]his approach leaves the talc franchise and the company image open to repeated
       erosion by prior public disclosure of suspected hazards and adversary politicking.
       Also, there exists a danger that the latent period for generating J&J data might be too
       great for the data to be effective.



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       73.    Thus, the March 1975 memorandum proposed “a more anticipative approach” that

had been discussed at the Talc Advisory Group:

       We would carry out other reasonable safety studies to continue our contradiction
       of generated negative data and to anticipate questions on safety which will
       probably be raised. This philosophy offers maximal leverage for defending the
       product . . . . [Emphasis added].

       74.    An August 1977 J&J “Status Report” on the “Defense of Talc Safety” provided an

update on “the talc safety defense program” that J&J had been conducting. Noting that cosmetic

talcs had not suffered “disruptive influences” in the past two months, the Company recognized the

effectiveness of “the various Company sponsored studies [that had] been disseminated effectively”

to the United Kingdom and U.S. scientific and medical communities:

       The past two months have seen no disruptive influences and to the contrary, the
       cosmetic talcs have enjoyed confirming reassurance from several independent
       authoritative sources that they are assessed to be free of hazard for normal consumer
       use.

       We attribute this growing opinion to the fact that (1) the existence of CTFA’s self-
       regulating cosmetic grade talc specification has become common knowledge and that
       (2) favorable data from the various J & J sponsored studies have been disseminated
       effectively to the scientific and medical communities in the U.K. and U.S.
       [Emphasis added].

       75.    An internal Company report regarding the Company’s “Special Talc Study,” for the

period of December 1977 – January 1978, illustrates the Company’s continued efforts of creating

research and data that could be used to protect “the safety image” of Johnson’s Baby Powder:

       OBJECTIVE:

       To monitor and defend against consumerist, scientific and regulatory
       attitudes/trends which could impact adversely on the safety image and marketability
       of cosmetic talcs.

       To generate or provide necessary data to support and reinforce the safety of our
       baby powder. [Emphasis added].




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       76.     The “Special Talc Study” report also explains how the Company was again informed

that its Baby Powder and talc were contaminated with asbestos. “A visit was made” to a facility to

preview “a new instrument” that “detects and counts airborne fibers in the presence of high

concentrations of non-fibrous particles.” Johnson’s Baby Powder and the Company’s talc were

tested with this device, and the “results indicat[ed] our talc and product are well below the current 2

fibers/cc permitted for asbestos,” as “JBP” (Johnson’s Baby Powder) had come back with 0.08

fibers/cc and J&J’s V-66 Talc had come back with 0.28 fibers/cc.

 1980S TO 2000S – THE COMPANY FACES A NEW BATTLEFRONT IN THE WAR TO
     DEFEND ITS FLAGSHIP PRODUCT: THE ASSOCIATION BETWEEN THE
               USE OF TALCUM POWDER AND OVARIAN CANCER

       77.     Beginning in the 1980s, the Company faced a growing body of research finding

evidence of an association between talcum powder usage for personal hygiene and ovarian cancer.

Notably, because the Company had convinced the world that the Company’s talcum powders were

asbestos-free, the public health research focused on the question of whether there was a connection

between ovarian cancer and the talc itself.

       78.     Knowing that public health researchers were bringing increased attention to talc and

that this could threaten the Company’s concealment of its talc’s asbestos contamination, the

Company sold its Hammondsville mine, which had served as the primary source of talc for J&J’s

flagship product since 1966, to Cyprus in 1989. The Company did this shortly after destroying

most of the records of the Hammondsville mining operation. A November 23, 1993 J&J

memorandum explains:

       The specifics of the mining operation at Hammondsville are uncertain, as most of the
       pre-Luzenac records were destroyed by the mine management staff just prior to the
       J&J divestiture and the Cyprus purchase. However, several former Hammondsville
       miners are still employed at the Ham mine, and they provided us with useful
       information as to the nature of the underground works.



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       79.     Meanwhile, a March 1992 internal memorandum at the Company’s talc supplier

illustrates that it was common knowledge at the Vermont mining operation that asbestiform minerals

were present. Indeed, the memorandum illustrates that there was “certainly visible tremolite and

actinolite in specific zones,” and that “Cyprus staff report past tremolite from the Hammondsville

and Clifton deposits”:

       Vermont talcs are derived from altered serpentine – a natural host for asbestiform
       minerals. There is certainly visible tremolite and actinolite in specific zones of the
       Vermont deposits – fibrous tremolite was identified by the writer in exposures and
       cores at the East Argonaut and Black Bear mines. Cyprus staff report past tremolite
       from the Hammondsville and Clifton deposits. [Emphasis added].

       80.     As researchers examined talc as a potential carcinogen, government interest in talc

returned and NIOSH nominated talc for study by the NTP. In 1993, the NTP reported finding

evidence of talc’s “carcinogenic activity” in an inhalation study performed with rodents. With

public health researchers and regulators moving closer to discovering the Company’s massive cover-

up, the Company took aggressive action to conceal the asbestos contamination of its talc and talcum

powders.

    THROUGH FALSEHOODS AND MANIPULATION, THE COMPANY AND ITS
        INDUSTRY COHORTS SUCCESSFULLY PREVENT TALC FROM
          BEING LISTED IN THE “10TH REPORT ON CARCINOGENS”

       81.     As government interest in talc grew, the Company set out to stay “at the forefront of

cosmetic talc” and have “worldwide oversight on talc issues.”           An August 1993 internal

memorandum from Donald Jones to John Hopkins stated:

       John, I’m sure you’ve heard that FDA asked ISRTP to organize a talc safety
       symposium. The request is a follow-up to both the 1992 NTP findings regarding talc
       and the 1992 Harlow paper resurfacing the ovarian cancer connection to cosmetic
       talc use first proposed by Cramer.

                                               ***




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       [A]s part of a strategy to keep J&J at the forefront of cosmetic talc, and to insure
       that we have worldwide oversight on talc issues, Mary AnnCook and I are
       organizing a Worldwide Talc Steering Committee. [Emphasis added].

       82.     At the same time, the Company also continued to receive dire warnings regarding its

talcum powder’s association with ovarian cancer. For example, in a November 10, 1994 letter from

the Cancer Prevention Coalition, the Company’s CEO at the time, Ralph Larson, was alerted to the

scientific evidence of an association between talcum powder and ovarian cancer:

       Dear Mr. Larson,

       A wide range of scientific studies dating back to the 1960s shows conclusively that
       the frequent use of talcum powder in the genital area poses a serious risk of ovarian
       cancer.

       Dr. Bernard Harlow, a leading ovarian cancer researcher from Harvard Medical
       School, published a comprehensive study in 1992 of the link between talc and
       ovarian cancer. The study found a threefold increase of ovarian cancer in women
       who used talc in the genital area as a daily habit.

                                                 ***

       Furthermore, the U.S. National Toxicology Program has recently confirmed that talc
       is carcinogenic.

       83.     By September 1997, the Company was participating in industry representations that

its own consultant described as “inept,” “inaccurate,” and “outright false,” all in an effort to conceal

the asbestos contamination of its flagship product. In a letter from Alfred Wehner (“Wehner”) to the

Company’s Manager of Preclinical Toxicology Michael Chudkowski (“Chudkowski”), the Company

was warned of the troubling posture it was taking along with its industry allies:

       Several investigators have independently reported talc particles in ovarian tissue.
       Simply citing the Battelle study and stating that it “demonstrated that talc does not
       translate (sic!) through the cervix to the uterine cavity and beyond does not address
       the problem . . . . All in all, in my opinion an inept response.

       The problem with the response statement dated July 8, 1992, is more serious. The
       last sentence in the second paragraph states: “Finally, human studies on talc and
       cancer in industrial settings have shown that industrial exposure to talc, both by skin


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       contact and inhalation, even at levels thousands of times higher than lifetime
       consumer exposure, presents no significant risk.” This statement is outright false.

                                                ***

       The response statement dated November 17, 1994, is just as bad. The second
       sentence in the third paragraph reads: “The workshop concluded that, although some
       of these studies suggest a weak association might exist, when taken together the
       results of the studies are insufficient to demonstrate any real association.” This
       statement is also inaccurate, to phrase it euphemistically. At that time there had been
       about 9 studies (more by now) published in the open literature that did show a
       statistically significant association between hygienic talc use and ovarian cancer.
       Anybody who denies this risks that the talc industry will be perceived by the public
       like it perceives the cigarette industry: denying the obvious in the face of all
       evidence to the contrary. [Emphasis added].

       84.     At the same time that the Company and its allies were vehemently denying the link

between talc and ovarian cancer in order to avoid the public discovery of the asbestos contamination,

the Company was again informed that its talcum powder was contaminated with asbestos. In an

April 1998 letter to Mehaffy & Weber, lawyers for JJCI, Dr. Alice Blount (“Blount”) stated that the

Company’s talc “contains trace amounts of asbestos”:

       Although my papers report an improved method for analysis, the determinations for
       the sample labeled I (Johnson & Johnson’s Vermont talc) have been done by the
       traditional methods as well . . . . As I told you, I believe that Johnson & Johnson’s
       Vermont talc contains trace amounts of asbestos which are well below those
       specified by OSHA. [Emphasis added].

       85.     Blount identified the Company’s Vermont talc as the Sample I from her 1991 paper,

which detailed her findings of asbestos “[n]eedles and fibers” in that sample and that the aspect ratio

distribution for Sample I tracked that of tremolite asbestos.

       86.     By October 2000, the first two groups of the NTP’s review process had voted 13-2 in

favor of listing talc in the 10th RoC. This raised the stakes considerably for the Company, bringing

researchers and regulators one step closer to discovering the Company’s longstanding fraud. In

response, the Company and its talc supplier worked to undermine the NTP, and by November 27,



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2000, the Company’s talc supplier had found and proudly shared with the Company the “Winning

Hand” in how to defeat the NTP. In an email to the Company’s Chudkowski attaching comments

from lobbying group CRE, Luzenac’s Zazenski boasted that the companies now had a way to get talc

out of “this NTP nonsense”:

       I’ll let you guys read this for now . . . but it’s for your eye’s only until we finalize it.
       It’s the winning hand in getting talc without asbestos dismissed from this NTP
       nonsense.

       For now, I’ll graciously accept 100% of the credit 1) finding CRE, 2) convincing
       them to get involved, 3) developing the Fatal-Flaw Strategy[,] 4) single-handedly
       saving the talc business from certain ruin.

       All in a day’s work. All contributions to the RJZ vacation and retirement fund will
       be accepted. [Emphasis added].

       87.     As it turns out, the “fatal flaw” was rather simple. Because many of theepidemiology

studies linking genital talc use to ovarian cancer did not distinguish talcum powders produced after

1976 (which was purportedly required to be “asbestos free”) from those produced before 1976, it

was supposedly impossible to know whether the results were because of asbestos in the talc or

because of the talc itself. As Zazenski would explain:

       The primary reason non-asbestiform talc was able to survive the third NTP meeting
       in December and not be recommended for listing was the introduction of doubt
       concerning the characterization of talc utilized in dusting powders cited in the
       epidemiology studies. All but one of the sixteen ovarian cancer studies would have
       involved the use of cosmetic talc and baby powder produced prior to 1976, the year
       that CTFA introduced cosmetic talc specifications requiring no asbestos.

       Two days after the draft CRE comments were shared with J&J, the CRE submitted
       its letter to the NTP, claiming that CRE “is not affiliated with any particular industry,
       company, or other entity.” [Emphasis added].

       88.     The “fatal flaw” strategy was successful, as the NTP deferred consideration of listing

talc because “there ha[d] been considerable confusion over the mineral nature and consequences of

exposure to talc, both containing asbestiform fibers and not containing asbestiform fibers.” In



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response to an e-mail from Mann referencing Zazenski’s “history with J&J on defending talc,”

Zazenski would provide further details:

       [D]uring the 10th RoC review, the Center for Regulatory Effectiveness (Washington,
       D.C.) took an active role in ensuring that NTP was conducting a proper review of
       talc. CRE was instrumental in helping divert an almost guaranteed listing for talc
       into a “deferral. . . .” I might point out that in the 10th RoC review, RG1 and RG2
       voted 13-2 to list talc (not containing asbestos) as a carcinogen. Up until then, every
       substance nominated for listing by both RG1 and RG2 went on to be listed.
       [Emphasis added].

       89.     As the Company’s talc supplier also summarized the events internally, admitting that,

“[w]e (the talc industry) dodged a bullet . . . based entirely on the confusion over the definition

issue.” Of course, the cruel irony that the Company and Luzenac failed to mention to the NTP or the

public health researchers was that the “fatal flaw” was illusory, as the Company’s talc and Baby

Powder continued to be contaminated with asbestos.

       90.     But while the Company was able to keep talc off of the NTP’s 10th RoC, fears of its

fraudulent scheme being revealed lingered at the Company as it faced the threat of the NTP post-

deferral, as well as a new potential foe – the WHO’s International Agency for Research on Cancer,

or IARC, which “[u]nlike NTP,” was “answerable to no one politically.” As Zazenski warned

Ashton on March 26, 2002:

       We’ve been successful thus far in fending off the NTP classification of talc as being
       a potential human carcinogen. But we must also keep an eye out for IARC. . . .
       IARC reviews are not a public debate. Unlike NTP, IARC is answerable to no one
       politically (they are headquartered in Lyon, France of all places). As part of the
       World Health Organization, they act very independently to protect the citizens of
       this planet from ‘preventable’ diseases. . . . You might want to counsel your
       management on this potential (and not to be too complacent about the status of talc).
       [Emphasis added].




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                        FALSE AND MISLEADING STATEMENTS

February 2013 False and Misleading Statements

       91.     On February 22, 2013, Defendants caused the Company to file its Form 10-K with the

SEC for the fiscal year ended December 30, 2012 (“2012 10-K”). According to Defendants, the

Company “remain[ed]” committed” to “delivering high quality” and “improving existing products”:

       Research and Development

       Research activities represent a significant part of the Company’s businesses.
       Research and development expenditures relate to the processes of discovering,
       testing and developing new products, improving existing products, as well as
       demonstrating product efficacy and regulatory compliance prior to launch. The
       Company remains committed to investing in research and development with the
       aim of delivering high quality and innovative products. [Emphasis added].

       92.     Exhibit 13 to the 2012 10-K disclosed that some of the Company’s subsidiaries were

involved in product liability litigation, but also represented that the warnings and instructions

accompanying their products were adequate:

       Certain subsidiaries of Johnson & Johnson are involved in numerous product liability
       cases. The damages claimed are substantial, and while these subsidiaries are
       confident of the adequacy of the warnings and instructions for use that accompany
       the products at issue, it is not feasible to predict the ultimate outcome of litigation.
       The Company has established product liability accruals in compliance with ASC
       450-20 based on currently available information, which in some cases may be
       limited. Changes to the accruals may be required in the future as additional
       information becomes available.

       93.     The Company’s statements above were false and misleading when made. While

Defendants boasted of “improving existing products,” being “committed to investing in research and

development with the aim of delivering high quality . . . products,” and having “adequate” warnings,

they omitted that (i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the

Company had attempted to find ways to remove tremolite from its talc, and (iii) the Company never

adopted concentration methods that could detect the asbestos.



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April 2013 False and Misleading Statements

       94.    On April 25, 2013, Forbes reported on comments made by the Company’s VP of

global corporate affairs, Michael Sneed, at the Company’s annual shareholder meeting:

       “One of the things that we wanted to be sure to do is move to really get past some of
       the challenges we’ve had as a business,” said Michael Sneed, VP of global
       corporate affairs. “We’ve made great strides in that and we want to make sure we
       have a full conversation about who J&J is. We’re not perfect but we want people
       to understand that when we do make mistakes, we own up to those mistakes and we
       want people to understand the values that are behind J&J.”

       J&J ranked No. 6 of America’s 150 most reputable companies this year, dropping
       from No. 3 last year, according to The Reputation Institute.

       “We certainly are not oblivious to the rankings,” Sneed said. “The reputation of J&J
       is very important to us. We take it very seriously. We have a lot of data that we look
       at, both externally and internally,” he said. “I wouldn’t say there was any one thing
       that precipitated [the campaign], and we certainly don’t do these things just for
       rankings. Reputation is something that’s born out of actions. The reputation is a
       reflection of people’s perspective on the actions that we do take.”

       The corporate campaign is the first global one, will continue indefinitely and will
       cost an estimated $20 million to $30 million for the remainder of the year.

       It comes at a time when many businesses such as Nestle, Unilever UN +0% and
       Procter & Gamble PG +1.22% recognize the value of corporate branding in an
       increasingly transparent and accessible world driven by social media. “We’ve really
       embraced transparency because we think we’ve got a great story to tell,” Sneed said.
       “It has made us even more committed to making sure that we’re part of the
       conversation wherever that conversation happens. Clearly, more of that conversation
       happens online and in the digital space. We love that things happen in real time. We
       get jazzed at being part of that,” he said, adding that employees, particularly the
       younger ones, are excited by the company’s involvement in social media, and “have
       become ambassadors for the brand.”

        Sneed also pointed out that J&J has a history of doing corporate campaigns – for
       example, the Campaign for Nursing’s Future, which has been running for 10 years.

       “As we were thinking about what else we wanted to do, we thought it was important
       to reconnect with customers, healthcare professionals, and reconnect them to J&J and
       really [help them] understand the values behind J&J. The campaign is about
       celebrating the people who do the work of caring for others and in a selfless
       manner.”



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       The central theme of the new ads, the first from TBWA LA, is love – “an expression
       of what people do when they care unconditionally for others,” Sneed said. “That
       comes out of the history of J&J.” [Emphasis added].

       95.     Defendants’ statements above that the Company had “‘really embraced

transparency’” and was trying to “‘have a full conversation about who the Company is’” to help

customers, healthcare professionals, and others “‘understand the values behind the Company,’” that

the Company had a history of and was driven by “‘car[ing] unconditionally for others’” and that it

had “‘own[ed] up to [its] mistakes,’” and that the Company made “‘great strides’” in “‘really

get[ting] past’” the quality issues the Company faced, were false and misleading. In truth,

Defendants were continuing the longstanding campaign to conceal the dangers inherent in the

Company’s talcum powders. Indeed, Defendants failed to disclose that (i) asbestos had repeatedly

been found in the Company’s talc and powders, (ii) the Company had attempted to find ways to

remove tremolite from its talc, (iii) the Company never adopted concentration methods that could

detect the asbestos, and (iv) the Company had purposely influenced and manipulated regulators and

scientists in order to protect the Company’s flagship product and reputation.

May 2013 False and Misleading Statements

       96.     On May 3, 2013, Defendants caused the Company to file its Form 10-Q with the SEC

for the first quarter of 2013 (“1Q13 10-Q”). According to Defendants, the Company “remain[ed]

committed” to “delivering high quality” and “improving existing products”:

       Research and Development Expense

       Research and development activities represent a significant part of the Company’s
       business. These expenditures relate to the processes of discovering, testing and
       developing new products, improving existing products, as well as ensuring product
       efficacy and regulatory compliance prior to launch. The Company remains
       committed to investing in research and development with the aim of delivering
       high quality and innovative products. [Emphasis added].




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       97.     The Company’s 1Q13 10-Q disclosed that some of the Company’s subsidiaries were

involved in product liability litigation, but also represented that the warnings and instructions

accompanying their products were adequate:

       Certain subsidiaries of Johnson & Johnson are involved in numerous product liability
       cases. The damages claimed are substantial, and while these subsidiaries are
       confident of the adequacy of the warnings and instructions for use that accompany
       the products at issue, it is not feasible to predict the ultimate outcome of litigation.
       The Company has established product liability accruals in compliance with ASC
       450-20 based on currently available information, which in some cases may be
       limited. Changes to the accruals may be required in the future as additional
       information becomes available. [Emphasis added].

       98.     Defendants’ statements above were false and misleading. While Defendants boasted

of “improving existing products,” being “committed to investing in research and development with

the aim of delivering high quality . . . products,” and having “adequate” warnings, they omitted that

(i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the Company had

attempted to find ways to remove tremolite from its talc, and (iii) the Company never adopted

concentration methods that could detect the asbestos.

July 2013 False and Misleading Statements

       99.     During a July 16, 2013 conference call regarding the Company’s 2Q13 results, the

Company provided more assurance to investors that the Company paid careful attention to the safety

of its products and that as part of a “quality initiative,” the Company was identifying problems early

and was correcting them:

       [Sandy Peterson, Group Worldwide Chairman:] [O]ur quality effort is across the
       enterprise, across all of our businesses, our manufacturing sites as well as all of our
       R&D sites, because they are under the scope of trying to ensure that we have the
       highest standard of quality for the safety and care of our patients and consumers.
       So, when we launched the quality initiative a number of years ago, the focus really
       was on ensuring that we’ve got consistent quality standards. . . .

       . . . And we have, obviously as we’ve gone through all of this work, we have
       identified corrective actions, and we’ve immediately taken those corrective actions.


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       . . . We’re putting in place processes and systems so that we have early warning
       systems in place to understand if we think there may be something going on with a
       product. So we identify it early and we go out and correct it.

       In addition to that, an important component of all of this is how we’re managing our
       global supply chain. So, one of the very important changes that we have been making
       with our global supply chain is ensuring that all of our external suppliers – so, our
       material suppliers – are thoroughly reviewed, are thoroughly managed, and that they
       are living up to our quality standards. And in that process in the last three years
       we’ve actually consolidated our external manufacturing, our external material
       suppliers by about one-third. So we have one-third less than we had three years ago.
       That means that we have an ability to manage them much more effectively, and
       ensure that we are reviewing their quality of their products coming into our facilities.
       [Emphasis added].

       100.    Defendants’ statements above that the Company was “trying to ensure . . . the highest

standard of quality for . . . safety” identifying problems early and correcting them “immediately,”

and “ensuring that [its] . . . external suppliers [were] living up to [J&J’s] quality standards” were

false and misleading. In truth, Defendants were continuing the Company’s campaign to conceal the

dangers inherent in its talcum powders. Indeed, Peterson failed to disclose that (i) asbestos had

repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to find

ways to remove tremolite from its talc, (iii) the Company never adopted concentration methods that

could detect the asbestos, and (iv) the Company had purposely influenced and manipulated

regulators and scientists in order to protect the Company’s flagship product and reputation.

August to November 2013 False and Misleading Statements

       101.    On August 1, 2013, Defendants caused the Company to file its 2Q13 Form 10-Q with

the SEC. According to Defendants, the Company “remain[ed] committed” to “delivering high

quality” and “improving existing products”:

       Research and Development Expense

       Research and development activities represent a significant part of the Company’s
       business. These expenditures relate to the processes of discovering, testing and
       developing new products, improving existing products, as well as ensuring product


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        efficacy and regulatory compliance prior to launch. The Company remains
        committed to investing in research and development with the aim of delivering
        high quality and innovative products. [Emphasis added].7

        102.      The Company’s 2Q13 10-Q disclosed that some of the Company’s subsidiaries were

involved in product liability litigation, but also represented that the warnings and instructions

accompanying their products were adequate:

        Certain subsidiaries of Johnson & Johnson are involved in numerous product liability
        cases. The damages claimed are substantial, and while these subsidiaries are
        confident of the adequacy of the warnings and instructions for use that accompany
        the products at issue, it is not feasible to predict the ultimate outcome of litigation.
        The Company has established product liability accruals in compliance with ASC
        450-20 based on currently available information, which in some cases may be
        limited. Changes to the accruals may be required in the future as additional
        information becomes available. [Emphasis added].8

        103.      Defendants’ statements above were false and misleading. While Defendants boasted

of “improving existing products,” being “committed to investing in research and development with

the aim of delivering high quality. . . products,” and having “adequate” warnings, they omitted that

(i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the Company had

attempted to find ways to remove tremolite from its talc, and (iii) the Company never adopted

concentration methods that could detect the asbestos.

January 2014 False and Misleading Statements

        104.      By January 7, 2014, the Company’s “Our Safety & Care Commitment” website stated

the following9:


7
        These statements were also made in the Company’s third quarter of 2013 (“3Q13”) Form 10-
Q, filed November 4, 2013.
8
        These statements were also made in the Company’s 3Q13 Form 10-Q, filed November 4,
2013.
9
        Our Safety & Care Commitment, Johnson & Johnson Family of Consumer Companies,
http://www.safetyandcarecommitment.com:80/ingredientinfo/other/Talc.


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       Few ingredients have demonstrated the same performance, mildness and safety
       profile as cosmetic talc, which has been used for over 100 years by millions of
       people around the world. Talcum powder is made from the mineral, talc. In a
       powder form, talc helps reduce friction, making it useful for keeping skin dry and
       helping to prevent rashes. Talc is a common natural ingredient found in cosmetic
       products such as baby powder and adult body and facial powders, and in a range of
       other consumer products such as toothpaste, chewing gum, and aspirin.

       JOHNSON’S® Baby talc products are made using U.S. Pharmacopeial (USP) grade
       talc to ensure it meets the highest-quality, purity and compliance standards. Our
       talc is carefully selected, processed and tested to ensure that [it] is asbestos free, as
       confirmed by regular testing conducted since the 1970s.

                                                ***

       At the Johnson & Johnson Family of Consumer Companies, our confidence in using
       talc is based on a long history of safe use and more than 30 years of research by
       independent researchers, scientificreview boards and global regulatory authorities.
       Various agencies and governmental bodies have examined whether talc is a
       carcinogen, and none have concluded that it is. These include the U.S. Food and
       Drug Administration (FDA) and National Toxicology Program, part of the U.S.
       Department of Health and Human Services.

                                                ***

       Many research papers and epidemiology studies have been published since the early
       1990s studying talc and perineal use and these studies have found talc to be safe. A
       detailed meta-analysis done by Muscat in 2007, reviewed all available data and
       showed no cause and effect relationship between perineal use and ovarian cancer.
       [Emphasis added].10

       105.    Defendants’ statements above were false and misleading. Defendants knew that talc

did not have “a long history of safe use” after being “used for over 100 years.” These statements, as

well as the representations regarding talc’s “safety profile” and “purity,” the representation that

“[o]ur talc is carefully selected, processed and tested to ensure that [it] is asbestos free,” and the

representation that “regular testing conducted since the 1970s” confirmed that the Company’s talc


10
        Citing Muscat, Perineal talc use and ovarian cancer risk: a case study of scientific standards
in environmental epidemiology, Eur. J. of Cancer Prevention, Nov. 11, 2011,
http://www.ncbi.nlm.nih.gov/pubmed/21712717.



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was asbestos free, were false and misleading as they omitted that (i) asbestos had repeatedly been

found in the Company’s talc and powders, (ii) the Company had attempted to find ways to remove

tremolite from its talc, and (iii) the Company never adopted concentration methods that could detect

the asbestos.

       106.     Defendants’ representations that “more than 30 years of research by independent

researchers, scientific review boards and global regulatory authorities” supported the safety of talc,

that studies “since the early 1990s . . . have found talc to be safe,” and that “none” of the “[v]arious

agencies and governmental bodies” have concluded that talc is a carcinogen, were false and

misleading. Defendants acknowledged internally that other scientific sources not included on the

website were actually “not as definitive or supportive and could be interpreted as suggesting a causal

effect” and that “[e]ven some of the studies we cite send mixed messages.” Defendants knew that

one of the studies cited by the Company even admitted that “‘perineal talc use may modestly

increase the risk of invasive serous ovarian cancers.’” In addition, the statements omitted that (i)

asbestos had repeatedly been found in the Company’s talc and powders, (ii) the Company had

attempted to find ways to remove tremolite from its talc, (iii) the Company never adopted

concentration methods that could detect the asbestos, and (iv) the Company had purposely

influenced and manipulated regulators and scientists, including the FDA and NTP, in order to

protect the Company’s flagship product and reputation.

       107.     On a January 21, 2014 conference call discussing the Company’s 4Q13 and FY13

results, Defendant Gorsky told investors that the Company’s Chief Medical and Chief Quality

Officers were “setting new benchmarks for medical safety” and were ensuring the Company’s

products were safe:

       Our Chief Medical and Chief Quality Officers are setting new benchmarks for
       medical safety and implementing a more consistent global approach for monitoring


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       the use of our end market products that is very patient- and consumer-centric for
       ensuring that they are safe and performing as expected and as intended. While
       we’re pleased with the progress that we’ve made here, we’re not yet satisfied and
       we’ll keep doing whatever it takes to ensure that we continue to earn the trust of
       consumers and patients around the world. [Emphasis added].

       108.    Defendants’ statements above that the Company had done and would continue to do

“whatever it takes to ensure . . . the trust of consumers and patients,” including “setting new

benchmarks for medical safety” and “ensuring that the Company’s products “are safe,” were false

and misleading. In truth, Defendants were continuing the longstanding campaign to conceal the

dangers inherent in the Company’s talcum powders. Indeed, Defendants failed to disclose that (i)

asbestos had repeatedly been found in the Company’s talc and powders, (ii) the Company had

attempted to find ways to remove tremolite from its talc, (iii) the Company never adopted

concentration methods that could detect the asbestos, and (iv) the Company had purposely

influenced and manipulated regulators and scientists in order to protect the Company’s flagship

product and reputation.

February to October 2014 False and Misleading Statements

       109.    On February 21, 2014, Defendants caused the Company to file its 2013 10-K with the

SEC. The 2013 10-K again represented that the Company “remain[ed]” committed” to “delivering

high quality” and “improving existing products”:

       Research and Development

       Research and Development activities represent a significant part of the Company’s
       business. [Research and development] expenditures relate to the processes of
       discovering, testing and developing new products, improving existing products, as
       well as ensuring product efficacy and regulatory compliance prior to launch. The
       Company remains committed to investing in research and development with the
       aim of delivering high quality and innovative products. [Emphasis added].

       110.    Exhibit 13 to the 2013 10-K disclosed that some of its subsidiaries were involved in

product liability litigation, but also represented that the subsidiaries had “substantial defenses”:


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       Certain subsidiaries of Johnson & Johnson are involved in numerous product liability
       claims and lawsuits involving multiple products. Claimants in these cases seek
       substantial compensatory and, where available, punitive damages. While these
       subsidiaries believe they have substantial defenses, it is not feasible to predict the
       ultimate outcome of litigation. The Company has established product liability
       accruals in compliance with ASC 450-20 based on currently available information,
       which in some cases may be limited. Changes to the accruals may be required in the
       future as additional information becomes available. [Emphasis added].

       111.    On May 2, 2014, Defendants caused the Company to file its first quarter of 2014

(“1Q14”) Form 10-Q with the SEC. According to Defendants, the Company “remain[ed]”

committed” to “delivering high quality” and “improving existing products”:

       Research and Development Expense

       Research and development activities represent a significant part of the Company’s
       business. These expenditures relate to the processes of discovering, testing and
       developing new products, improving existing products, as well as ensuring product
       efficacy and regulatory compliance prior to launch. The Company remains
       committed to investing in research and development with the aim of delivering
       high quality and innovative products. [Emphasis added].

       112.    The Company’s 1Q14 10-Q disclosed that some of the Company’s subsidiaries were

involved in product liability litigation, but also represented that the subsidiaries had “substantial

defenses”:

       Certain subsidiaries of Johnson & Johnson are involved in numerous product liability
       claims and lawsuits involving multiple products. Claimants in these cases seek
       substantial compensatory and, where available, punitive damages. While these
       subsidiaries believe they have substantial defenses, it is not feasible to predict the
       ultimate outcome of litigation. The Company has established product liability
       accruals in compliance with ASC 450-20 based on currently available information,
       which in some cases may be limited. Changes to the accruals may be required in the
       future as additional information becomes available. [Emphasis added].11




11
      These statements were also made in the Company’s 2Q14 and third quarter of 2014 (“3Q14”)
Form 10-Qs (filed August 1, 2014 and October 30, 2014, respectively).



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          113.   On August 1, 2014, Defendants caused the Company to file its second quarter of 2014

(“2Q14”) Form 10-Q with the SEC. According to Defendants, the Company “remain[ed]”

committed” to “delivering high quality”:

          Research and Development Expense

          The Company remains committed to investing in research and development with
          the aim of delivering high quality and innovative products. [Emphasis added].

          114.   Defendants’ statements above were false and misleading. While defendants boasted

of “improving existing products,” being “committed to investing in research and development with

the aim of delivering high quality . . . products,” and of the Company’s subsidiaries having

“substantial defenses,” they omitted that (i) asbestos had repeatedly been found in the Company’s

talc and powder, (ii) the Company had attempted to find ways to remove tremolite from its talc, (iii)

the Company never adopted concentration methods that could detect the asbestos, and (iv) the

Company had purposely influenced and manipulated regulators and scientists in order to protect the

Company’s flagship product and reputation.

January to February 2015 False and Misleading Statements

          115.   During a JPMorgan Healthcare Conference on January 12, 2015, Defendant Gorsky

stated:

          Quality and safety, our number-one priority in dealing with patients and consumers.
          We’ve made a number of changes over the last few years, frankly to make sure that
          we addressed any of the outstanding issues that we were facing, but also more
          importantly to set us up for a benchmark going forward. [Emphasis added].

          116.   On February 5, 2015, Defendant Glasgow created a page on the Company’s website

entitled “Making Every Moment Matter.” She represented that the Company understood and cared

about the needs of babies and that the Company “look[ed] at all the science” “that help our babies

thrive and grow”:



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       As a mom, I understand the need for other moms and dads to treasure the precious
       moments throughout the day we get to spend with our children. From bath time to
       bedtime, all of these moments turn into our very own special rituals and serve as a
       way to bond and develop a relationship with our little ones. What may come as a
       surprise to some is how all of these everyday interactions serve as the perfect
       opportunity to stimulate your baby’s senses, which we believe can have a positive
       impact on their development.

       Working on JOHNSON’S®, I’ve had the chance to meet parents all over the world
       and look at the unique rituals and practices between them and their baby. What I
       found to be universal is the desire for families to raise happy, healthy babies.

       As the first baby care brand to commit to advancing the science of baby’s skin, we
       feel, as scientists, an obligation to continue to take our research to the next level by
       looking at all the science – even beyond the science focused on cleansing – that
       help our babies thrive and grow. It’s why I am so excited about the new and existing
       research we are sharing that reveals the importance of multi-sensorial experiences
       that can lead to happy, healthy baby development.

       By age three, 85% of a baby’s brain is developed so it’s no surprise that every
       experience leading up to this time helps to shape their brain. From the nighttime
       cuddles to the bath time bubble splashing sessions, all of these interactions are giving
       you an opportunity to nurture your baby’s ability to learn, think, love and grow.
       And even more interesting is how the brain’s processes for learning are enhanced
       when multiple senses are stimulated versus just using one. It’s why I spend a lot of
       time looking at how touch and smell work together so we can help families make
       the little moments – like bath time (and what I like to call a sensorial playground )
       – mean so much more.

       Looking into the future, JOHNSON’S® has earmarked millions of dollars over the
       next three years to advance new research and will continue to partner with leading
       experts in the space to uncover even more about the “science of the senses.
       [Emphasis added].

       117.    Defendants’ statements above that “[q]uality and safety [were J&J’s] number-one

priority” and that the Company had “addressed any of the outstanding issues that [it was] facing,”

were false and misleading. In truth, the Company continued its longstanding fraudulent scheme to

protect the image of Baby Powder’s safety and the Company’s reputation, concealing that (i)

asbestos had repeatedly been found in the Company’s talc and powders, (ii) the Company had

attempted to find ways to remove tremolite from its talc, (iii) the Company never adopted



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concentration methods that could detect the asbestos, and (iv) the Company had purposely

influenced and manipulated regulators and scientists in order to protect the Company’s flagship

product and reputation.

       118.    Defendants’ statements that the Company “continue[d] to take [its] research to the

next level by looking at all the science . . . that help our babies thrive and grow” and that the

Company “help[ed] families make the little moments – like bath time” serve as “an opportunity to

nurture your baby’s ability to learn,” were similarly false and misleading. Instead of “looking at all

the science” or helping families nurture their babies, the Company had provided parents with the

opportunity to unwittingly expose their children to asbestos, while the Company continued to reject

appropriate testing methods and ignored the multiple findings of asbestos in its talc powders.

Defendants concealed that (i) asbestos had repeatedly been found in the Company’s talc and

powders, (ii) the Company had attempted to find ways to remove tremolite from its talc, (iii) the

Company never adopted concentration methods that could detect the asbestos, and (iv) the Company

had purposely influenced and manipulated regulators and scientists in order to protect the

Company’s flagship product and reputation.

       119.    On February 24, 2015, Defendants caused the Company to file its 2014 10-K with the

SEC (“2014 10-K”). The 2014 10-K again represented that the Company “remain[ed]” committed”

to “delivering high quality” and “improving existing products”:

       Research and Development

       Research activities represent a significant part of the Company’s businesses.
       Research and development expenditures relate to the processes of discovering,
       testing and developing new products, improving existing products, as well as
       demonstrating product efficacy and regulatory compliance prior to launch. The
       Company remains committed to investing in research and development with the
       aim of delivering high quality and innovative products. [Emphasis added].




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       120.    Exhibit 13 to the 2014 10-K disclosed that some of its subsidiaries were involved in

product liability litigation, but also represented that the subsidiaries “have substantial defenses”:

       Certain subsidiaries of Johnson & Johnson are involved in numerous product liability
       claims and lawsuits involving multiple products. Claimants in these cases seek
       substantial compensatory and, where available, punitive damages. While these
       subsidiaries believe they have substantial defenses, it is not feasible to predict the
       ultimate outcome of litigation. The Company has established product liability
       accruals in compliance with ASC 450-20 based on currently available information,
       which in some cases may be limited. In addition, product liability accruals can
       represent projected product liability for thousands of claims around the world, each
       in different litigation environments and with different fact patterns. Changes to the
       accruals may be required in the future as additional information becomes available.
       [Emphasis added].

       121.    Defendants’ statements above were false and misleading. While Defendants boasted

of “improving existing products,” being “committed to investing in research and development with

the aim of delivering high quality . . . products,” and of the Company’s subsidiaries having

“substantial defenses,” they omitted that (i) asbestos had repeatedly been found in the Company’s

talc and powders, (ii) the Company had attempted to find ways to remove tremolite from its talc, (iii)

the Company never adopted concentration methods that could detect the asbestos, and (iv) the

Company had purposely influenced and manipulated regulators and scientists in order to protect the

Company’s flagship product and reputation.

April 2015 False and Misleading Statements

       122.    At an April 23, 2015 Shareholders Meeting, Defendant Gorsky assured investors that

the Company was taking care of mothers and babies:

       Johnson & Johnson is committed to helping mothers and babies, we never want to
       forget the needs of the world’s smallest patients.

                                                ***

       Caring inspires us day in and day out as we strive to make a difference for people
       who count on us the most. And as the world’s largest and best healthcare company in



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       the world, we’re committed to reaching more people in more places in more ways.
       We’re helping people ultimately live longer, healthier, and happier lives.

       123.    Defendants’ statements above were false and misleading. Instead of being committed

to mothers and babies, helping people live longer and happier lives, or “striv[ing] to make a

difference for people,” Defendants were continuing the Company’s longstanding fraudulent scheme

to protect the image of Baby Powder’s and the Company’s reputation, concealing that (i) asbestos

had repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to

find ways to remove tremolite from its talc, (iii) the Company never adopted concentration methods

that could detect the asbestos, and (iv) the Company had purposely influenced and manipulated

regulators and scientists in order to protect the Company’s flagship product and reputation. Despite

the numerous red flags raised internally at the Company, the Company continued to sell its talcum

powders and failed to use proper methods for testing its talc.

May to October 2015 False and Misleading Statements

       124.    On May 1, 2015, Defendants caused the Company to file its first quarter of 2015

(“1Q15”) Form 10-Q with the SEC. Defendants disclosed that some of the Company’s subsidiaries

were involved in product liability litigation, but also represented that the subsidiaries had

“substantial defenses”:

       Certain subsidiaries of Johnson & Johnson are involved in numerous product liability
       claims and lawsuits involving multiple products. Claimants in these cases seek
       substantial compensatory and, where available, punitive damages. While these
       subsidiaries believe they have substantial defenses, it is not feasible to predict the
       ultimate outcome of litigation. The Company has established product liability
       accruals in compliance with ASC 450-20 based on currently available information,
       which in some cases may be limited. In addition, product liability accruals can
       represent projected product liability for thousands of claims around the world, each
       in different litigation environments and with different fact patterns. Changes to the




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       accruals may be required in the future as additional information becomes available.
       [Emphasis added].12

       125.    Defendants’ statements above were false and misleading. While Defendants boasted

of the Company’s subsidiaries having “substantial defenses,” they omitted that (i) asbestos had

repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to find

ways to remove tremolite from its talc, (iii) the Company never adopted concentration methods that

could detect the asbestos, and (iv) the Company had purposely influenced and manipulated

regulators and scientists in order to protect the Company’s flagship product and reputation.

December 2015 False and Misleading Statements

       126.    As of December 25, 2015, the Company had updated its website entitled “Our Safety

& Care Commitment,” stating the following:

       Any amount of talc used in a consumer product is required to be asbestos-free and
       has been since the 1970s – though misperceptions still exist that talc products
       contain asbestos, a substance with links to cancer. JOHNSON’S® Baby Powder
       products contain only U.S. Pharmacopeial (USP) grade talc which meets the highest
       quality, purity and compliance standards. The talc used in all our global products is
       carefully selected and processed to be asbestos-free, and we confirm this with
       regular testing. The U.S. Food and Drug Administration (FDA) has also tested and
       confirmed the purity of our talc.

       Another misperception is that talc in baby powder can be easily inhaled or absorbed
       into the body. We always recommend not using talc around a baby’s face or mouth,
       and to further protect your baby, we precisely mill our JOHNSON’S talc products to
       a relatively large size to decrease the potential to be inhaled or absorbed into the
       body.

       Decades of Safety

       Our confidence in using talc reflects more than 30 years of research by independent
       scientists, review boards and global authorities, which have concluded that talc can
       be used safely in personal care products. Various government agencies and other


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        These statements were also made in the Company’s second quarter of 2015 (“2Q15”) and
third quarter of 2015 (“3Q15”) Form 10-Qs (filed July 31, 2015 and October 30, 2015, respectively).



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       bodies also have examined talc to determine the potential for any safety risks, and
       none have concluded that there are safety risks. In fact, no regulatory agency has
       ever required a change in labeling to reflect any safety risk from talc powder
       products.

                                                ***

       Among the agencies that have examined talc are the U.S. Department of Health and
       Human Services and the U.S. FDA. As recently as 2014, the FDA again reviewed the
       safety data on talc and did not find “any new compelling literature data or new
       scientific evidence.”

       Cosmetic talc is not included in the most recent Report on Carcinogens, which is
       published by the U.S. National Toxicology Program (NTP). NTP is a globally
       recognized program and is formed from parts of several different government
       agencies, including the National Institutes of Health (NIH), the Centers for Disease
       Control and Prevention (CDC), and the Food and Drug Administration (FDA).

       In addition to government health authorities, our own toxicology teams are also
       responsible for evaluating any new research published on talc, and at times we may
       ask outside experts for an independent perspective on new or existing studies. We
       have carefully assessed all available data on talc and consumers can feel confident
       that the overwhelming body of research and clinical evidence continues to support
       the safety of cosmetic talc.

                                                ***

       Our Position on Talc

       At Johnson & Johnson Consumer Inc., our confidence in using talc is based on a
       long history of safe use and more than 30 years of research by independent
       researchers, scientific review boards and global regulatory authorities. Various
       agencies and governmental bodies have examined whether talc is a carcinogen,
       and none have concluded that it is. With over 100 years of use, few ingredients
       have the same demonstrated performance, mildness and safety profile as cosmetic
       talc. [Emphasis added].

       127.    Defendants’ statements above were false and misleading. Defendants knew that talc

did not have “a long history of safe use” after “over 100 years of use.” In addition, the

representations regarding talc’s “safety profile,” “purity,” and asbestos-free nature, the

representation that the Company’s talc is “precisely milled” and “carefully selected and processed to

be asbestos-free, [confirmed] with regular testing,” and the representation that “[a]ny amount of talc


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used in a consumer product is required to be asbestos-free and has been since the 1970s” were false

and misleading as they omitted that: (i) asbestos had repeatedly been found in the Company’s talc

and powders, (ii) the Company had attempted to find ways to remove tremolite from its talc, and (iii)

the Company never adopted concentration methods that could detect the asbestos.

       128.    Defendants’ representations that: (i) “more than 30 years of research by independent

scientists, review boards and global authorities” supported the safety of talc, (ii) “the overwhelming

body of research and clinical evidence” supports cosmetic talc’s safety, (iii) “consumers can feel

confident” about the safety of talc based on the Company’s “careful[] assess[ment] [of] all available

data,” and (iv) “none” of the “[v]arious government agencies and other bodies” have concluded there

are any safety risks with talc usage, were false and misleading when made.                Defendants

acknowledged internally that scientific sources not included on the website were actually “not as

definitive or supportive and could be interpreted as suggesting a causal effect” and that “[e]ven some

of the studies we cite send mixed messages.” And, Defendants acknowledged internally that even

one of the studies cited by the Company admitted that “‘perineal talc use may modestly increase the

risk of invasive serous ovarian cancers.’” In addition, these statements, as well the statement

regarding “outside experts [with] independent perspective[s],” omitted that (i) asbestos had

repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to find

ways to remove tremolite from its talc, (iii) the Company never adopted concentration methods that

could detect the asbestos, and (iv) the Company had purposely influenced and manipulated

regulators and scientists in order to protect the Company’s flagship product and reputation.

       129.    Similarly, Defendants’ statement regarding the FDA was materially misleading, as

the website failed to disclose that the Company had falsely assured the FDA that its talc and powders

were free of asbestos. And, Defendants’ statement regarding the absence of talc in the RoC omitted



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the Company’s own internal recognition that this was a “direct result” of the Company’s efforts at

influencing regulators.

       130.    The “Our Safety and Care Commitment” website also contained the following

statement from Defendant Casalvieri, Director of Toxicology and Skincare, JJCI:

       As a toxicologist in our Consumer business, my job is to make certain a product is
       safe by assessing whether any ingredient in that product poses a risk. We want to
       assure women and caregivers who use our talc products that numerous studies
       support its safety, and these include assessments by external experts in addition to
       our company testing. Many research papers and epidemiology studies have
       specifically evaluated talc and perineal use and these studies have found talc to be
       safe. [Emphasis added].

       131.    The statements by Defendant Casalvieri above were false and misleading. While

Casalvieri represented that “company testing,” “numerous studies” and “assessments by external

experts” support[ed] [talc’s] safety,” and that “[m]any research papers and epidemiology studies . . .

have found talc to be safe,” she omitted that (i) asbestos had repeatedly been found in the

Company’s talc and powders, (ii) the Company had attempted to find ways to remove tremolite from

its talc, (iii) the Company never adopted concentration methods that could detect the asbestos, and

(iv) the Company had purposely influenced and manipulated regulators and scientists in order to

protect the Company’s flagship product and reputation.

February 2016 False and Misleading Statements

       132.    In a February 23, 2016 Reuters article, Company spokeswoman Goodrich was

quoted:

       We have no higher responsibility than the health and safety of consumers, and we are
       disappointed with the outcome of the trial. We sympathize with the plaintiff’s family
       but firmly believe the safety of cosmetic talc is supported by decades of scientific
       evidence. [Emphasis added].

       133.    But the statement by Goodrich above was false and misleading. Defendants

acknowledged internally that some of the scientific sources were actually “not as definitive or


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supportive and could be interpreted as suggesting a causal effect” between ovarian cancer and talc

and that “[e]ven some of the studies we cite send mixed messages.” Defendants acknowledged

internally that even one of the studies cited by the Company admitted that “‘perineal talc use may

modestly increase the risk of invasive serous ovarian cancers.’” In addition, the statement was false

and misleading in that it failed to disclose that (i) asbestos had repeatedly been found in the

Company’s talc and powder, (ii) the Company had attempted to find ways to remove tremolite from

its talc, (iii) the Company never adopted concentration methods that could detect the asbestos, and

(iv) the Company had purposely influenced and manipulated regulators and scientists in order to

protect the Company’s flagship product and reputation.

       134.    On February 24, 2016, Defendants caused the Company to file its 2015 10-K with the

SEC (“2015 10-K”). The 2015 10-K again represented that the Company “remain[ed]” committed”

to “delivering high quality” and “improving existing products”:

       Research activities represent a significant part of the Company’s businesses.
       Research and development expenditures relate to the processes of discovering,
       testing and developing new products, improving existing products, as well as
       demonstrating product efficacy and regulatory compliance prior to launch. The
       Company remains committed to investing in research and development with the
       aim of delivering high quality and innovative products. [Emphasis added].

       135.    In its 2015 10-K, Defendants disclosed that some of the Company’s subsidiaries were

involved in product liability litigation, but also represented that they had “substantial defenses”:

       Certain subsidiaries of Johnson & Johnson are involved in numerous product liability
       claims and lawsuits involving multiple products. Claimants in these cases seek
       substantial compensatory and, where available, punitive damages. While these
       subsidiaries believe they have substantial defenses, it is not feasible to predict the
       ultimate outcome of litigation. The Company has established accruals for product
       liability claims and lawsuits in compliance with ASC 450-20 based on currently
       available information, which in some cases may be limited. The Company accrues
       an estimate of the legal defense costs needed to defend each matter. For certain of
       these matters, the Company has accrued additional amounts such as estimated costs
       associated with settlements, damage and other losses. Product liability accruals can
       represent projected product liability for thousands of claims around the world, each


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       in different litigation environments and with different fact patterns. Changes to the
       accruals may be required in the future as additional information becomes available.
       [Emphasis added].

       136.    Defendants’ statements above were false and misleading. While Defendants boasted

of “improving existing products,” being “committed to investing in research and development with

the aim of delivering high quality . . . products,” and of the Company’s subsidiaries having

“substantial defenses,” they omitted that: (i) asbestos had repeatedly been found in the Company’s

talc and powders, (ii) the Company had attempted to find ways to remove tremolite from its talc, (iii)

the Company never adopted concentration methods that could detect the asbestos, and (iv) the

Company had purposely influenced and manipulated regulators and scientists in order to protect the

Company’s flagship product and reputation.

       137.    On February 24, 2016, the Company created a page on its website entitled “The Facts

About Talc Safety.” The Company stated:

       Baby Powder made from cosmetic talc is one of JOHNSON’s oldest products and a
       longtime part of baby care rituals. JOHNSON’s Baby Powder continues to be
       popular with adults as well, and in many parts of the world, it remains an essential
       part of the makeup and skin care routines. With over 100 years of use, few
       ingredients have the same demonstrated performance, mildness and safety profile
       as cosmetic talc.

       We wanted to take this opportunity to share the facts about talc, so you’re well-
       informed.

       •       JOHNSON’s talc products do not contain asbestos. A frequent
               misperception is that JOHNSON’s Baby Powder contains talc made with
               asbestos, a substance classified as cancer-causing. Since the 1970s, talc used
               in consumer products has been required to be asbestos-free. JOHNSON’S®
               Baby Powder products contain only U.S. Pharmacopeia (USP) grade talc,
               which meets the highest quality, purity and compliance standards.

       •       The safety of talc is based on a long history of safe use and decades of
               research by independent researchers and scientific review boards. Talc is
               accepted as safe for use in cosmetic and personal care products by the
               European Union, Canada and many other countries around the world, among
               them Argentina, Brazil, China, India, Israel, South Africa, Turkey and


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                Indonesia. The U.S. Center for Disease Control (CDC), which identifies
                potential risk factors for many diseases, has not identified talc as a risk factor
                for ovarian cancer.

        •       The Nurses’ Health Study (2010) and the Women’s Health Initiative
                Observational Cohort (2014), the only two large-scale prospective studies
                looking at talc and ovarian cancer, found no causal relationship between talc
                and ovarian cancer.

                                                  ***

        The grade of talc used in cosmetics is of high purity, comparable to that used for
        pharmaceutical applications, and is free from asbestos and asbestiform fibers.
        Cosmetic grade talc is only mined from select deposits from certified locations, and
        milled to relatively large, non-respirable particles size.

                                                  ***

        Our sources for talc undergo comprehensive qualification. The incoming talc is
        routinely evaluated using a sophisticated battery of tests designed to ensure quality,
        safety, and compliance with all global standards. [Emphasis added].

        138.    Defendants’ statements above were false and misleading and were not written and

communicated to keep investors “well-informed.” While Defendants’ claimed that cosmetic talc had

“over 100 years of use,” the Company’s own internal document acknowledges that “I don’t think we

can link cosmetic talc to 100 years of use.” This statement was false and misleading for other

reasons, as were the representations (i) regarding talc’s “long history of safe use,” “safety profile,”

and “high purity,” (ii) that cosmetic talc “is free from asbestos and asbestiform fibers,” “only mined

from select deposits from certified locations,” and “milled to relatively large, non-respirable particles

size,” (iii) that talc used in consumer products “has been required to be asbestos-free” “[s]ince the

1970s,” (iv) that the Company’s “sources for talc undergo comprehensive qualification” and that

“incoming talc is routinely evaluated using a sophisticated battery of tests designed to ensure . . .

safety,” (v) the Company’s “talc products do not contain asbestos,” and (vi) that it is a

“misperception . . . that JOHNSON’S Baby Powder contains talc made with asbestos.” These



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statements concealed that (i) asbestos had repeatedly been found in the Company’s talc and powders,

(ii) the Company had attempted to find ways to remove tremolite from its talc, (iii) the Company

never adopted concentration methods that could detect the asbestos, and (iv) the Company had

purposely influenced and manipulated regulators and scientists in order to protect the Company’s

flagship product and reputation. In addition, Defendants’ statements created the impression that the

Company’s talc has always been asbestos-free but knew internally that “we cannot say ‘always.’”

       139.    Defendants’ representation that “decades of research by independent researchers and

scientific review boards” supported “[t]he safety of talc,” was also false and misleading, as

Defendants omitted that the Company acknowledged internally that some of the scientific sources

were actually “not as definitive or supportive and could be interpreted as suggesting a causal effect”

between ovarian cancer and talc and that “[e]ven some of the studies we cite send mixed messages.”

The Company internally acknowledged that one of the studies cited by the Company admitted that

“‘perineal talc use may modestly increase the risk of invasive serous ovarian cancers.’” In addition,

the statement about “decades of research” was false and misleading because it failed to disclose that

(i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the Company had

attempted to find ways to remove tremolite from its talc, (iii) the Company never adopted

concentration methods that could detect the asbestos, and (iv) the Company had purposely

influenced and manipulated regulators and scientists in order to protect the Company’s flagship

product and reputation.

May 2016 False and Misleading Statements

       140.    On May 2, 2016, Defendants caused the Company to make the following

representations in a press release posted on the Company’s website:

       Unfortunately, the jury’s decision goes against 30 years of studies by medical
       experts around the world that continue to support the safety of cosmetic talc. We


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       understand that women and families affected by ovarian cancer are searching for
       answers, and we deeply sympathize with all who have been affected by this
       devastating disease with no known cause. Johnson & Johnson has always taken
       questions about the safety of our products extremely seriously. Multiple scientific
       and regulatory reviews have determined that talc is safe for use in cosmetic
       products and the labeling on Johnson’s Baby Powder is appropriate. For over 100
       years, Johnson & Johnson has provided consumers with a safe choice for cosmetic
       powder products and we will continue to work hard to exceed consumer
       expectations and evolving product preferences. [Emphasis added].

       141.     On May 2, 2016, the Company published “A Message About Talc” on its website. In

the release, the Company again promised that its talc products were safe – omitting any mention of

asbestos – and assured that the Company “did the things you expect from a company you trust”:

       30 years of studies by medical experts around the world, science, research and
       clinical evidence continues to support the safety of cosmetic talc. We first offered
       JOHNSON’S® Baby Powder as a product choice more than 100 years ago because
       we were confident in the safety of talc. And today, we continue to manufacture and
       sell JOHNSON’S® Baby Powder with talc because we remain completely confident
       in its safety. We remain committed to safety and innovation and will continue to
       work hard to exceed consumer expectations and evolving product preferences. This
       commitment to innovation led to the introduction of JOHNSON’S® Baby Powder
       made with cornstarch as an additional option for consumers nearly forty years ago.

       Everyone at Johnson & Johnson sympathizes deeply with the women and families
       who have been affected by ovarian cancer, a devastating disease with no known
       cause. We know the women and families affected are searching for answers and want
       to understand the science.

       Safety

       When concerns about an association between talc and ovarian cancer were first
       raised in the early 1980s, Johnson and Johnson took them very seriously and did
       the things you expect from a company you trust including:

       •        Testing to ensure that the talc in JOHNSON’S® Baby Powder meets the
                highest Quality standards (US Pharmacopeia)

       •        Engaging with the FDA, regulatory agencies, and governments around the
                world

       •        Monitoring studies and all available information examining the safety of
                talc



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       •       Talking with independent consultants from outside our company about their
               point of view on the safety of talc.

       After 30 years of studies by medical experts around the world, science, research
       and clinical evidence continues to support the safety of cosmetic talc. Two widely-
       accepted, very large studies which followed women over a period of time – the
       Nurses’ Health Study by the Harvard School of Public Health published in 2009 and
       the Women’s Health Initiative Observational Cohort by the U.S. National Institutes
       of Health published in 2014 – found no association between talc and ovarian cancer.
       We also know that some epidemiology studies have reported an association between
       talc and ovarian cancer. However, various governmental and non-governmental
       agencies as well as other expert panels have reviewed and analyzed all available
       data, and none have concluded that talc can cause cancer.

       Concerns about the possible association between cosmetic talc with ovarian cancer
       increased after recent jury verdicts in the United States. It is natural for trial verdicts
       to raise questions about the product involved, and it’s also important to distinguish
       jury verdicts – in the United States – from regulatory rulings or rigorous scientific
       findings. Johnson & Johnson has always taken questions about the safety of our
       products extremely seriously, especially concerns about products like
       JOHNSON’S® Baby Powder that families have trusted for generations. We continue
       to believe in the safety of JOHNSON’S® Baby Powder containing talc and we trust
       our consumers to make their own decisions – which are why we want to provide the
       scientific support for the safety of talc. Our goal is always to meet our consumer’s
       needs and we are fortunate to have had this opportunity for more than 130 years.
       [Emphasis added].

       142.    Defendants’ statements above that “Johnson & Johnson has provided consumers with

a safe choice for cosmetic powder products” “[f]or over 100 years,” and that the Company first sold

Baby Powder “more than 100 years ago because we were confident in the safety of talc” and “we

remain completely confident in its safety,” were false and misleading. In truth, the Company

acknowledged internally that its talcum powders had not been “safe” for over 100 years, and indeed,

the Company could not even “link cosmetic talc to 100 years of use.” The statements also created

the impression that the Company’s talc has historically been safe, when in fact the Company knew

that when it came to asbestos in the Company’s talcum powders, it could not say it was “‘always’”

asbestos-free. These statements were false and misleading because they omitted that: (i) asbestos

had repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to


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find ways to remove tremolite from its talc, (iii) the Company never adopted concentration methods

that could detect the asbestos, and (iv) the Company had purposely influenced and manipulated

regulators and scientists in order to protect the Company’s flagship product and reputation.

        143.    Defendants’ statements above that (i) “30 years of studies by medical experts around

the world” “science, research and clinical evidence” “support the safety of cosmetic talc,” (ii)

“[m]ultiple scientific and regulatory reviews have determined that talc is safe . . . and the labeling on

Johnson’s Baby Powder is appropriate,” and (iii) out of “various governmental and non-

governmental agencies” and “expert panels,” “none have concluded that talc can cause cancer” even

after they “reviewed and analyzed all available data,” were false and misleading. Defendants knew

that some scientific sources “could be interpreted as suggesting a causal effect” and that “[e]ven

some of the studies [it] cite[d] send mixed messages.” Further, Defendants knew that research it

cited had actually determined that “‘perineal talc use may modestly increase the risk of invasive

serous ovarian cancers.’” These statements were also false and misleading because they omitted

that: (i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the Company

had attempted to find ways to remove tremolite from its talc, (iii) the Company never adopted

concentration methods that could detect the asbestos, (iv) the Company had purposely influenced

and manipulated regulators and scientists in order to protect the Company’s flagship product and

reputation, and (v) the Company had misled the FDA less than two months prior.

        144.    Defendants’ representations that (i) “Johnson & Johnson has always taken questions

about the safety of [Johnson’s Baby Powder] extremely seriously,” (ii) the Company “remain[ed]

committed to safety,” and (iii) the Company took “concerns about an association between talc and

ovarian cancer” “very seriously and did the things you expect from a company you trust,” including

testing, engaging with the FDA and other regulators, monitoring “all available information,” and



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“[t]alking with independent consultants,” were also false and misleading. These statements omitted

that: (i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the Company

had attempted to find ways to remove tremolite from its talc, (iii) the Company never adopted

concentration methods that could detect the asbestos, (iv) the Company had purposely influenced

and manipulated regulators and scientists in order to protect the Company’s flagship product and

reputation, and (v) the Company had misled the FDA less than two months prior.

       145.    On May 10, 2016, Defendants caused the Company to file its 1Q16 Form 10-Q with

the SEC. Defendants disclosed that some of the Company’s subsidiaries were involved in product

liability litigation but also represented that the subsidiaries had “substantial defenses”:

       Certain subsidiaries of Johnson & Johnson are involved in numerous product liability
       claims and lawsuits involving multiple products. Claimants in these cases seek
       substantial compensatory and, where available, punitive damages. While these
       subsidiaries believe they have substantial defenses, it is not feasible to predict the
       ultimate outcome of litigation. The Company has established accruals for product
       liability claims and lawsuits in compliance with ASC 450-20 based on currently
       available information, which in some cases may be limited.

       The Company accrues an estimate of the legal defense costs needed to defend each
       matter when those costs are probable and can be reasonably estimated. For certain of
       these matters, the Company has accrued additional amounts such as estimated costs
       associated with settlements, damages and other losses. Product liability accruals can
       represent projected product liability for thousands of claims around the world, each
       in different litigation environments and with different fact patterns. Changes to the
       accruals may be required in the future as additional information becomes available.

                                                ***

       Claims for personal injury have been made against Johnson & Johnson Consumer
       Inc. and Johnson & Johnson arising out of the use of JOHNSON’S® Baby Powder.
       The number of pending product liability lawsuits continues to increase, and the
       Company continues to receive information with respect to potential costs and the
       anticipated number of cases. Lawsuits have been primarily filed in state courts in
       Missouri and New Jersey. The Company has established an accrual for defense costs
       in connection with product liability litigation associated with JOHNSON’S® Baby
       Powder. Changes to this accrual may be required in the future as additional
       information becomes available. [Emphasis added].



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       146.    Defendants’ statements above were false and misleading. While Defendants boasted

of the Company’s subsidiaries having “substantial defenses” an disclosed the existence of talc-

related litigation, they omitted that: (i) asbestos had repeatedly been found in the Company’s talc and

powders, (ii) the Company had attempted to find ways to remove tremolite from its talc, (iii) the

Company never adopted concentration methods that could detect the asbestos, and (iv) the Company

had purposely influenced and manipulated regulators and scientists in order to protect the

Company’s flagship product and reputation.

       147.    On May 18, 2016, Ghaim, the Chief Technology Officer of J&J Consumer, made

further assurances during the Consumer and Medical Devices Business Review:

       I’m going to start by saying there’s a general assumption that people have natural is
       safe and most of the data we have actually that’s not true. So there is a balance in
       terms of what products, what type of safety do we need to continue to build.

       And all of our products, especially when we start with Baby, the number of safety
       studies that we tend to do before we even put it in any of our product is a starting
       point. But we also understand that the natural trend continues to be a big opportunity.

       So we’re working to that in terms of not just picking naturals but make sure that there
       is a benefit to it, make sure that it’s safe, make sure that we can source it the right
       way because that’s one of the biggest challenges. You can get natural ingredients but
       you can’t guarantee that one lot to the next is actually consistently safe.

       So for us I think we can see the trend. But at the same time we’re being very careful
       in terms of what raw materials we select, what type of safety studies that are needed.
       Because more than anything else safety is the number one area that we need to
       continue to focus. [Emphasis added].

       148.    Defendants’ representation that “we’re being very careful in terms of what raw

materials we select, what type of safety studies that are needed,” was false and misleading. This

statement concealed that: (i) asbestos had repeatedly been found in the Company’s talc and powders,

(ii) the Company had attempted to find ways to remove tremolite from its talc, and (iii) the Company

never adopted concentration methods that could detect the asbestos.



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June 2016 False and Misleading Statements

       149.    On June 19, 2016, Defendant Glasgow, VP of R&D at JJCI, stated the following in an

editorial in the Houston Chronical:

       At Johnson & Johnson Consumer Inc., we are guided by the medical facts and
       science when it comes to our products. Cosmetic talc is safe, and 30 years of
       scientific studies and regulatory reviews have shown this to be true.

       This counters the claims of so-called experts, paid to testify on behalf of plaintiffs,
       who say decisions by juries should trump the overwhelming scientific data.

       We first offered Johnson’s Baby Powder as a product choice more than 100 years
       ago. Today, we continue to manufacture and sell Johnson’s Baby Powder with talc
       because the science supports its safety.

       Ovarian cancer is a devastating disease, and we recognize that women and families
       affected by this disease are searching for answers and want to understand the science.
       When concerns about an association between talc use and ovarian cancer were
       raised, we started doing the things you expect from a company you trust, including
       testing to ensure the talc in our products meets the highest quality standards,
       meeting with regulators and governments around the world, looking closely at the
       studies and available information, and talking with independent consultants.

       The facts are clear. The studies, science, research and clinical evidence have
       continued to support the safety of cosmetic talc. Most recently, two widely-
       accepted, very large studies which followed women over a long period of time – the
       Nurses’ Health Study by the Harvard School of Public Health published in 2009 and
       the Women’s Health Initiative Observational Cohort by the U.S. National Institutes
       of Health published in 2014 – found no association between talc use for feminine
       hygiene and ovarian cancer.

       There have been some studies that reported an association between talc and ovarian
       cancer.

       In my job as a scientist, terms and words matter when it comes to studies, and an
       “association” does not mean something causes a specific result. Additionally, many
       in the scientific community have concluded that the data from those studies are
       inconclusive because of how the studies were conducted. Various governmental
       and non-governmental agencies, such as the U.S. Food and Drug Administration
       (FDA) and National Cancer Institute, as well as other expert panels have reviewed
       and analyzed the available data and concluded that there is insufficient evidence
       linking talc use to ovarian cancer.




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       Johnson’s Baby Powder products contain only U.S. Pharmacopeia grade talc to
       ensure it meets the highest quality, purity and compliance standards. We also
       carefully select and process the talc used in all our global production to be
       asbestos-free, and have confirmed this with regular testing since the 1970s. The
       U.S. FDA has also independently tested and confirmed the purity of the talc used in
       our cosmetic products.

       We trust our consumers to make their own decisions, which is why we will continue
       to provide consumers with the facts. As a scientist, and most importantly, as a
       parent, I can tell you the science is clear cosmetic talc is, and has been, safe for use
       and that is the most important guiding principle for every product Johnson &
       Johnson Consumer Inc. offers to consumers and patients. [Emphasis added].

       150.    Defendants’ representations that: (i) “[c]osmetic talc is safe,” (ii) Johnson’s Baby

Powder’s talc meets “the highest” purity standard, and (iii) the Company “carefully select[s] and

process[es] the talc used in all [its] global production to be asbestos-free, and have confirmed this

with regular testing since the 1970s,” were false and misleading. These statements concealed that:

(i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the Company had

attempted to find ways to remove tremolite from its talc, and (iii) the Company never adopted

concentration methods that could detect the asbestos.

       151.    Defendants’ representations that the Company did “the things you expect from a

company you trust” “[w]hen concerns about an association between talc use and ovarian cancer were

raised,” including testing, meeting with regulators, looking at “available information,” and talking

with “independent consultants,” (ii) the Company’s Consumer Division is “guided by the medical

facts and science,” and (iii) safety “is the most important guiding principle for every product

Johnson & Johnson Consumer Inc. offers to consumers and patients,” were false and misleading.

These statements concealed that: (i) asbestos had repeatedly been found in the Company’s talc and

powders, (ii) the Company had attempted to find ways to remove tremolite from its talc, (iii) the

Company never adopted concentration methods that could detect the asbestos, and (iv) the Company




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had purposely influenced and manipulated regulators and scientists in order to protect the

Company’s flagship product and reputation.

       152.    Defendants’ representations that: (i) “30 years of scientific studies and regulatory

reviews” have shown that “[c]osmetic talc is safe,” (ii) “the science supports [Johnson’s Baby

Powder’s] safety,” (iii) “[t]he facts are clear” that “[t]he studies, science, research and clinical

evidence have continued to support the safety of cosmetic talc,” (iv) “the science is clear – cosmetic

talc is, and has been, safe for use,” and (v) “[v]arious governmental and non-governmental agencies

[including the FDA], as well as other expert panels, have reviewed and analyzed the available data

and concluded that there is insufficient evidence linking talc use to ovarian cancer,” were false and

misleading. Defendants knew that some scientific sources were actually “not as definitive or

supportive and could be interpreted as suggesting a causal effect” between ovarian cancer and talc

and that “[e]ven some of the studies we cite send mixed messages.” Defendants acknowledged

internally that even one of the studies it cited had determined that “‘perineal talc use may modestly

increase the risk of invasive serous ovarian cancers.’” In addition, the statements failed to disclose

that: (i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the Company

had attempted to find ways to remove tremolite from its talc, (iii) the Company never adopted

concentration methods that could detect the asbestos, (iv) the Company had purposely influenced

and manipulated regulators and scientists in order to protect the Company’s flagship product and

reputation, and (v) the Company had misled the FDA less than three months prior.

August to November 2016 False and Misleading Statements

       153.    On August 4, 2016, Defendants caused the Company to file its second quarter of 2016

(“2Q16”) Form 10-Q with the SEC. Defendants disclosed that the Company and some of the




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Company’s subsidiaries were involved in product liability litigation, but also represented that the

Company had “substantial defenses”:

       Johnson & Johnson and certain of its subsidiaries are involved in numerous product
       liability claims and lawsuits involving multiple products. Claimants in these cases
       seek substantial compensatory and, where available, punitive damages. While the
       Company believes it has substantial defenses, it is not feasible to predict the ultimate
       outcome of litigation. The Company has established accruals for product liability
       claims and lawsuits in compliance with ASC 450-20 based on currently available
       information, which in some cases may be limited. The Company accrues an estimate
       of the legal defense costs needed to defend each matter when those costs are probable
       and can be reasonably estimated. For certain of these matters, the Company has
       accrued additional amounts such as estimated costs associated with settlements,
       damages and other losses. Product liability accruals can represent projected product
       liability for thousands of claims around the world, each in different litigation
       environments and with different fact patterns. Changes to the accruals may be required
       in the future as additional information becomes available.

       Claims for personal injury have been made against Johnson & Johnson Consumer
       Inc. and Johnson & Johnson arising out of the use of JOHNSON’S® Baby Powder.
       The number of pending product liability lawsuits continues to increase, and the
       Company continues to receive information with respect to potential costs and the
       anticipated number of cases. Lawsuits have been primarily filed in state courts in
       Missouri and New Jersey. The Company has established an accrual for defense costs
       in connection with product liability litigation associated with JOHNSON’S® Baby
       Powder. Changes to this accrual may be required in the future as additional
       information becomes available. [Emphasis added].

       154.    On November 4, 2016, Defendants caused the Company to file its third quarter of 2016

(“3Q16”) Form 10-Q with the SEC. Defendants again disclosed that the Company and some of the

Company’s subsidiaries were involved in product liability litigation, but also represented that the

Company had “substantial defenses”:

       Johnson & Johnson and certain of its subsidiaries are involved in numerous product
       liability claims and lawsuits involving multiple products. Claimants in these cases
       seek substantial compensatory and, where available, punitive damages. While the
       Company believes it has substantial defenses, it is not feasible to predict the ultimate
       outcome of litigation. The Company has established accruals for product liability
       claims and lawsuits in compliance with ASC 450-20 based on currently available
       information, which in some cases may be limited. The Company accrues an estimate
       of the legal defense costs needed to defend each matter when those costs are probable
       and can be reasonably estimated. For certain of these matters, the Company has


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       accrued additional amounts such as estimated costs associated with settlements,
       damages and other losses. Product liability accruals can represent projected product
       liability for thousands of claims around the world, each in different litigation
       environments and with different fact patterns. Changes to the accruals may be required
       in the future as additional information becomes available.

                                        *     *       *
       Claims for personal injury have been made against Johnson & Johnson Consumer
       Inc. and Johnson & Johnson arising out of the use of JOHNSON’S® Baby Powder.
       The number of pending product liability lawsuits continues to increase, and the
       Company continues to receive information with respect to potential costs and the
       anticipated number of cases. Lawsuits have been primarily filed in state courts in
       Missouri, New Jersey and California. In addition, a federal multi-district litigation
       proceeding has been created for this litigation in the District Court of New Jersey.
       The Company has established an accrual for defense costs in connection with product
       liability litigation associated with JOHNSON’S® Baby Powder. Changes to this
       accrual may be required in the future as additional information becomes available.
       [Emphasis added].

       155.    Defendants’ statements above were false and misleading. While Defendants boasted

of having “substantial defenses” and disclosed the existence of talc-related litigation, they omitted

that: (i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the Company

had attempted to find ways to remove tremolite from its talc, (iii) the Company never adopted

concentration methods that could detect the asbestos, (iv) the Company had purposely influenced and

manipulated regulators and scientists in order to protect the Company’s flagship product and reputation.

December 2016 False and Misleading Statements

       156.    On December 30, 2016, the Company touted the safety and effectiveness of talc in its

products on its website13 stating in pertinent part:

       In our products



13
       See https://www.safetyandcarecommitment.com/Ingredients/Talc.




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       We continue to use talc in our products because decades of science have reaffirmed
       its safety. Because of its safety and effectiveness, we confidently include
       pharmaceutical grade talc in our products. Your trust in our products and your
       confidence using them every day is a huge responsibility – that’s why we only use
       ingredients in our products deemed safe by the latest science.

       Science, research, clinical evidence and 30 years of studies by medical experts
       around the world continue to support the safety of cosmetic talc. Health authorities
       in the U.S. and around the world have reviewed the data. Talc is accepted for . . . use
       in countries around the world, including the United States, European Union, Canada,
       Argentina, Brazil, China, India, Israel, South Africa, Turkey, and Indonesia.

       When you read a new study or expert opinion, it’s easy to be swayed one way or
       another. We take any questions about our product’s safety seriously and as a result
       have dug deep into the evidence and science on talc. [Emphasis added].

       157.    Defendants’ statement above that the Company “take[s] any questions about [its]

product’s safety seriously,” was false and misleading, as it concealed that: (i) asbestos had

repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to find

ways to remove tremolite from its talc, (iii) the Company never adopted concentration methods that

could detect the asbestos, (iv) the Company had purposely influenced and manipulated regulators and

scientists in order to protect the Company’s flagship product and reputation, and (v) the Company had

misled the FDA in 2016.

       158.    Defendants’ assurances above that “decades of science have reaffirmed [the] safety” of

“talc in [J&J’s] products,” “[s]cience, research, clinical evidence and 30 years of studies by medical

experts around the world continue to support the safety of cosmetic talc,” and the Company “only

use[s] ingredients in [its] products deemed safe by the latest science,” were false and misleading.

Defendants knew that some scientific sources were actually “not as definitive or supportive and

could be interpreted as suggesting a causal effect” between ovarian cancer and talc and that “[e]ven

some of the studies we cite send mixed messages.” Defendants also knew that one of the studies it

cited had determined that “‘perineal talc use may modestly increase the risk of invasive serous ovarian



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cancers.’” In addition, the statements failed to disclose that: (i) asbestos had repeatedly been found

in the Company’s talc and powders, (ii) the Company had attempted to find ways to remove

tremolite from its talc, (iii) the Company never adopted concentration methods that could detect the

asbestos, and (iv) the Company had purposely influenced and manipulated regulators and scientists

in order to protect the Company’s flagship product and reputation.

January 2017 False and Misleading Statements

       159.    On January 24, 2017, the Company’s website entitled “The facts on talcum powder

safety” contained a statement by Glasgow, the VP of R&D at J&J’s consumer division. There,

Glasgow omitted that the Company had received numerous reports of asbestos in its products:

       When it comes to the safety of the products we make, we’re just like you . . .

       We want all the information we can get. We seek out the guidance of experts and we
       monitor the latest science to see if it impacts any of our products. We also listen to the
       people who use our products so we can take their experiences into account. Safety is a
       priority for all of our consumer products because they go into your home and into
       ours. Safety is a value we all share.

       With all the types of information we use to make products, there is no information more
       important than our research on scientific data and safety. We go beyond the
       findings of a single study because we must ensure we’ve assembled all of the
       available data from multiple scientific areas to reach conclusions based on evidence.
       One opinion or study can’t outweigh decades of conclusive, scientific, evidence-
       based findings. As a scientist and, equally important, as a parent myself, I can tell you
       the science is clear: Cosmetic talc is, and has been, safe for use in consumer
       products.

       We are all mothers, fathers, and consumers ourselves; we understand and take
       seriously our responsibility to give you the information you need to make your own
       decisions. We created this site to help you find the facts about talc more easily. You’ll
       learn where talc comes from, how it is used in everyday products, and why it is safe
       to use as part of your personal care routine. We first offered JOHNSON’S® Baby
       Powder as a product choice more than 100 years ago. Today, our consumer division
       continues to manufacture and sell JOHNSON’S® Baby Powders with ingredients like
       talc and cornstarch. We choose to include these ingredients not simply because we’ve
       used them for decades. We include them because decades of scientific work support
       their safety. We hope that by reviewing this collection of facts about talc, you’ll feel
       as confident in its safety and efficacy as we do. [Emphasis added].


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        160.      Defendants’ statements above that the Company made safety a priority and that “there

is no information more important than . . . research on scientific data and safety,” were false and

misleading. In truth, Defendants had and were continuing to conceal the dangers inherent in the

Company’s talcum powders. Indeed, defendants failed to disclose that: (i) asbestos had repeatedly been

found in the Company’s talc and powders, (ii) the Company had attempted to find ways to remove

tremolite from its talc, (iii) the Company never adopted concentration methods that could detect the

asbestos, (iv) the Company had purposely influenced and manipulated regulators and scientists in

order to protect the Company’s flagship product and reputation, and (v) the Company had misled the

FDA in 2016.

        161.      Defendants’ statements above that: (i) “all of the available data” and “decades of

conclusive, scientific, evidence-based findings” supported the safety of cosmetic talc, (ii) “the science

is clear: Cosmetic talc is, and has been, safe for use in consumer products,” (iii) talc “is safe to use as

part of your personal care routine,” and (iv) “decades of scientific work” “support[s] [talc’s] safety,”

were false and misleading. The Company acknowledged internally that some scientific sources were

actually “not as definitive or supportive and could be interpreted as suggesting a causal effect”

between ovarian cancer and talc and that “[e]ven some of the studies we cite send mixed messages.”

Defendants knew that one of the studies it cited had determined that “‘perineal talc use may

modestly increase the risk of invasive serous ovarian cancers.’” In addition, the statements failed to

disclose that: (i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the

Company had attempted to find ways to remove tremolite from its talc, (iii) the Company never

adopted concentration methods that could detect the asbestos, and (iv) the Company had purposely

influenced and manipulated regulators and scientists in order to protect the Company’s flagship product

and reputation.


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February 2017 False and Misleading Statements

       162.   On February 27, 2017, Defendants caused the Company to file its 2016 10-K with the

SEC (“2016 10-K”). In its “Cautionary Note Regarding Forward-Looking Statements,” the Company

included language regarding “[p]roduct efficacy or safety concerns”:

       Risks Related to Product Liability, Litigation and Regulatory Activity

       Product efficacy or safety concerns, whether or not based on scientific evidence,
       potentially resulting in product withdrawals, recalls, regulatory action on the part of
       the U.S. Food and Drug Administration (or international counterparts), declining sales
       and reputational damage.

       163.   The Company’s 2016 10-K also discussed the general risks and uncertainties faced by

the Company, including legal proceedings:

       The Company is subject to significant legal proceedings that can result in
       significant expenses, fines and reputational damage.

       In the ordinary course of business, Johnson & Johnson and its subsidiaries are subject
       to numerous claims and lawsuits involving various issues such as patent disputes,
       product liability and claims that their product sales, marketing and pricing practices
       violate various antitrust, unfair trade practices and/or consumer protection laws. The
       most significant of these proceedings are described in Note 21, “Legal Proceedings”
       under Notes to the Consolidated Financial Statements included in Item 8 of this
       Report. While the Company believes it has substantial defenses in these matters, it
       is not feasible to predict the ultimate outcome of litigation. The Company could in
       the future be required to pay significant amounts as a result of settlements or
       judgments in these matters, potentially in excess of accruals. The resolution of, or
       increase in accruals for, one or more of these matters in any reporting period could
       have a material adverse effect on the Company’s results of operations and cash flows
       for that period. Furthermore, as a result of cost and availability factors, effective
       November 1, 2005, the Company ceased purchasing third-party product liability
       insurance.

       Product reliability, safety and effectiveness concerns can have significant
       negative impacts on sales and results of operations, lead to litigation and cause
       reputational damage.

       Concerns about product safety, whether raised internally or by regulators or consumer
       advocates, and whether or not based on scientific evidence, can result in safety alerts,
       product recalls, governmental investigations, regulatory action on the part of the
       FDA (or its counterpart in other countries), private claims and lawsuits, payment of


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       fines and settlements, declining sales and reputational damage. These circumstances
       can also result in damage to brand image, brand equity and consumer trust in the
       Company’s products. Product recalls have in the past, and could in the future, prompt
       government investigations and inspections, the shutdown of manufacturing facilities,
       continued product shortages and related sales declines, significant remediation costs,
       reputational damage, possible civil penalties and criminal prosecution. [Emphasis
       added].

       164.   The Company’s 2016 10-K disclosed that the Company and some of its subsidiaries were

involved in product liability litigation, but also represented that the Company had “substantial

defenses”:

       Johnson & Johnson and certain of its subsidiaries are involved in numerous product
       liability claims and lawsuits involving multiple products. Claimants in these cases
       seek substantial compensatory and, where available, punitive damages. While the
       Company believes it has substantial defenses, it is not feasible to predict the ultimate
       outcome of litigation. The Company has established accruals for product liability
       claims and lawsuits in compliance with ASC 450-20 based on currently available
       information, which in some cases may be limited. The Company accrues an estimate
       of the legal defense costs needed to defend each matter when those costs are probable
       and can be reasonably estimated. For certain of these matters, the Company has
       accrued additional amounts such as estimated costs associated with settlements,
       damages and other losses. To the extent adverse verdicts have been rendered against
       the Company, the Company does not record an accrual until a loss is determined to be
       probable and can be reasonably estimated. Product liability accruals can represent
       projected product liability for thousands of claims around the world, each in different
       litigation environments and with different fact patterns. Changes to the accruals may
       be required in the future as additional information becomes available.

                                        *     *       *
       Claims for personal injury have been made against Johnson & Johnson Consumer
       Inc. and Johnson & Johnson arising out of the use of JOHNSON’S® Baby Powder.
       The number of pending product liability lawsuits continues to increase, and the
       Company continues to receive information with respect to potential costs and the
       anticipated number of cases. Lawsuits have been primarily filed in state courts in
       Missouri, New Jersey and California. In addition, a federal multi-district litigation
       proceeding has been created for this litigation in the District Court of New Jersey.
       The Company has established an accrual for defense costs in connection with product
       liability litigation associated with JOHNSON’S® Baby Powder. Changes to this
       accrual may be required in the future as additional information becomes available.
       [Emphasis added].




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       165.    The Company’s 2016 10-K also stated that the Company “remain[ed]” committed” to

“delivering high quality” and “improving existing products”:

       Research and development expenditures relate to the processes of discovering,
       testing and developing new products, improving existing products, as well as
       demonstrating product efficacy and regulatory compliance prior to launch. The
       Company remains committed to investing in research and development with the aim
       of delivering high quality and innovative products. [Emphasis added].

       166.    Defendants’ statements above were false and misleading. While Defendants boasted

of “improving existing products,” being “committed to investing in research and development with

the aim of delivering high quality . . . products,” and of the Company having “substantial defenses,”

they omitted that: (i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the

Company had attempted to find ways to remove tremolite from its talc, (iii) the Company never

adopted concentration methods that could detect the asbestos, and (iv) the Company had purposely

influenced and manipulated regulators and scientists in order to protect the Company’s flagship

product and reputation.

May 2017 False and Misleading Statements

       167.    On May 8, 2017, Defendants caused the Company to file its first quarter of 2017

Form 10-Q with the SEC. Defendants disclosed that the Company and some of its subsidiaries were

involved in product liability litigation, but also represented that the Company had “substantial

defenses”:

       Johnson & Johnson and certain of its subsidiaries are involved in numerous product
       liability claims and lawsuits involving multiple products. Claimants in these cases
       seek substantial compensatory and, where available, punitive damages. While the
       Company believes it has substantial defenses, it is not feasible to predict the ultimate
       outcome of litigation. The Company has established accruals for product liability
       claims and lawsuits in compliance with ASC 450-20 based on currently available
       information, which in some cases may be limited. The Company accrues an estimate
       of the legal defense costs needed to defend each matter when those costs are probable
       and can be reasonably estimated. For certain of these matters, the Company has
       accrued additional amounts such as estimated costs associated with settlements,


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       damages and other losses. To the extent adverse verdicts have been rendered against
       the Company, the Company does not record an accrual until a loss is determined to be
       probable and can be reasonably estimated. Product liability accruals can represent
       projected product liability for thousands of claims around the world, each in different
       litigation environments and with different fact patterns. Changes to the accruals may
       be required in the future as additional information becomes available.

                                      *      *         *
       Claims for personal injury have been made against Johnson & Johnson Consumer
       Inc. and Johnson & Johnson arising out of the use of JOHNSON’S® Baby Powder.
       The number of pending product liability lawsuits continues to increase, and the
       Company continues to receive information with respect to potential costs and the
       anticipated number of cases. Lawsuits have been primarily filed in state courts in
       Missouri, New Jersey and California. Cases filed in federal courts in the United
       States have been organized as a multi-district litigation in the United States District
       Court for the District of New Jersey. The Company has established an accrual for
       defense costs in connection with product liability litigation associated with
       JOHNSON’S® Baby Powder. [Emphasis added].

       168.    Defendants’ statements above were false and misleading. While Defendants boasted

of having “substantial defenses” to talc-related litigation, they omitted that: (i) asbestos had

repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to find

ways to remove tremolite from its talc, (iii) the Company never adopted concentration methods that

could detect the asbestos, and (iv) the Company had purposely influenced and manipulated regulators

and scientists in order to protect the Company’s flagship product and reputation.

August 2017 False and Misleading Statements

       169.    On August 24, 2017, The Star newspaper published an article, “Does talcum powder

cause cancer and should you stop using it?” The article quoted the Company’s website:

       In a post on their website Johnson & Johnson said, “We do understand your concern
       linked to recent media reports. We want to assure you, however, that we have no
       higher responsibility than the health and safety of consumers and the safety of
       cosmetic talc is supported by decades of scientific evidence.”

       “Since the early 1990s, many research papers and epidemiology studies have
       evaluated talc and perineal use and these studies have found talc to be safe. In fact, the
       Nurses’ Health Study (2010) and the Women’s Health Initiative Observational Cohort
       (2014), the only two large-scale prospective studies looking at talc and ovarian


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        cancer, found no causal relationship between talc and ovarian cancer.” [Emphasis
        added].

        170.    Defendants’ representation above that “the safety of cosmetic talc is supported by

decades of scientific evidence” was false and misleading, as it omitted that the Company knew that

some scientific sources were “not as definitive or supportive and could be interpreted as suggesting a

causal effect” between ovarian cancer and talc and that “[e]ven some of the studies we cite send

mixed messages.” Defendants knew that one of the studies it cited had determined that “‘perineal

talc use may modestly increase the risk of invasive serous ovarian cancers.’” In addition, the

statements were false and misleading because they omitted that: (i) asbestos had repeatedly been found

in the Company’s talc and powders, (ii) the Company had attempted to find ways to remove tremolite

from its talc, (iii) the Company never adopted concentration methods that could detect the asbestos, (iv)

the Company had purposely influenced and manipulated regulators and scientists in order to protect

the Company’s flagship product and reputation, and (v) the Company had misled the FDA in 2016.

        171.    On August 3, 2017 Defendants caused the Company to file its second quarter of 2017

Form 10-Q with the SEC. Defendants disclosed that the Company and some of its subsidiaries were

involved in product liability litigation, but also represented that the Company had “substantial

defenses”:

        Johnson & Johnson and certain of its subsidiaries are involved in numerous product
        liability claims and lawsuits involving multiple products. Claimants in these cases
        seek substantial compensatory and, where available, punitive damages. While the
        Company believes it has substantial defenses, it is not feasible to predict the ultimate
        outcome of litigation. The Company has established accruals for product liability
        claims and lawsuits in compliance with ASC 450-20 based on currently available
        information, which in some cases may be limited. The Company accrues an estimate
        of the legal defense costs needed to defend each matter when those costs are probable
        and can be reasonably estimated. For certain of these matters, the Company has
        accrued additional amounts such as estimated costs associated with settlements,
        damages and other losses. To the extent adverse verdicts have been rendered against
        the Company, the Company does not record an accrual until a loss is determined to be
        probable and can be reasonably estimated. Product liability accruals can represent


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       projected product liability for thousands of claims around the world, each in different
       litigation environments and with different fact patterns. Changes to the accruals may
       be required in the future as additional information becomes available.

                                         *      *     *
       Claims for personal injury have been made against Johnson & Johnson Consumer
       Inc. and Johnson & Johnson arising out of the use of body powders containing talc,
       primarily JOHNSONS® Baby Powder. The number of pending product liability
       lawsuits continues to increase, and the Company continues to receive information
       with respect to potential costs and the anticipated number of cases. Lawsuits have
       been primarily filed in state courts in Missouri, New Jersey and California. Cases
       filed in federal courts in the United States have been organized as a multidistrict
       litigation in the United States District Court for the District of New Jersey. The
       Company has established an accrual for defense costs in connection with product
       liability litigation associated with body powders containing talc. [Emphasis added].

       172.    Defendants’ statements above were false and misleading. While Defendants boasted

of having “substantial defenses” to talc-related litigation, they omitted that: (i) asbestos had

repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to find

ways to remove tremolite from its talc, (iii) the Company never adopted concentration methods that

could detect the asbestos, and (iv) the Company had purposely influenced and manipulated regulators

and scientists in order to protect the Company’s flagship product and reputation.

September to November 2017 False and Misleading Statements

       173.    On September 6, 2017, Defendant Gorsky addressed the talc litigation at a Wells Fargo

Healthcare Conference. There, Gorsky assured investors that the Company always puts safety first and

that the safety of talc was clearly demonstrated by clinical information, control data, and “100 years

of experience”:

       [W]e always put patient and consumer safety first in everything that we do. That being
       said, we think that the significant amount of clinical information, control data in
       this category, both from agencies, such as the NCI as well as the FDA, clearly
       demonstrates the safety of talc, and by the way, from more than a 100 years of
       experience. That being said, we were disappointed with some of the early results, for
       example, in St. Louis. We’re encouraged by some of the recent rulings out of
       Supreme Court regarding those venues. We’ve also been encouraged by some of the
       earlier findings in New Jersey. We were disappointed with the first outcome in


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        California but, nonetheless, we feel that we have some strong ground on the
        field going forward. And again, we remain, based upon the data, confident of the
        position that we’re taking. [Emphasis added].

        174.    Defendants’ representation above that “the safety of talc” was “clearly

demonstrate[d]” by “more than a 100 years of experience,” was false and misleading. In truth,

Defendants acknowledged internally that its talcum powders had not been “safe” for more than 100

years, and indeed, the Company could not even “link cosmetic talc to 100 years of use.” The

statements also created the impression that the Company’s talc has historically been safe, when in fact

Defendants knew that when it came to asbestos in the Company’s talcum powders, it could not say it was

“‘always’” asbestos-free. This statement was also false and misleading because: (i) asbestos had

repeatedly been found in the Company’s talc and powder, (ii) the Company had attempted to find ways

to remove tremolite from its talc, and (iii) never adopted concentration methods that could detect the

asbestos.

        175.    Defendants’ representations above that: (i) “the safety of talc” was “clearly

demonstrate[d]” by “the significant amount of clinical information [and] control data in this category,”

including from the FDA, (ii) the Company “always put[s] patient and consumer safety first in

everything that [it does],” and (iii) the Company believed it “ha[d] some strong ground on the field

going forward” in the talc litigation and “remain[ed], based upon the data, confident of the position [it

was] taking,” were false and misleading. These statements concealed that: (i) asbestos had

repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to find

ways to remove tremolite from its talc, (iii) the Company never adopted concentration methods that

could detect the asbestos, (iv) the Company had purposely influenced and manipulated regulators and

scientists in order to protect the Company’s flagship product and reputation , and (v) the Company had

misled the FDA in 2016.



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       176.   On September 14, 2017, a Bloomberg article entitled “Johnson & Johnson’s Newest

Talc Problem? Asbestos” quoted J&J’s website:

       Johnson & Johnson declined to comment either on Herford’s suit or the litigation
       generally. But a statement on the company’s website says: “Since the 1970s, talc
       used in consumer products has been required to be asbestos-free, so Johnson’s talc
       products do not contain asbestos.” [Emphasis added].

       177.   On September 21, 2017, Bloomberg published an article titled “J&J Was Alerted to Risk

of Asbestos in Talc in ‘70s, Files Show,” which cited additional statements from the Company:

       FDA Requirements

       “The U.S. Food and Drug Administration requires specific testing to ensure that
       cosmetic talcum powder is free of asbestos,” Ernie Knewitz, a spokesman for J&J,
       said in an emailed statement.

       “We are confident that our talc products are, and always have been, free of asbestos,
       based on decades of monitoring, testing and regulation,” Knewitz said. “Historical
       testing of samples by the FDA, numerous independent laboratories, and numerous
       independent scientists have all confirmed the absence of asbestos in our talc
       products.”
                                        *     *       *
       New Brunswick, New Jersey-based J&J has said the plaintiffs’ allegations aren’t
       supported by valid scientific evidence, pointing to a New Jersey state court decision
       last year tossing out two cases.

       The unsealed files were used as part of an April pre-trial deposition given by Joanne
       Waldstreicher https://www.jnj.com/office-chief-medical-officer, J&J’s chief medical
       officer since 2013. Under questioning by plaintiffs’ lawyer Mark Lanier,
       Waldstreicher maintained that J&J’s baby powder products are asbestos free. We
       have experts that assure there’s no asbestos in our talc,” she told the lawyer.
       [Emphasis added].

       178.   On November 16, 2017, Law360 published an article entitled “J&J, Talc Supplier Not

Liable For Woman’s Asbestos Illness,” citing statements by the Company:

       J&J spokesperson Carol Goodrich told Law360 on Thursday that the company stands
       behind the safety of its baby powder, which it believes is being vindicated in recent
       court decisions.

       “We are pleased with today’s verdict and believe that the dismissal of talc lawsuits in
       New Jersey and verdict reversals in Missouri and California have forced plaintiff


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       attorneys to pivot to yet another baseless theory,” she said. “Johnson’s Baby Powder
       has been around since 1894 and it does not contain asbestos or cause mesothelioma
       or ovarian cancer.”

       179.    On November 16, 2017, Reuters published a statement by the Company in the article

entitled “Johnson & Johnson wins California lawsuit claiming asbestos in talc caused cancer”:

       J&J in a statement welcomed the verdict. J&J said it believed that setbacks dealt to
       individuals pursuing ovarian cancer cases had “forced plaintiff attorneys to pivot to
       yet another baseless theory.”

       “Johnson’s Baby Powder has been around since 1894 and it does not contain
       asbestos or cause mesothelioma or ovarian cancer,” J&J said. [Emphasis added].

       180.    Defendants’ statement above that the Company’s “‘talc products are, and always have

been, free of asbestos,’” was false and misleading because knew internally that “we cannot say

‘always.’” Similarly, Defendants’ reference to Johnson’s Baby Powder having “‘been around since

1894’” coupled with the representation that “‘it does not contain asbestos or cause mesothelioma or

ovarian cancer’” created the impression that the Baby Powder had always been asbestos-free, while

J&J acknowledged that “we cannot say ‘always.’” In addition, Defendant Goodrich knew that the

Baby Powder had not been safe for the past 100 years and even had in her possession internal

discussion stating that “I don’t think we can link cosmetic talc to 100 years of use.” These statements,

along with Defendants’ representations that the Company’s “talc products do not contain asbestos”

and that the Company’s “baby powder products are asbestos free,” were false and misleading because

they concealed that (i) asbestos had repeatedly been found in the Company’s talc and powders, (ii)

the Company had attempted to find ways to remove tremolite from its talc, and (iii) the Company

never adopted concentration methods that could detect the asbestos.

       181.    Defendants’ statements above that: (i) the Company’s “‘experts . . . assure there’s no

asbestos in [its] talc,’” (ii) “the plaintiffs’ allegations [weren’t] supported by valid scientific

evidence” and amounted to a “‘baseless theory,’” (iii) “decades of monitoring, testing and regulation”


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assured that J&J’s “‘talc products are, and always have been, free of asbestos,’” and (iv) “‘talc used in

consumer products has been required to be asbestos-free’” “‘[s]ince the 1970s,’” were false and

misleading.    These statements concealed that: (i) asbestos had repeatedly been found in the

Company’s talc and powders, (ii) the Company had attempted to find ways to remove tremolite from

its talc, (iii) the Company never adopted concentration methods that could detect the asbestos , and (iv)

the Company had purposely influenced and manipulated regulators and scientists in order to protect the

Company’s flagship product and reputation. The statement regarding plaintiffs’ allegations not being

“supported by valid scientific evidence” was false and misleading for the additional reason that the

Companyknew that in fact some scientific sources, including IARC and the American Cancer Society,

were actually “not as definitive or supportive and could be interpreted as suggesting a causal effect”

between ovarian cancer and talc and that “[e]ven some of the studies [J&J] cite[d] send[s] mixed

messages.” For example, Defendants knew one of the studies it cited had concluded that “‘perineal talc

use may modestly increase the risk of invasive serous ovarian cancers.”

        182.    On November 2, 2017, Defendants caused the Company to file its third quarter of 2017

Form 10-Q with the SEC. Defendants acknowledged that the Company and some of the Company’s

subsidiaries were involved in product liability litigation, but also represented that the Company had

“substantial defenses”:

        Johnson & Johnson and certain of its subsidiaries are involved in numerous product
        liability claims and lawsuits involving multiple products. Claimants in these cases
        seek substantial compensatory and, where available, punitive damages. While the
        Company believes it has substantial defenses, it is not feasible to predict the ultimate
        outcome of litigation. The Company has established accruals for product liability
        claims and lawsuits in compliance with ASC 450-20 based on currently available
        information, which in some cases may be limited. The Company accrues an estimate
        of the legal defense costs needed to defend each matter when those costs are probable
        and can be reasonably estimated. For certain of these matters, the Company has
        accrued additional amounts such as estimated costs associated with settlements,
        damages and other losses. To the extent adverse verdicts have been rendered against
        the Company, the Company does not record an accrual until a loss is determined to be


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       probable and can be reasonably estimated. Product liability accruals can represent
       projected product liability for thousands of claims around the world, each in different
       litigation environments and with different fact patterns. Changes to the accruals may
       be required in the future as additional information becomes available.

                                         *      *     *
       Claims for personal injury have been made against Johnson & Johnson Consumer
       Inc. and Johnson & Johnson arising out of the use of body powders containing talc,
       primarily JOHNSONS® Baby Powder. The number of pending product liability
       lawsuits continues to increase, and the Company continues to receive information
       with respect to potential costs and the anticipated number of cases. Lawsuits have
       been primarily filed in state courts in Missouri, New Jersey and California. Cases
       filed in federal courts in the United States have been organized as a multidistrict
       litigation in the United States District Court for the District of New Jersey. The
       Company has established an accrual for defense costs in connection with product
       liability litigation associated with body powders containing talc. [Emphasis added].

       183.    Defendants’ statements above were false and misleading.

       184.    While defendants boasted of having “substantial defenses” to the talc-related

litigation, they omitted that: (i) asbestos had repeatedly been found in the Company’s talc and powders,

(ii) the Company had attempted to find ways to remove tremolite from its talc, (iii) the Company

never adopted concentration methods that could detect the asbestos, and (iv) the Company had

purposely influenced and manipulated regulators and scientists in order to protect the Company’s

flagship product and reputation.

January 2018 False and Misleading Statements

       185.    On January 16, 2018, Fair Warning published a story entitled “Baby Powder Battles:

Johnson & Johnson Internal Documents Reveal Asbestos Worries.” Fair Warning reported that J&J

“has said its powders are perfectly safe and could not have caused mesothelioma.”

       186.    Fair Warning also reported additional false and misleading statements made by the

Company:

       Reports of asbestos contamination have “never been proven to be correct,”
       declared John Hopkins, a toxicologist and former J&J executive.



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       Defense lawyers made a plausible case for a different cause of Herford’s
       mesothelioma: the aggressive radiation treatments she received for breast cancer in
       1998. Therapeutic radiation is one of the only suspected causes of mesothelioma
       other than asbestos.

       Following its victory, J&J blasted the “baseless theory” that its powders could be
       harmful. “Johnson’s Baby Powder has been around since 1894 and it does not
       contain asbestos or cause mesothelioma,” according to the company’s statement.

       187.    Defendants’ statements above that Johnson’s Baby Powder has “‘been around since

1894’” and that “‘it does not contain asbestos or cause mesothelioma,’” were false and misleading,

creating the false impression that the Baby Powder had always been asbestos-free, while the

Company recognized internally that it could not say “‘always.’” This statement was also false and

misleading because it concealed that: (i) asbestos had repeatedly been found in the Company’s talc and

powders, (ii) the Company had attempted to find ways to remove tremolite from its talc, and (iii) the

Company never adopted concentration methods that could detect the asbestos.

       188.    Similarly, Defendants’ representations that it was a “‘baseless theory’” that the

Company’s products could be harmful, that reports of asbestos contamination “‘have “never been

proven to be correct,”‘“ and that the Company’s “powders are perfectly safe, and could not have caused

mesothelioma,” were false and misleading. These statements concealed that: (i) asbestos had

repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to find

ways to remove tremolite from its talc,(ii) the Company never adopted concentration methods that

could detect the asbestos, and (iv) theCompanyhad purposely influenced and manipulated regulators and

scientists in order to protect the Company’s flagship product and reputation.

February to April 2018 False and Misleading Statements

       189.    On February 5, 2018, in an article entitled “Johnson & Johnson falls on report that

lawsuits could expose potentially damaging documents,” CNBC quoted a Company spokesman:




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       In a statement, a J&J spokesman pointed to a California judge ruling in favor of J&J
       in November in a lawsuit by a woman who said she developed mesothelioma after
       using the company’s talc-based products. He said the company would continue to
       defend its position in future cases.

       “We are confident that our talc products are, and always have been, free of
       asbestos, based on decades of monitoring, testing and regulation dating back to the
       1970s,” he said. “Historical testing of samples by the FDA, numerous independent
       laboratories, and numerous independent scientists have all confirmed the absence
       of asbestos in our talc products.” [Emphasis added].

       190.    Defendants’ statement that J&J’s “‘talc products are, and always have been, free of

asbestos,’” was false and misleading because Defendants knew internally that it could not “say

‘always.’” This statement, along with defendants’ representation that “decades of monitoring [and]

testing” “‘dating back to the 1970s’” supported the notion that the products have “‘always . . . been .

. . free of asbestos,’” were false and misleading because they concealed that (i) asbestos had

repeatedly been found in the Company’s talc and powder, (ii) the Company had attempted to find

ways to remove tremolite from its talc, and (iii) the Company never adopted concentration methods

that could detect the asbestos.

       191.    Defendants’ statements that: (i) “‘the absence of asbestos in our talc products’” had

been “‘confirmed’” by “‘[h]istorical testing of samples by the FDA, numerous independent

laboratories, and numerous independent scientists,’” and (ii) “‘decades of . . . regulation dating back

to the 1970s’” assured that theCompany’s “‘talc products are, and always have been, free of asbestos’”

were also false and misleading. These statements concealed that: (i) asbestos had repeatedly been

found in the Company’s talc and powders, (ii) the Company had attempted to find ways to remove

tremolite from its talc, (iii) the Company never adopted concentration methods that could detect the

asbestos, (iv) the Company had purposely influenced and manipulated regulators and scientists in

order to protect the Company’s flagship product and reputation, and (v) the Company had misled the

FDA in 2016.


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       192.    On February 21, 2018, Defendants caused the Company to file its 2017 10-K with the

SEC. In its “Cautionary Note Regarding Forward-Looking Statements,” the Company included

language regarding “[p]roduct efficacy or safety concerns”:

       Risks Related to Product Liability, Litigation and Regulatory Activity

       Product efficacy or safety concerns, whether or not based on scientific evidence,
       potentially resulting in product withdrawals, recalls, regulatory action on the part of
       the U.S. Food and Drug Administration (or international counterparts), declining sales
       and reputational damage.

       193.    The Company’s 2017 10-K also discussed the general risks and uncertainties faced by

the Company, including legal proceedings:

       The Company is subject to significant legal proceedings that can result in
       significant expenses, fines and reputational damage.

       In the ordinary course of business, Johnson & Johnson and its subsidiaries are subject
       to numerous claims and lawsuits involving various issues such as patent disputes,
       product liability and claims that their product sales, marketing and pricing practices
       violate various antitrust, unfair trade practices and/or consumer protection laws. The
       most significant of these proceedings are described in Note 21, “Legal Proceedings”
       under Notes to the Consolidated Financial Statements included in Item 8 of this
       Report. While the Company believes it has substantial defenses in these matters, it
       is not feasible to predict the ultimate outcome of litigation. The Company could in
       the future be required to pay significant amounts as a result of settlements or
       judgments in these matters, potentially in excess of accruals. The resolution of, or
       increase in accruals for, one or more of these matters in any reporting period could
       have a material adverse effect on the Company’s results of operations and cash flows
       for that period. Furthermore, as a result of cost and availability factors, effective
       November 1, 2005, the Company ceased purchasing third-party product liability
       insurance.

       Product reliability, safety and effectiveness concerns can have significant
       negative impacts on sales and results of operations, lead to litigation and cause
       reputational damage.

       Concerns about product safety, whether raised internally or by litigants, regulators or
       consumer advocates, and whether or not based on scientific evidence, can result in
       safety alerts, product recalls, governmental investigations, regulatory action on the part
       of the FDA (or its counterpart in other countries), private claims and lawsuits, payment
       of fines and settlements, declining sales and reputational damage. These circumstances
       can also result in damage to brand image, brand equity and consumer trust in the


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       Company’s products. Product recalls have in the past, and could in the future, prompt
       government investigations and inspections, the shutdown of manufacturing facilities,
       continued product shortages and related sales declines, significant remediation costs,
       reputational damage, possible civil penalties and criminal prosecution. [Emphasis
       added].

       194.   The Company’s 2017 10-K acknowledged that it and some of its subsidiaries were

involved in product liability litigation, but also represented that the Company had “substantial

defenses”:

       Johnson & Johnson and certain of its subsidiaries are involved in numerous product
       liability claims and lawsuits involving multiple products. Claimants in these cases
       seek substantial compensatory and, where available, punitive damages. While the
       Company believes it has substantial defenses, it is not feasible to predict the ultimate
       outcome of litigation. The Company has established accruals for product liability
       claims and lawsuits in compliance with ASC 450-20 based on currently available
       information, which in some cases may be limited. The Company accrues an estimate
       of the legal defense costs needed to defend each matter when those costs are probable
       and can be reasonably estimated. For certain of these matters, the Company has
       accrued additional amounts such as estimated costs associated with settlements,
       damages and other losses. To the extent adverse verdicts have been rendered against
       the Company, the Company does not record an accrual until a loss is determined to be
       probable and can be reasonably estimated. Product liability accruals can represent
       projected product liability for thousands of claims around the world, each in different
       litigation environments and with different fact patterns. Changes to the accruals may
       be required in the future as additional information becomes available.

                                         *      *     *
       Claims for personal injury have been made against Johnson & Johnson Consumer
       Inc. and Johnson & Johnson arising out of the use of body powders containing talc,
       primarily JOHNSONS® Baby Powder. The number of pending product liability
       lawsuits continues to increase, and the Company continues to receive information
       with respect to potential costs and the anticipated number of cases. Lawsuits have
       been primarily filed in state courts in Missouri, New Jersey and California. Cases
       filed in federal courts in the United States have been organized as a multidistrict
       litigation in the United States District Court for the District of New Jersey. The
       Company has established an accrual for defense costs in connection with product
       liability litigation associated with body powders containing talc. [Emphasis added].

       195.   The Company’s 2017 10-K also stated that the Company “remain[ed]” committed” to

“delivering high quality” and “improving existing products”:




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       Research and development expenditures relate to the processes of discovering, testing
       and developing new products, upfront payments and milestones, improving existing
       products, as well as demonstrating product efficacy and regulatory compliance prior
       to launch. The Company remains committed to investing in research and development
       with the aim of delivering high quality and innovative products. [Emphasis added].

       196.    Defendants’ statements were false and misleading. While Defendants boasted of

“improving existing products,” being “committed to investing in research and development with the

aim of delivering high quality . . . products,” and of the Company having “substantial defenses,” they

omitted that: (i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the

Company had attempted to find ways to remove tremolite from its talc, (iii) the Company never

adopted concentration methods that could detect the asbestos, and (iv) the Company had purposely

influenced and manipulated regulators and scientists in order to protect the Company’s flagship

product and reputation.

       197.    On February 26, 2018, at the Committee Encouraging Corporate Philanthropy CEO

Investor Forum, Defendant Gorsky told investors:

       I think the real special sauce at Johnson & Johnson is our credo. And to think that, that
       document – and, again, this thing was written more than 75 years ago. In fact, this is
       the 75th anniversary of Our Credo. Long before corporate social responsibility was
       in the day-to-day lexicon or vernacular, and the fact that the son of our founder took
       the time to write this out in such an eloquent way, a little over 300 words, talking
       about commitments, I think it’s just incredibly inspiring. And it’s really formed kind
       of the value system, the backdrop and in fact, I’d say the strategy outline for
       Johnson & Johnson in everything we do. [Emphasis added].

       198.    On April 12, 2018, the New York Daily News reported on statements made by

Defendant Goodrich, in response to the Lanzo trial verdict:

       J&J denied that its products contain cancer-causing toxins and says it plans to appeal.
       “Johnson’s Baby Powder has been used for more than 120 years and it does not
       contain asbestos or cause mesothelioma,” said spokeswoman Carol Goodrich. “We
       believe that once the full evidence is reviewed, this decision will be reversed.”
       [Emphasis added].




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       199.    Then, on April 26, 2018, at the Company’s Annual Shareholders Meeting, Defendant

Gorsky told investors:

       And Our Credo, it dates back to 1943, authored by the then Chairman Robert Wood
       Johnson II, the son of one of the founding Johnson brothers. And it was right before
       Johnson & Johnson became a public company. And on that day, at that moment,
       Johnson & Johnson’s moral compass as a family, as a company, was formally
       documented, and that has sustained us for these past 75 years.

       Our Credo, well, it stood the test of time, unyielding in challenging times and
       unforgotten in times of great success. It balances opportunity with responsibility. And
       we are united and inspired by Our Credo, and we live into those responsibilities it
       outlines each and every day. It reminds us that our very first responsibility is to
       customers and patients. And it compels us to deliver on our responsibilities to our
       employees, our communities, our environment and to you, our shareholders. And it’s
       because of our strong credo foundation and being broadly based in health care that we
       are committed to profoundly changing the trajectory of health for humanity.

       To accomplish this, we intend to: first, invest in areas for enduring long-term impact;
       position our businesses to deliver strong, consistent and sustainable results; lead with
       agility and a sense of urgency needed to tackle the world’s changing needs; to create
       life-enhancing innovations, all while empowering and inspiring diverse employees and
       an inclusive culture; and continue to use our reach and size for good. Now through
       the many decades of change that we’ve seen in the health care industry’s experience,
       Johnson & Johnson has continued to advance with the evolution of science and
       technology, whether it was through our pioneering development of sterile surgery at
       the turn of the 20th century or today, as we develop a differentiated robotic-assisted
       surgery platform in orthopaedics [sic] or build novel regimens to boost T cells and train
       them to recognize and actually attack cancer and focus to create a preventive vaccine
       for HIV/AIDS. [Emphasis added].

       200.    At the April 26, 2018 Shareholders Meeting, Defendant Gorsky also told investors:

       Now at Johnson & Johnson, we are committed to meeting the needs of our
       stakeholders, as defined in Our Credo, the doctors, the nurses and patients and the
       mothers and fathers and all others who use our products; our employers, our
       suppliers, and the communities in which we live and work. We’re also committed to
       providing positive economic impact wherever we do business as well as delivering a
       fair return to our shareholders.

       Now our people and our partners have been focused on that one thing, the thing that
       is the most important, the most personal to every individual and every family on
       earth: their health and well-being. And for the second year in a row, we were named
       to the annual Fortune Magazine Change the World List, which spotlights the 50 top



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        global companies that have had a positive social impact through their activities that are
        part of their core business strategy.

                                          *       *        *


        We recognize that to lead the next frontier of health, well, it’s a big commitment. But
        we are ready, willing and able to take on this task. Guided by our purpose-driven
        strategies and values that are rooted in our credo, we will always put the needs and
        well-being of the people we serve first. [Emphasis added].

        201.    Defendants’ statements that (i) its Credo was “the value system, the backdrop and in

fact . . . the strategy outline for Johnson & Johnson in everything” it does, (ii) its Credo “stood the test

of time, unyielding in challenging times and unforgotten in times of great success,” (iii) the Company

is “united and inspired by Our Credo, and we live into those responsibilities it outlines each and

every day,” (iv) the Company is “committed to meeting the needs of our stakeholders, as defined in

Our Credo, the doctors, the nurses and patients and the mothers and fathers and all others who use our

products,” (v) the Company has “been focused on that one thing, the thing that is the most important,

the most personal to every individual and every family on earth: their health and well-being,” and (vi)

the Company “will always put the needs and well-being of the people we serve first,” were false

and misleading. In truth, Defendants had and continued to conceal that: (i) asbestos had repeatedly

been found in the Company’s talc and powders,(ii) the Company had attempted to find ways to remove

tremolite from its talc,(ii) the Company never adopted concentration methods that could detect the

asbestos, (iv) the Company had purposely influenced and manipulated regulators and scientists in

order to protect the Company’s flagship product and reputation, and (v) the Company had misled the

FDA in 2016.

        202.    Defendant Goodrich’s statements that (i) “‘Johnson’s Baby Powder has been used for

more than 120 years and it does not contain asbestos or cause mesothelioma,’” and (ii) “‘once the full

evidence is reviewed, [the Lanzo verdict] will be reversed,’” were false and misleading. In truth,



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Goodrich knew that the Company’s talcum powders had not been “safe” for over 100 years, and

indeed, the Company could not even “link cosmetic talc to 100 years of use.” Goodrich also knew

that when it came to asbestos in the Company’s talcum powders, they could not “say ‘always’”

asbestos free. These statements were false and misleading because they omitted that: (i) asbestos had

repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to find

ways to remove tremolite from its talc, (iii) the Company never adopted concentration methods that

could detect the asbestos, and (iv) theCompany had purposely influenced and manipulated regulators and

scientists in order to protect the Company’s flagship product and reputation.

       203.    Defendant Gorsky’s statement that J&J “has continued to advance with the evolution

of science and technology” was false and misleading because it concealed that the Company: (i)

never adopted concentration methods that could detect the asbestos in the Company’s talcum

powders, and (ii) continued to sell its talcum powders despite knowing that asbestos had repeatedly

been found in the Company’s talc and powders.

May 2018 False and Misleading Statements

       204.    On May 1, 2018, Defendants caused the Company to file its Form 10-Q with the SEC

for the first quarter of 2018. Defendants disclosed that the Company and some of its subsidiaries

were involved in product liability litigation, but also represented that the Company had “substantial

defenses”:

       Johnson & Johnson and certain of its subsidiaries are involved in numerous product
       liability claims and lawsuits involving multiple products. Claimants in these cases
       seek substantial compensatory and, where available, punitive damages. While the
       Company believes it has substantial defenses, it is not feasible to predict the ultimate
       outcome of litigation. The Company has established accruals for product liability
       claims and lawsuits in compliance with ASC 450-20 based on currently available
       information, which in some cases may be limited. The Company accrues an estimate
       of the legal defense costs needed to defend each matter when those costs are probable
       and can be reasonably estimated. For certain of these matters, the Company has
       accrued additional amounts such as estimated costs associated with settlements,


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       damages and other losses. To the extent adverse verdicts have been rendered against
       the Company, the Company does not record an accrual until a loss is determined to be
       probable and can be reasonably estimated. Product liability accruals can represent
       projected product liability for thousands of claims around the world, each in different
       litigation environments and with different fact patterns. Changes to the accruals may
       be required in the future as additional information becomes available.

                                         *      *      *
       Claims for personal injury have been made against Johnson & Johnson Consumer
       Inc. and Johnson & Johnson arising out of the use of body powders containing talc,
       primarily JOHNSONS® Baby Powder. The number of pending product liability
       lawsuits continues to increase, and the Company continues to receive information
       with respect to potential costs and the anticipated number of cases. Lawsuits have
       been primarily filed in state courts in Missouri, New Jersey and California. Cases
       filed in federal courts in the United States have been organized as a multidistrict
       litigation in the United States District Court for the District of New Jersey. The
       Company has established an accrual for defense costs only in connection with
       product liability litigation associated with body powders containing talc. [Emphasis
       added].

       205.    Defendants’ statements were false and misleading. While Defendants boasted of

having “substantial defenses” to talc-related litigation, they omitted that: (i) asbestos had repeatedly

been found in the Company’s talc and powders, (ii) the Company had attempted to find ways to

remove tremolite from its talc, (iii) the Company never adopted concentration methods that could

detect the asbestos, and (iv) the Company had purposely influenced and manipulated regulators and

scientists in order to protect the Company’s flagship product and reputation.

       206.    On May 16, 2018, CNBC published a video interview with Defendant Gorsky

regarding the re-launch of the Company’s Baby Products line. In the interview, Defendant Gorsky

made the following statements:

       [Gorsky:] [I]t’s a re-launch, and we’re really focusing on . . . the changing needs of
       the Millennial mom, and we realize that over the past few years that we probably got a
       little bit behind the curve, but what you’re going to hear about today is how we
       totally reformulated the brand where we’re changing and making sure we’re using
       more natural ingredients. We’ve taken out many of the concerning products, or
       ingredients, that . . . mothers didn’t want in their products, things like surfactants,
       parabens, and other . . . ingredients. And we’ve also made sure that we’re really
       creating a conversation with the Millennial mom. So yeah, we’re really excited about


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       the re-launch of Baby, and we think what it does is it makes it current, it makes it
       relevant, but at the same time it doesn’t lose . . . that basic smell, that basic touch that
       you expect from the Johnson’s Baby line.

       [Reporter:] Well this comes after a couple years you’ve had some . . . pretty extreme
       headlines coming out of the lawsuits around the talc baby powder product. You
       know, I’ve heard from some folks they’ve lost trust in the brand because of those
       headlines that they’re seeing and the concerns of some link to cancer from the talc
       baby products.        I talked with Jorge Mesquita, your Head of Consumer, who said
       you defend the brand, the science shows there is no link to cancer and that wasn’t the
       driver behind the re-launch. But how do you keep consumers’ trust, perhaps win
       back their trust, in the midst of all these headlines?

       [Gorsky:] Well look, we certainly understand that. And when it comes to babies,
       safety, high quality has got to be first and foremost in everything that we do. And so
       what we’re talking about today is how do we take these legacy brands and really better
       position them for the future. You know, for example, let’s start with clinical data
       and information. You know, J&J, we have conducted more than 90% of the
       clinical trials. And the Millennial mom, they have a high expectation about data.
       They want to know, frankly, do these products work. Are they safe and are they
       effective. And the fact that we are able to produce that kind of information behind
       our brands, that we share it with the broader community, is really important. So
       those are some of the steps that we’re taking . . . we think to make sure the brands do
       well today but also into the future. [Emphasis added].

       207.    On May 16, 2018, at the Consumer and Medical Devices Business Review,

Defendant Gorsky told investors:

       So now what I’d like to do is take just a few moments to highlight the strengths and the
       opportunities for each of our different business segments. . . .

       And look, we’re not afraid to acknowledge areas that we need to fix. We want to talk
       about that, learn from them to make us better going forward. And we firmly
       believe that Johnson & Johnson is strongly positioned for continued and future
       growth.

                                         *       *        *


       So in closing, first and foremost, I want to thank you for being here today and
       investing your time in Johnson & Johnson. . . .

       And you’ve got our absolute commitment that we’ll hold ourselves accountable
       and execute on the strategic plans that you’re going to hear about today, fulfill all of
       our Credo responsibilities where we always keep the customer and patients at the



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        center of everything we do and ultimately profoundly change the trajectory of health
        for humanity. [Emphasis added].

        208.    At the May 16, 2018, Consumer and Medical Devices Business Review, Global Chief

Technology Officer Josh Ghaim told investors:

        We have designed JOHNSON’S with everything a mom wants for 100% gentle new
        classics. While our ingredients have been always been safe, our new formulations
        contain no unwanted ingredients. To meet the needs of new moms today, more than
        90% of the ingredients in our formulations are natural. We have built superior
        experience with no- residue formulas, professional reassurance through dermatologist
        and pediatrician testing, all with unique claims based on our body of baby skin
        science. [Emphasis added].

        209.    And at the same May 16, 2018 Conference, Executive VP and Worldwide Chairman

Jorge Mesquita responded to a question from an analyst regarding talc:

        With regard to talc, sorry. What I can assure you is we’ve been through this
        extensively, and we are 100% sure that our talc product is safe. And we will continue
        to defend our brand, we will continue to defend our product. [Emphasis added].

        210.    Defendants’ statements that: (i) “when it comes to babies” safety and high quality are

“first and foremost in everything that we do,” (ii) the Company is “not afraid to acknowledge areas

that [it] need[s] to fix” and the Company “want[s] to talk about that” and “learn from them to make

[itself] better going forward,” and (iii) the Company “hold[s] [itself] accountable” on “fullfill[ing] all

of our Credo responsibilities where we always keep the customer and patients at the center of

everything we do,” were false and misleading. Rather than putting safety first, acknowledging and

learning from its mistakes, or holding themselves accountable to the Company’s Credo, Defendants

continued to conceal the truth regarding its Baby Powder, including that: (i) asbestos had repeatedly

been found in the Company’s talc and powders, (ii) the Company had attempted to find ways to

remove tremolite from its talc, (iii) the Company never adopted concentration methods that could

detect the asbestos, (iv) the Company had purposely influenced and manipulated regulators and




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scientists in order to protect the Company’s flagship product and reputation, and (v) the Company had

misled the FDA in 2016.

       211.    Defendants’ statement that the Company’s ingredients “have . . . always been safe,” was

false and misleading, as the Company acknowledged internally that “we cannot say ‘always’” with

regards to the Company’s talcum powders being asbestos-free. This statement that: (i) the Company

had “taken out many of the concerning . . . ingredients, that . . . mothers didn’t want in their

products,” (ii) “the re-launch of Baby” makes the product line “current,” (iii) the Company’s large

number of clinical trials show that the Baby products are safe, and (iv) the Company’s “new

formulations contain no unwanted ingredients,” were false and misleading for other reasons. These

statements concealed that: (i) asbestos had repeatedly been found in the Company’s talc and

powders, (ii) the Company had attempted to find ways to remove tremolite from its talc, and (iii) the

Company never adopted concentration methods that could detect the asbestos.

       212.    Defendants’ statement that after going through the information “extensively,” the

Company is “100% sure that our talc product is safe,” was also false and misleading. In truth,

Defendants knew that some scientific sources were actually “not as definitive or supportive and could

be interpreted as suggesting a causal effect” between ovarian cancer and talc and that “[e]ven some of

the studies [it] cite[d] send[s] mixed messages.” Defendants knew that even one of the studies cited

by the Company had concluded that “‘perineal talc use may modestly increase the risk of invasive

serous ovarian cancers.’” In addition, the statement was false and misleading because it failed to

disclose that: (i) asbestos had repeatedly been found in the Company’s talc and powders, (ii) the

Company had attempted to find ways to remove tremolite from its talc, (iii) the Company never

adopted concentration methods that could detect the asbestos, and (iv) the Company had purposely




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influenced and manipulated regulators and scientists in order to protect the Company’s flagship

product and reputation.

       213.    On May 21, 2018, at the UBS Global Healthcare Conference, the Company discussed

its global supply chain:

       We did make an announcement that we’re taking some actions to further optimize our
       network and I’ll explain to you why that is. But about 5 years ago, we had changed
       our approach at JNJ to how we manage our supply chain around the globe to enable
       us to have much more global consistency, to drive better flexibility in our supply
       chain, but also to ensure that we’ve got the right quality and compliance in all of
       our manufacturing sites around the world, both internal and external. [Emphasis
       added].

       214.    On May 21, 2018, in an article entitled “Johnson & Johnson to relaunch baby-care

line after its 20% sales decline,” a Company spokesman stated : “‘We are absolutely certain that science

shows that our talcum product is safe, and we will defend our brand and defend our product.’”

       215.    And on May 28, 2018, in an article entitled “Juries Weigh Cases Over Alleged Harms

of Johnson & Johnson Baby Powder,” the Wall Street Journal reported statements made by the

Company:

       Johnson & Johnson said it would appeal and “continue to defend the safety of our
       product because it does not contain asbestos or cause mesothelioma.” The company
       said over the past 50 years, multiple scientific evaluations, including from the U.S.
       Food and Drug Administration, have been conducted and “none have found that
       the talc in Johnson’s Baby Powder contains asbestos.” [Emphasis added].

       216.    Defendants’ statement that J&J now had “the right quality and compliance in all of

[its] manufacturing sites around the world,” was false and misleading, as Defendants had knowingly

failed to adopt an effective method for testing its talc, despite numerous occasions of asbestos being

found in the Company’s talc and powders.

       217.    Defendants’ statements that: (i) the Company is “absolutely certain that science

shows that our talcum product is safe,” and (ii) Johnson’s Baby Powder “‘does not contain asbestos



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or cause mesothelioma,’” as “‘multiple scientific evaluations’” “‘over the past 50 years’” including

by the FDA have not found asbestos in Johnson’s Baby Powder, were also false and misleading.

These statements concealed that: (i) asbestos had repeatedly been found in the Company’s talc and

powders, (ii) the Company had attempted to find ways to remove tremolite from its talc, (iii) the

Company never adopted concentration methods that could detect the asbestos, (iv) the Company had

purposely influenced and manipulated regulators and scientists in order to protect the Company’s

flagship product and reputation, and (v) the Company had misled the FDA in 2016. In addition,

while Defendants said publicly that it was “‘absolutely certain that science shows’” the safety of talc, it

knew that some scientific sources were actually “not as definitive or supportive and could be

interpreted as suggesting a causal effect” between ovarian cancer and talc and that at least one had

concluded that “‘perineal talc use may modestly increase the risk of invasive serous ovarian

cancers.’”

July to August 2018 False and Misleading Statements

        218.    On July 12, 2018, Defendants caused the Company to issue a statement regarding the

Ingham case verdict:

        Johnson & Johnson is deeply disappointed in the verdict, which was the product of a
        fundamentally unfair process that allowed plaintiffs to present a group of 22
        women, most of whom had no connection to Missouri, in a single case all alleging
        that they developed ovarian cancer. The result of the verdict, which awarded the exact
        same amounts to all plaintiffs irrespective of their individual facts, and differences in
        applicable law, reflects that the evidence in the case was simply overwhelmed by the
        prejudice of this type of proceeding.

        Johnson & Johnson remains confident that its products do not contain asbestos and
        do not cause ovarian cancer and intends to pursue all available appellate remedies.
        Every verdict against Johnson & Johnson in this court that has gone through the
        appeals process has been reversed and the multiple errors present in this trial were
        worse than those in the prior trials which have been reversed. [Emphasis added].




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       219.    On July 12, 2018, Bloomberg reported on comments made by Defendant Goodrich

via email:14

       The company will appeal, Carol Goodrich, a spokeswoman, said in an email. The
       verdict “was the product of a fundamentally unfair process that allowed plaintiffs to
       present a group of 22 women, most of whom had no connection to Missouri, in a
       single case all alleging that they developed ovarian cancer,’’ she said.

       That each plaintiff and her family members were awarded $25 million for their losses
       “irrespective of their individual facts, and differences in applicable law, reflects that
       the evidence in the case was simply overwhelmed by the prejudice of this type of
       proceeding,’’ Goodrich added.

                                        *       *        *
       ‘Multiple Errors’

       The company’s products don’t contain asbestos and don’t cause ovarian cancer, she
       said. Goodrich predicted the verdict would be reversed. “The multiple errors present
       in this trial were worse than those in the prior trials which have been reversed.”
       [Emphasis added].

       220.    Defendants’ statements that the verdict was “the product of a fundamentally unfair

process” where the “evidence . . . was simply overwhelmed by the prejudice,” while the truth was

that the Company’s products “do not contain asbestos and do not cause ovarian cancer,” were false

and misleading. In truth, Defendants knew that: (i) asbestos had repeatedly been found in the

Company’s talc and powders, (ii) the Company had attempted to find ways to remove tremolite from

its talc, (iii) the Company never adopted concentration methods that could detect the asbestos, and

(iv) the Company had purposely influenced and manipulated regulators and scientists in order to

protect the Company’s flagship product and reputation.          In addition, Goodrich knew that the

Company could not “say ‘always’” when it comes to Johnson’s Baby Powder being asbestos-free.



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       “J&J’s $4.69 Billion Talc Loss Hands Investors a What-Next Moment.”




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And while Defendant Goodrich promised that the Company’s talc did not cause ovarian cancer, she

knew that some scientific sources were actually “not as definitive or supportive and could be

interpreted as suggesting a causal effect” between ovarian cancer and talc and that at least one had

concluded that “‘perineal talc use may modestly increase the risk of invasive serous ovarian

cancers.’”

       221.    On July 17, 2018, during a conference call discussing the Company’s 2Q18 results,

Defendant Gorsky told investors:

       Before I provide some perspective by business segment, it’s important to begin
       where I usually do, emphasizing that we are always guided by our credo; and this
       year, we proudly celebrate its 75th anniversary. Our credo is as relevant today as the
       day it was written. Balancing opportunity and responsibility, we’re united and
       inspired by our credo and we live in the responsibilities it outlines each and every day.

                                        *       *        *

       Additionally, we are revitalizing our baby business. In fact, beginning this month, our
       newly formulated Johnson’s Baby products have started to ship to retailers across the
       United States. We continue to strengthen and expand our portfolio of iconic, science-
       based and professionally endorsed products, and we have a number of planned
       launches in the second half of this year. We also believe that this will drive top line
       growth that will be met with even greater bottom line growth as we continue to
       improve our productivity and margins.


                                        *       *        *


       Regarding the recent St. Louis talcum powder lawsuit and verdict. As you know, our
       baby powder is a trusted product that we sold to families for over 100 years, and
       Johnson & Johnson is deeply disappointed in this verdict. Now we remain confident
       that our products do not contain asbestos and do not cause ovarian cancer, and we
       intend to pursue all available appellate remedies. In fact, every verdict against
       Johnson & Johnson in this court that has gone through the appeals process has been
       reversed.

       Additionally, I want to emphasize that preeminent scientific and regulatory bodies,
       including the National Cancer Institute, the U.S. Food and Drug Administration
       have fully reviewed the full body of scientific evidence on multiple occasions and
       found that it does not support the allegation that talc causes ovarian cancer. Like


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       previous appeals, we are confident that there are multiple grounds for reversal of this
       jury verdict and that, ultimately, the case will be reversed.

                                        *       *        *


       We believe in a bright and successful future, where virtually anything that can be
       imagined, can be accomplished through a laser-like focus on innovation, execution
       and our customers, which ultimately drives superior long-term performance. And
       while we’re focused on all of this, we also remain committed to fulfilling our credo
       responsibilities and striving to profoundly change the trajectory of Health for
       Humanity. [Emphasis added].

       222.    Defendants’ statement that theCompany is “always guided by our credo,” was false and

misleading, as it concealed that: (i) asbestos had repeatedly been found in the Company’s talc and

powders but the Company failed to inform the public, (ii) the Company had thought about seeking a

profitable patent for a method of removing tremolite from its talc, (iii) the Company never adopted

concentration methods that could detect the asbestos despite knowing that it was necessary to find

any asbestos present, (iv) the Company had purposely influenced and manipulated regulators and

scientists in order to protect the Company’s flagship product and reputation, and (v) the Company had

misled the FDA in 2016.

       223.    Defendants’ statements that: (i) the Company remained “committed to fulfilling our

credo responsibilities,” (ii) the Credo was “as relevant today as the day it was written,” and (iii) the

Company was “inspired by our credo” and “live[d] in the responsibilities it outlines each and every

day,” were false and misleading. In truth, Defendants failed to live up to the Credo by continuing to

conceal the truth about Johnson’s Baby Powder, including that: (i) asbestos had repeatedly been found

in the Company’s talc and powders, (ii) the Company had attempted to find ways to remove tremolite

from its talc, (iii) the Company never adopted concentration methods that could detect the asbestos,

(iv) the Company had purposely influenced and manipulated regulators and scientists in order to




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protect the Company’s flagship product and reputation, and (v) the Company had misled the FDA

in2016.

       224.    Defendant’s statement that J&J had “science-based and professionally endorsed

products,” was false and misleading as (i) asbestos had repeatedly been found in the Company’s talc

and powders and (ii) the Company had purposely influenced and manipulated regulators and

scientists in order to protect the Company’s flagship product and reputation.

       225.    Defendants’ reliance on the fact that Baby Powder has been “sold to families for over

100 years” and representation that the Company is “confident that our products do not contain

asbestos and do not cause ovarian cancer,” were false and misleading. Defendants had acknowledged

internally that talc did not have 100 years of safe use and they could not “say ‘always’” when it

comes to Baby Powder being asbestos-free. In addition, these statements concealed that: (i) asbestos

had repeatedly been found in the Company’s talc and powders, (ii) the Company had attempted to

find ways to remove tremolite from its talc, and (iii) the Company never adopted concentration

methods that could detect the asbestos.

       226.    Defendants’ statement that “scientific and regulatory bodies” such as the FDA had

“fully reviewed the full body of scientific evidence on multiple occasions and found that it does not

support the allegation that talc causes ovarian cancer” was false and misleading. In truth, (i) the

Company had lied to the FDA as recently as 2016 regarding asbestos in its talc, and (ii) the scientific

and regulatory bodies never had “the full body of scientific evidence” because the Company never

disclosed that asbestos had been found in the Company’s talc and powders on numerous occasions.

The statement was also false and misleading because the Company knew that some scientific sources

were actually “not as definitive or supportive and could be interpreted as suggesting a causal effect”

between ovarian cancer and talc and that at least one had concluded that “‘perineal talc use may



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modestly increase the risk of invasive serous ovarian cancers.’” Finally, the statement was false and

misleading in that it omitted that: (i) asbestos had repeatedly been found in the Company’s talc and

powders, (ii) the Company had attempted to find ways to remove tremolite from its talc, (iii) the

Company never adopted concentration methods that could detect the asbestos, and (iv) the Company

had purposely influenced and manipulated regulators and scientists in order to protect the Company’s

flagship product and reputation.

       227.    On August 2, 2018, Defendants caused the Company to file its 2Q18 Form 10-Q with

the SEC. Defendants disclosed that the Company and some of its subsidiaries were involved in

product liability litigation, but also represented that the Company had “substantial defenses”:

       Johnson & Johnson and certain of its subsidiaries are involved in numerous product
       liability claims and lawsuits involving multiple products. Claimants in these cases
       seek substantial compensatory and, where available, punitive damages. While the
       Company believes it has substantial defenses, it is not feasible to predict the ultimate
       outcome of litigation. The Company has established accruals for product liability
       claims and lawsuits in compliance with ASC 450-20 based on currently available
       information, which in some cases may be limited. The Company accrues an estimate
       of the legal defense costs needed to defend each matter when those costs are probable
       and can be reasonably estimated. For certain of these matters, the Company has
       accrued additional amounts such as estimated costs associated with settlements,
       damages and other losses. To the extent adverse verdicts have been rendered against
       the Company, the Company does not record an accrual until a loss is determined to be
       probable and can be reasonably estimated. Product liability accruals can represent
       projected product liability for thousands of claims around the world, each in different
       litigation environments and with different fact patterns. Changes to the accruals may
       be required in the future as additional information becomes available.

                                         *      *       *
       Personal injury claims alleging that talc causes cancer have been made against
       Johnson & Johnson Consumer Inc. and Johnson & Johnson arising out of the use of
       body powders containing talc, primarily JOHNSONS® Baby Powder. The number of
       pending product liability lawsuits continues to increase, and the Company continues
       to receive information with respect to potential costs and the anticipated number of
       cases. Lawsuits have been primarily filed in state courts in Missouri, New Jersey and
       California. Cases filed in federal courts in the United States have been organized as
       a multi-district litigation in the United States District Court for the District of New
       Jersey. The Company has successfully defended a number of these cases but there
       have been verdicts against the Company, including a recent jury verdict of $4.7


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        billion. The Company believes that it has strong grounds on appeal to overturn these
        verdicts. The Company has established an accrual for defense costs only in
        connection with product liability litigation associated with body powders containing
        talc. [Emphasis added].

        228.    Defendants’ statements were false and misleading. While Defendants boasted of

 having “substantial defenses” to talc-related litigation, they omitted that: (i) asbestos had repeatedly

 been found in the Company’s talc and powders, (ii) the Company had attempted to find ways to

 remove tremolite from its talc, (iii) the Company never adopted concentration methods that could

 detect the asbestos , and (iv) the Company had purposely influenced and manipulated regulators and

 scientists in order to protect the Company’s flagship product and reputation.

 October 2018 False and Misleading Statements

        229.    On October 31, 2018, Defendants caused the Company to file its third quarter 2018

 Form 10-Q with the SEC. Defendants acknowledged that the Company and some of its subsidiaries

 were involved in product liability litigation, but also represented that the Company had “substantial

 defenses”:

        Johnson & Johnson and certain of its subsidiaries are involved in numerous product
        liability claims and lawsuits involving multiple products. Claimants in these cases
        seek substantial compensatory and, where available, punitive damages. While the
        Company believes it has substantial defenses, it is not feasible to predict the ultimate
        outcome of litigation. The Company has established accruals for product liability
        claims and lawsuits in compliance with ASC 450-20 based on currently available
        information, which in some cases may be limited. The Company accrues an estimate
        of the legal defense costs needed to defend each matter when those costs are probable
        and can be reasonably estimated. For certain of these matters, the Company has
        accrued additional amounts such as estimated costs associated with settlements,
        damages and other losses. To the extent adverse verdicts have been rendered against
        the Company, the Company does not record an accrual until a loss is determined to be
        probable and can be reasonably estimated. Product liability accruals can represent
        projected product liability for thousands of claims around the world, each in different
        litigation environments and with different fact patterns. Changes to the accruals may
        be required in the future as additional information becomes available.

                                         *       *       *



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        Personal injury claims alleging that talc causes cancer have been made against
        Johnson & Johnson Consumer Inc. and Johnson & Johnson arising out of the use of
        body powders containing talc, primarily JOHNSONS® Baby Powder. The number of
        pending product liability lawsuits continues to increase, and the Company continues
        to receive information with respect to potential costs and the anticipated number of
        cases. Lawsuits have been primarily filed in state courts in Missouri, New Jersey and
        California. Cases filed in federal courts in the United States have been organized as a
        multi-district litigation in the United States District Court for the District of New
        Jersey. The Company has successfully defended a number of these cases but there
        have been verdicts against the Company, including a recent jury verdict of $4.7
        billion. The Company believes that it has strong grounds on appeal to overturn these
        verdicts. The Company has established an accrual for defense costs only in
        connection with product liability litigation associated with body powders containing
        talc. [Emphasis added].

        230.    Defendants’ statements were false and misleading. While Defendants boasted of

 having “substantial defenses” to talc-related litigation, they omitted that: (i) asbestos had repeatedly

 been found in the Company’s talc and powders, (ii) the Company had attempted to find ways to

 remove tremolite from its talc, (iii) the Company never adopted concentration methods that could

 detect the asbestos , and (iv) the Company had purposely influenced and manipulated regulators and

 scientists in order to protect the Company’s flagship product and reputation.

                                  DEFENDANTS’ KNOWLEDGE
 Defendant Gorsky
        231.    Defendant Gorsky knew or recklessly disregarded that his statements and the

 statements made by the Company in public filings with the SEC were false and misleading. As

 alleged herein, Defendant Gorsky admitted to paying very close attention to the Company’s quality

 issues, including the allegations surrounding the Company’s talcum powders specifically, and he

 also represented that he was intensely focused on whether the Company was acting in accordance

 with its corporate Credo. These admissions included the following:

          •        At the Company’s April 2012 annual meeting, Defendant Gorsky spent over
                  30 minutes on Our Credo, promising that he was determined to keep it as the
                  foundation at J&J and repeatedly assuring investors that the Company was
                  adhering to the corporate credo’s values.


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        •     On January 21, 2014, Defendant Gorsky admitted to having knowledge about
              whether the “Chief Medical and Chief Quality Officers [were] setting new
              benchmarks for medical safety” and whether the Company was “monitoring
              the use of our end market products” to “ensu[re] that they are safe.”

        •     On January 12, 2015, Defendant Gorsky provided that “[q]uality and safety”
              was J&J’s “number-one priority” and that he and his team at the Company had
              “over the last few years” “made a number of changes . . . to make sure that we
              addressed any of the outstanding issues that we were facing.” By the time
              Defendant Gorsky made this admission, the Company had suffered the first
              verdict linking talc to ovarian cancer and was facing mounting claims brought
              by federal class action plaintiffs, state court litigants, and the Attorney
              General of Mississippi. The safety of the Company’s talcum powders was
              thus a well-known “outstanding issue[].

        •     On April 23, 2015, Defendant Gorsky admitted the importance of Johnson’s
              Baby Powder and the Company’s other consumer brands, noting that “our
              consumer, our iconic consumer brands have been, and continue to be, perhaps
              the greatest connection that we have with people, with consumers all over
              the world.”

        •     On September 6, 2017, Defendant Gorsky admitted to paying attention to “the
              significant amount of clinical information [and] control data” involving talc
              and talcum powders, including from agencies like the National Cancer
              Institute (“NCI”) and FDA, and claimed to have sufficient knowledge to form
              an opinion on “the safety of talc.” Defendant Gorsky also made clear that he
              had assessed sufficient data surrounding J&J’s talcum powders in order to
              form an opinion about J&J’s defense in the talcum powder litigation.

        •     On September 6, 2017, Defendant Gorsky admitted to closely following the
              ovarian cancer litigation developments, referencing St. Louis as one of “the
              early results,” as well as “earlier findings in New Jersey” and “the first
              outcome in California.”

        •     On May 16, 2018, Defendant Gorsky admitted to having knowledge about
              the ingredients in J&J’s Baby products and whether J&J had “taken out
              many of the concerning . . . ingredients, that . . . mothers didn’t want in their
              products.”

        •     On May 16, 2018, Defendant Gorsky admitted to reviewing the Company’s
              “clinical data and information” regarding talc’s safety.

        •     On May 16, 2018, Defendant Gorsky promised that he and J&J had an
              “absolute commitment [to] hold ourselves accountable and . . . fulfill all of our
              Credo responsibilities where we always keep the customer and patients at the
              center of everything we do.”

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          •      On July 17, 2018, Defendant Gorsky admitted to knowing whether J&J is
                 “always guided by our credo” and remains committed to it, and whether the
                 Credo is still relevant.

          •      On July 17, 2018, Defendant Gorsky admitted to having knowledge about
                 J&J’s baby products, including whether they are “science-based and
                 professionally endorsed.”

          •      On July 17, 2018, Defendant Gorsky admitted to paying attention to the talc
                 litigation, including whether J&J’s products contained asbestos or caused
                 ovarian cancer. In addition, Defendant Gorsky claimed to know whether
                 scientific and regulatory bodies had “fully reviewed the full body of scientific
                 evidence.”
        232.    Defendant Gorsky’s knowledge is further bolstered by his actions which illustrate that

 he paid special attention to product quality issues, including the ongoing litigation surrounding the

 Company’s talcum powders. Indeed, from his first day on the job as CEO, Defendant Gorsky knew

 investors were deeply concerned over quality issues and the Company’s reputation.

        233.    In addition, the June 6, 2017 email to Defendant Gorsky and the Board that included a

 “deck under the heading of ‘Update on Talc Litigation’ in Tab 7 that discusses reputational risk”

 illustrates that Defendant Gorsky was made aware of, and his attention was on, the issues

 surrounding talc.

        234.    Defendant Gorsky’s knowledge is further evidenced by the fact that, as a long time

 executive in the consumer and pharma industries, he had a heightened understanding of the

 troubles that revelation of unethical and/or illegal business conduct could bring to the Company

 and himself. He had been “actively involved” at Janssen when “Janssen managers effectively

 embraced off-label promotion” and Janssen exhibited “especially unscrupulous” behavior, that

 “‘recklessly put at risk the health of some of the most vulnerable members of society’” and showed

 “‘blatant disregard for systems and laws.’” This conduct led to Janssen’s $2.2 billion settlement

 with the Department of Justice.



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        235.    Similarly, Defendant Gorsky was warned by the FDA while he was at Novartis that

 representations made by the company “suggested that [the product in question was] safer . . . than

 ha[d] been demonstrated.” This experience alerted Defendant Gorsky to the importance of not

 making false and misleading statements regarding product safety. Defendant Gorsky was deposed

 regarding the Company’s DePuy unit, which would later be hit with a jury verdict of over $1 billion

 and had “personal involvement” in preparing corporate communications regarding the defective hip

 implants at issue in the case.

 Defendant Goodrich

        236.    Defendant Goodrich knew that her statements, and corporate statements that she

 created and contributed to were false and misleading. Defendant Goodrich personally worked on the

 language to be included on the “Our Safety & Care Commitment” website, which was available as of

 January 7, 2014. And while the “Our Safety & Care Commitment” website touted talc’s “safety

 profile,” “long history of safe use,” and use “for over 100 years,” Defendant Goodrich knew that the use

 of talc had not actually been safe for 100+ years, and may not have even occurred with regards to

 “cosmetic talc.” In addition, although the website implied that the Company’s talc products have

 always been asbestos-free, Defendant Goodrich knew that the Company could not accurately “say

 ‘always.’” She also knew or was reckless in making additional false misleading statements, including:

 (i) on May 2, 2016, that the Company “has provided consumers with a safe choice for cosmetic

 powder products” “[f]or over 100 years,” (ii) on November 16, 2017, that “Johnson’s Baby Powder

 has been around since 1894 and it does not contain asbestos or cause mesothelioma or ovarian

 cancer,” and (iii) in April 2018, that “Johnson’s Baby Powder has been used for more than 120

 years and it does not contain asbestos.”




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        237.    Defendant Goodrich also knew that it was false and misleading to represent (i) on the

 “Our Safety & Care Commitment” website, that talc’s purported safety was supported by “more than

 30 years of research,” examination by “[v]arious agencies and governmental bodies” supported talc’s

 safety, and “[m]any research papers and epidemiology studies” “published since the early 1990s”

 “have found talc to be safe,” (i) on February 23, 2016, that talc’s safety is “supported by decades of

 scientific evidence,” and that J&J believed this to be true, and (iii) on May 2, 2016, that “30 years of

 studies by medical experts around the world . . . continue to support” cosmetic talc’s safety, and that

 “[m]ultiple scientific and regulatory reviews have determined that talc is safe for use . . . and the

 labeling on Johnson’s Baby Powder is appropriate.” Defendant Goodrich in fact knew that other

 scientific sources not cited on “Our Safety & Care Commitment” website could actually “be

 interpreted as suggesting a causal effect” between talc and ovarian cancer, including from IARC and the

 American Cancer Society. She also knew that “[e]ven some of the studies” cited by the Company on

 its website sent “mixed messages,” including a study recognizing that “‘perineal talc use may

 modestly increase’” the risk of ovarian cancer.

 Defendant Casalvieri

        238.    Defendant Casalvieri knew that her statements claiming that scientific studies,

 “assessments by external experts,” and the Company’s “company testing” supported talc’s safety,

 were false and misleading. She admitted to examining “assessments by external experts” and

 having knowledge of J&J’s “company testing,” and emphasized that “[a]s a toxicologist in our

 Consumer business,” “my job is to make certain a product is safe.” Thus, Casalvieri would have

 been informed of the very facts making her statement misleading. By holding herself out as an expert

 on the safety of J&J’s talc products and “assur[ing] women and caregivers who use our talc products”

 of their safety, Casalvieri publicly represented that she fully understood the possible dangers of talc



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 when making her false and misleading statements. Defendant Casalvieri’s scienter is further

 bolstered by the fact that she was featured on the updated “Our Safety & Care Commitment” website

 available as of December 25, 2015, which represented that “[w]e have carefully assessed all

 available data on talc,” including the “body of research and clinical evidence.”

         239.    In addition to these admissions and representations, Casalvieri’s knowledge is also

 evidenced by her direction of the Company’s fraudulent conduct in 2005. Indeed, Defendant

 Casalvieri directed J&J’s project “to defend talc,” which included “develop[ing] documents that

 scientifically support the lack of a relationship of talc and ovarian cancer,” including secretly

 funding a meta-study supportive of talc. Defendant Casalvieri also knew, but failed to disclose, that

 the Company had worked under her direction “to assure a good outcome” for talc against the NTP.

 Her centrality to that effort is clear: she was personally congratulated for her work when the NTP

 withdrew talc from consideration as a possible carcinogen. Defendant Casalvieri knew, but failed to

 disclose, that the decision by the NTP “was a direct result of [J&J’s] efforts in coordination with

 Luzenac and CTFA,” efforts which she herself directed. As the director of the project to defend talc,

 Defendant Casalvieri also received detailed updates from Steve Mann regarding the day-to-day of

 these efforts, including the Company’s attempt at getting its own experts embedded in the IARC

 process. Finally, Defendant Casalvieri worked closely with Mann to “defend talc” within less than a

 year after Mann was informed that Forensic Analytical and a news station had discovered asbestos in

 Johnson’s Baby Powder. It is implausible that Defendant Casalvieri would not also have known of

 this finding.

 Defendant Glasgow




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        240.    Defendant Glasgow knew that her statements were false and misleading. O n January

 24, 2017, Glasgow emphasized that she and others at the Company meticulously assembled and

 reviewed all of the available data on the safety of talc, which included “decades of scientific work”:

        When it comes to the safety of the products we make, we’re just like you. . . We want
        all the information we can get. We seek out the guidance of experts and we monitor
        the latest science to see if it impacts any of our products. We also listen to the people
        who use our products so we can take their experiences into account. . . .

        [T]here is no information more important than our research on scientific data and
        safety. We go beyond the findings of a single study because we must ensure we’ve
        assembled all of the available data from multiple scientific areas to reach conclusions
        based on evidence. One opinion or study can’t outweigh decades of conclusive,
        scientific, evidence-based findings. As a scientist and, equally important, as a parent
        myself, I can tell you the science is clear: Cosmetic talc is, and has been, safe for use
        in consumer products.

        We are all mothers, fathers, and consumers ourselves; we understand and take seriously
        our responsibility to give you the information you need to make your own decisions.
        We choose to include these ingredients not simply because we’ve used them for
        decades. We include them because decades of scientific work support their safety.
        [Emphasis added].

        241.    In addition, Defendant Glasgow represented that she and the rest of the Company “feel,

 as scientists, an obligation to continue to take our research to the next level by looking at all the

 science.” Glasgow held herself out as having reviewed “30 years of scientific studies and regulatory

 reviews,” along with “the medical facts and science” regarding the Company’s talcum powder

 products. Similarly, she represented that she had reviewed the studies, “science, research and clinic

 evidence” regarding the safety of talc. In sum, Defendant Glasgow knew or recklessly disregarded

 the wealth of scientific information within the Company regarding the dangers of its talcum

 powders.

 Defendant Sneed

        242.    Defendant Sneed knew that his statements were false and misleading. As VP of

 Global Corporate Affairs, Sneed was involved with t h e C o m p a n y ’s public relations and knew


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 that checking the accuracy of corporate statements was vitally important. Indeed, he admitted that

 “[t]he reputation of J&J is very important to us” and that “[w]e take it very seriously” when he spoke

 to investors on April 25, 2013. He also represented that he knew about (i) the Company’s efforts to

 “get past some of the challenges we’ve had as a business,” (ii) what the Company does when it

 makes “mistakes,” (iii) “the values that are behind J&J,” (iv) whether the Company “really embraced

 transparency,” and (v) whether the Company had a history of “car[ing] unconditionally for others.”

 Thus, he knew or recklessly disregarded that his statements were false and misleading and omitted

 material information.

 Additional Information Supporting Knowledge

        243.    Defendants’ knowledge is further established by the detailed allegations regarding the

 importance of Johnson’s Baby Powder to the Company’s overall business and reputation, the

 Company’s purposely inadequate test methods, the Company’s massive fraudulent scheme and

 pervasive corporate misconduct, and numerous red flags that the Company had received.

                   Johnson’s Baby Powder Was Absolutely Critical to
           Consumers’ Trust and the Company’s Overall Business and Reputation

        244.    As alleged herein, the Company has repeatedly recognized the vital importance of

 Johnson’s Baby Powder for the Company’s business. Because the Company is in the business of

 selling consumer goods, drugs, and medical devices, its success depends on consumer trust.

 And because Baby Powder is “a primary link to the positive J&J name in the public mind,” a

 recognition that the talc used in it was carcinogenic “would have a major ripple effect” for the

 Company. Indeed, in 2018, the Company’s counsel admitted that Johnson’s Baby Powder “is about

 the trust of Johnson & Johnson,” because “[J&J] know[s] that the people who use this product are

 mothers and babies .. . and these are Johnson & Johnson’s customers,” so “this is about trust.” In

 further recognition of the dire stakes, in 2017, the Company’s Board of Directors spent an entire slide


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 deck on an “Update on Talc Litigation” that discussed “reputational risk.” And in sworn

 testimony, the Company’s longstanding corporate representative recognized the truth that “it would

 be very, very bad for business if it ever came out that the baby powder or any of Johnson &

 Johnson’s talc products ever contained asbestos.”

         245.    The Company has also provided additional detail regarding the heightened corporate

 concern over Johnson’s Baby Powder. According to the Company’s own admissions, “despite the

 depth and breadth of its product lines,” the Company remains known as “the Baby Company.” And

 Johnson’s Baby Powder has been “‘the cornerstone of [the] baby products franchise.’” Indeed, the

 Company admitted that Johnson’s Baby Powder is a “‘flagship product,’” “‘sacred cow,’”

 “institution,” “the most widely recognized fragrance in the United States,” and “one of the most familiar

 and trusted products in the world.” The Company’s longtime corporate representative has even

 admitted under oath that Johnson’s Baby Powder is among “the top one or two products that people

 think of when they think of J&J.”

         246.    Other admissions by the Company illustrate the depth and reach of the public’s

 relationship with Johnson’s Baby Powder, and thus the potentially devastating impact to the Company’s

 reputation, were the truth to surface. For example, the Company admits that “[i]f you’ve ever cared

 for a baby, you’ve probably had JOHNSON’S Baby Powder in your home.” Thus, if it were to come

 out that the Baby Powder contained asbestos, millions of parents would face the horrifying

 realization that they had unknowingly exposed their children to asbestos through a Johnson & Johnson

 product. The betrayal of trust for millions of consumers would be all the more disturbing because of

 the Company’s longstanding efforts to convince the public to think of the Company “as a lifetime

 friend of the family” and to create an association between Baby Powder and “the parent-infant bond.”




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        247.    And, following the Reuters report’s revelations, financial analysts specifically

 recognized the significant negative impact to the Company’s overall business and reputation. For

 example, on December 14, 2018, CFRA lowered its opinion on the Company from “buy” to “hold”

 and dropped their price target by $30 per share. The CFRA report made clear that the new

 information and analysis revealed by Reuters would cause “significant damage” to the Company’s

 “valuable brand name” because consumer trust is “critical” to the Company’s overall “success.” As

 CFRA explained: “We see today’s news potentially impacting sales of everything from baby shampoo

 to prosthetic hips. Given these elevated risks, we no longer feel JNJ shares are attractive at recent

 prices.” And, in a January 25, 2019 report, CFRA again emphasized the importance of the

 reputational damage: “Brand-name reputation is critically important for the success of [J&J’s]

 Consumer segment, in our view.” And, recognizing the significant negative impact to the

 Company’s overall business and reputation, CFRA noted: “Due to the importance of brand power and

 consumer trust, we think allegations from a Reuters story published in December 2018 could have a

 meaningful negative impact on JNJ’s Consumer segment, as well as the Medical Devices segment

 to a lesser extent.”

                   IN REPURCHASING STOCK, THE COMPANY RELIED
                     ON THE FALSE OR MISLEADING STATEMENTS

        248.    In repurchasing common stock, the Company relied on Defendants false or

 misleading statements, either directly or through the “fraud on the market” doctrine articulated in

 Basic Inc. v. Levinson, 485 U.S. 224 (1988), and Halliburton Co. v. Erica P. John Fund, Inc., 134 S.

 Ct. 2398 (2014), or through the doctrine articulated in Affiliated Ute Citizens of Utah v. United

 States, 406 U.S. 128 (1972).

        249.    The Company justifiably expected Defendants to disclose material information as

 required by law and SEC regulations in the Company’s periodic filings with the SEC and in


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 statements made to the investing public. The Company would not have purchased its securities at

 artificially inflated prices had Defendants disclosed all material information known to them or that

 was so obvious it should have been known to them, as detailed herein. Thus, reliance by the

 Company should be presumed with respect to Defendants omissions of material information as

 established by the Affiliated Ute presumption of reliance.

        250.    Additionally, the “fraud on the market” presumption applies to Defendants’

 misstatements of material facts or failures to disclose material facts.

        251.    At all relevant times, the market for J&J stock was efficient market for the following

 reasons, among others:

                (a)     J&J stock met the requirements for listing, and was listed and actively traded

        on NYSE, a highly efficient and automated market;

                (b)     As a regulated issuer, J&J filed periodic public reports with the SEC and

        NYSE;

                (c)     J&J’s common-stock trading value was substantial on a daily basis, exceeding

        millions of shares per day throughout the Relevant Period;

                (d)     J&J regularly and publicly communicated with public investors via

        established market communication mechanisms, including through regular disseminations of

        press releases on the national circuits of major newswire services and through other wide-

        ranging public disclosures, such as communications with the financial press and other similar

        reporting services;

                (e)     J&J was followed by several securities analysts employed by major brokerage

        firm(s) who wrote reports which were distributed to the sales force and certain customers of




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        their respective brokerage firm(s). Each of these reports was publicly available and entered

        the public marketplace; and

                (f)     The market price of J&J’s stock reacted rapidly to new information entering

        the market.

        252.    As a result of the foregoing, the market for J&J stock promptly digested current

 information regarding the Company from all publicly available sources and reflected such

 information in the price of J&J’s common stock. The foregoing facts indicate the existence of an

 efficient market for trading of J&J’s stock and support application of the fraud-on-the-market

 doctrine.

        253.    J&J relied on the integrity of the market price for the repurchase of its common stock

 and is entitled to a presumption of reliance with respect to the Defendants’ misstatements and

 omissions alleged herein.

        254.    Had J&J known of the material adverse information not disclosed by Defendants or

 been aware of the truth behind Defendants’ material misstatements, the Company would not have

 purchased J&J stock at artificially inflated prices.

         NEITHER THE STATUTORY “SAFE HARBOR” NOR THE “BESPEAKS
          CAUTION” DOCTRINE APPLIES TO THE MISREPRESENTATIONS

        255.    Neither the safe-harbor provision of the Private Securities Litigation Reform Act of

 1995 (“PSLRA”) nor the judicially created “bespeaks caution” doctrine applicable to forward

 looking statements under certain circumstances applies to any of the false or misleading statements

 pleaded herein. None of the subject statements constituted a forward-looking statement; rather, they

 were historical statements or statements of purportedly current facts and conditions at the time the

 statements were made.




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        256.    Alternatively, to the extent any of the false or misleading statements pleaded herein

 could be construed as forward-looking statements, they were not accompanied by any meaningful

 cautionary language identifying important fact that could cause actual results to differ materially

 from those in the purportedly forward-looking statements. Further, to the extent the PSLRA’s safe

 harbor would otherwise apply to any forward-looking statements pleaded herein, Defendants are

 liable for those false or misleading forward-looking statements pleaded herein because, at the time

 each such statement was made, the speaker knew the statement was false or misleading, or the

 statement was authorized and/or approved by an executive officer of J&J who knew that the

 statement was materially false or misleading when made. None of the historic or present tense

 statements made by Defendants were assumptions underlying or relating to any plan, projection, or

 statement of future economic performance, as they were not stated to be such assumptions

 underlying or relating to any projection or statement of future economic performance when made,

 nor were any of the projections or forecasts made by Defendants expressly related to, or stated to be

 dependent on, those historic or present tense statements when made.

        257.    On July 21, 2014, the Company announced that its Board of Directors approved a

 share repurchase program, authorizing the Company to purchase up to $5.0 billion of the Company’s

 Common Stock

        258.    On October 13, 2015, the Company announced that its Board of Directors approved a

 share repurchase program, authorizing the Company to purchase up to $10.0 billion of the

 Company’s Common Stock

                 DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS




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        259.    Plaintiff brings this action derivatively in the right and for the benefit of the Company

 to redress injuries suffered and to be suffered as a direct and proximate result of the breaches of

 fiduciary duties and gross mismanagement by Defendants.

        260.    Plaintiff will adequately and fairly represent the interests of the Company and its

 shareholders in enforcing and prosecuting its rights and has retained counsel competent and

 experienced in derivative litigation.

        261.    Plaintiff is a current owner of the Company stock and has continuously been an

 owner of Company stock during Defendants’ wrongful course of conduct alleged herein. Plaintiff

 understands her obligation to hold stock throughout the duration of this action and is prepared to do

 so.

        262.    In accordance with New Jersey law, on October 23, 2019 and November 15, 2019,

 Plaintiff sent the Demand to the Company Board to investigate, address, remedy, and commence

 proceedings against certain of the Company’s current and former officers and directors for

 mismanagement and breaches of fiduciary duties. To date, the Board has refused to substantively

 respond to the Demand and, upon information and belief, refused to take any action demanded.

        263.    Plaintiff has not made any demand on the other stockholders of the Company to

 institute this action since such demand would be a futile and useless act for at least the following

 reasons:

                (a)     the Company is a publicly held company with over 2.6 billion shares

        outstanding and thousands of stockholders as of July 24, 2019;

                (b)     making demand on such a number of stockholders would be impossible for

        plaintiff who has no way of finding out the names, addresses, or phone numbers of

        stockholders; and



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                  (c)    making demand on all stockholders would force plaintiff to incur excessive

         expenses, assuming all stockholders could be individually identified.

                                     FIRST CAUSE OF ACTION

                (Against The Individual Defendants For Breach Of Fiduciary Duties)

         264.     Plaintiff incorporates by reference and re-alleges each and every allegation contained

 above, as though fully set forth herein.

         265.     Defendants owe the Company fiduciary obligations. By reason of their fiduciary

 relationships, the Individual Defendants owed and owe the Company the highest obligation of good

 faith, fair dealing, loyalty, and due care.

         266.     The Individual Defendants violated and breached their fiduciary duties of care,

 loyalty, reasonable inquiry, and good faith.

         267.     The Individual Defendants engaged in a sustained and systematic failure to properly

 exercise their fiduciary duties. Among other things, the Individual Defendants breached their

 fiduciary duties of loyalty and good faith by allowing the Company to improperly misrepresent the

 Company’s publicly reported financials and internal controls. These actions could not have been a

 good faith exercise of prudent business judgment to protect and promote the Company’s corporate

 interests.

         268.     As a direct and proximate result of the Individual Defendants’ failure to perform their

 fiduciary obligations, the Company has sustained significant damages. As a result of the misconduct

 alleged herein, the Individual Defendants are liable to the Company.

         269.     As a direct and proximate result of the Individual Defendants’ breach of their

 fiduciary duties, the Company has suffered damage, not only monetarily, but also to its corporate

 image and goodwill. Such damage includes, among other things, costs associated with defending



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 securities lawsuits, severe damage to the share price of the Company, resulting in an increased cost

 of capital, the waste of corporate assets, and reputational harm.

                                   SECOND CAUSE OF ACTION

                (Against The Individual Defendants for Waste of Corporate Assets)

         270.     Plaintiff incorporates by reference and re-alleges each and every allegation set forth

 above, as though fully set forth herein

         271.     The wrongful conduct alleged regarding the issuance of false and misleading

 statements was continuous, connected, and on-going throughout the Relevant Period. It resulted in

 continuous, connected, and ongoing harm to the Company.

         272.     As a result of the misconduct described above, the Individual Defendants wasted

 corporate assets by, inter alia: (i) paying excessive compensation, bonuses, and termination

 payments to certain of its executive officers; (ii) awarding self-interested stock options to certain

 officers and directors; and (iii) incurring potentially millions of dollars of legal liability and/or legal

 costs to defend Defendants’ unlawful actions.

         273.     As a result of the waste of corporate assets, the Individual Defendants are liable to the

 Company.

         274.     Plaintiff, on behalf of J&J, has no adequate remedy at law.

                                     THIRD CAUSE OF ACTION

                   (Against The Individual Defendants For Unjust Enrichment)

         275.     Plaintiff incorporates by reference and realleges each and every allegation contained

 above, as though fully set forth herein.

         276.     By their wrongful acts and omissions, the Individual Defendants were unjustly

 enriched at the expense of and to the detriment of J&J. The Individual Defendants were unjustly



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 enriched as a result of the compensation and director remuneration they received while breaching

 fiduciary duties owed to J&J.

        277.    Plaintiff, as a stockholder and representative of J&J, seeks restitution from these

 defendants, and each of them, and seeks an order of this Court disgorging all profits, benefits, and

 other compensation obtained by these defendants, and each of them, from their wrongful conduct

 and fiduciary breaches.

        278.    Plaintiff, on behalf of J&J, has no adequate remedy at law.

                                 FOURTH CAUSE OF ACTION

               (Against The Individual Defendants for Violations of Section 10(b)
                          of the Exchange Act and SEC Rule 10b-5)

        279.    Plaintiff incorporates by reference and realleges each and every allegation contained

 above, as though fully set forth herein.

        280.    During the Relevant Period, the Individual Defendants disseminated or approved

 public statements that failed to disclose that (i) asbestos had repeatedly been found in the Company’s

 talc and powders, (ii) the Company had attempted to find ways to remove tremolite from its talc,

 (iii) the Company never adopted concentration methods that could detect the asbestos, (iv) the

 Company had purposely influenced and manipulated regulators and scientists in order to protect the

 Company’s flagship product and reputation, and (v) the Company had misled the FDA. Thus, the

 price of the Company’s shares was artificially inflated due to the deception of the Individual

 Defendants. Despite this artificial inflation in the price of the Company’s shares, the Individual

 Defendants caused and/or allowed the Company to repurchase many millions of shares of Company

 stock, thereby causing financial harm to the Company.

        281.    As alleged herein, the Individual Defendants acted with scienter in that they knew

 that the public documents and statements issued or disseminated in the name of the Company were


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 materially false and misleading; knew that such statements or documents would be issued or

 disseminated to the investing public; and knowingly and substantially participated or acquiesced in

 the issuance or dissemination of such statements or documents as primary violations of the federal

 securities laws. As set forth elsewhere herein in detail, Individual Defendants, by virtue of their

 receipt of information reflecting the true facts regarding J&J, their control over, and/or receipt and/or

 modification of J&J’s allegedly materially misleading statements and/or their associations with the

 Company which made them privy to confidential proprietary information concerning J&J

 participated in the fraudulent scheme alleged herein.

         282.    The Individual Defendants knew and/or recklessly disregarded the false and

 misleading nature of the information which they caused to be disseminated to the investing public.

 The fraudulent scheme described herein could not have been perpetrated during the Relevant Period

 without the knowledge and complicity or, at least, the reckless disregard of the personnel at the

 highest levels of the Company, including the Individual Defendants.

         283.    Based on their roles at J&J, each of the Individual Defendants would have been

 involved with, or knowledgeable about, the wrongdoing alleged herein.

         284.    At a minimum, the Individual Defendants failed to review or check information that

 they had a duty to monitor or ignored obvious signs that their statements were materially false and

 misleading or contained material omissions. Given the nature and extent of the problems at J&J, the

 Individual Defendants knew and/or recklessly disregarded the extent and scope of their statements

 during the Relevant Period.

         285.    Likewise, the Individual Defendants, by virtue of their high-level positions with the

 Company, directly participated in the management of the Company, were directly involved in the

 day-to-day operations of the Company at the highest levels, and were privy to confidential



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 proprietary information concerning the Company and its business, operations, financial statements,

 and financial condition, as alleged herein. The Individual Defendants had the ultimate authority over

 and were involved in drafting, producing, reviewing and/or disseminating the false and misleading

 statements and information alleged herein, were aware, or recklessly disregarded, that the false and

 misleading statements regarding the Company were being issued, and approved or ratified these

 statements, in violation of the federal securities laws.

        286.    The allegations above also establish a strong inference that J&J, as an entity, acted

 with corporate scienter throughout the Relevant Period because its officers, management, and agents

 had actual knowledge of the misrepresentations and omissions of material facts set forth herein (for

 which they had a duty to disclose), or acted with reckless disregard for the truth because they failed

 to ascertain and to disclose such facts, even though such facts were available to them. Such material

 misrepresentations and/or omissions were done knowingly or with recklessness, and without a

 reasonable basis, for the purpose and effect of concealing J&J’s true operating condition and present

 and expected financial performance from investors. By concealing these material facts from

 investors, J&J maintained and/or increased its artificially inflated common stock price throughout

 the Relevant Period.

        287.    As such Individual Defendants caused the Company to violate section 10(b) of the

 Exchange Act and SEC Rule 10b-5 in that they: (i) employed devices, schemes, and artifices to

 defraud; and (ii) made untrue statements of material facts or omitted to state material facts necessary

 in order to make the statements made, in light of the circumstances under which they were made, not

 misleading.




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        288.    As a result of the Individual Defendants’ misconduct, the Company is suffering

 litigation expense and reputational harm in the marketplace in violation of section 10(b) of the

 Exchange Act and SEC Rule 10b-5.

                                     REQUEST FOR RELIEF

        WHEREFORE, Plaintiff demands judgment as follows:

        A.      Determining that this action is a proper derivative action maintainable under law, and

 that demand is excused;

        B.      Awarding, against all Defendants and in favor of the Company, the damages

 sustained by the Company as a result of Defendants’ breaches of their fiduciary duties;

        C.      Directing the Company to take all necessary actions to reform and improve its

 corporate governance and internal procedures, to comply with the Company’s existing governance

 obligations and all applicable laws and to protect the Company and its investors from a recurrence of

 the damaging events described herein;

        D.      Awarding to Plaintiff the costs and disbursements of the action, including

 reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

        E.      Granting such other and further relief as the Court deems just and proper.

                                         JURY DEMAND

        Plaintiff demands a trial by jury on all issues so triable




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 Dated: January 23, 2020


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